        Case
         Case1:17-cv-02989-AT
              1:17-cv-02989-AT Document
                                Document312
                                         311 Filed
                                              Filed09/18/18
                                                    09/18/18 Page
                                                              Page11ofof110
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                          UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                   2211 UNITED STATES COURTHOUSE
                                      75 TED TURNER DRIVE, SW
                                    ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                 DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                          404-215-1655
 AND CLERK OF COURT
                                       September 18, 2018

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:17-cv-2989-AT
       U.S.C.A. No.: 00-00000-00
       In re:        Donna Curling et al v. Brian P. Kemp et al

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

       Certified copies of the notice of appeal, docket sheet and judgment and/or order
  X    appealed enclosed.
       This is not the first notice of appeal. Other notices were filed on: .
       There is no transcript.
  X    The court reporter is Sharron Welch.
       There is sealed material as described below: .
       Other: .
  X    Fee paid electronically on 9/18/18 (Receipt# 113E-8153375).
       Appellant has been leave to file in forma pauperis.
       This is a bankruptcy appeal. The Bankruptcy Judge is .
       The Magistrate Judge is .
  X    The District Judge is Amy Totenberg.
       This is a DEATH PENALTY appeal.

                                                             Sincerely,

                                                             James N. Hatten
                                                             District Court Executive
                                                             and Clerk of Court


                                                       By:    P. McClam
                                                             Deputy Clerk
Enclosures


                                                                                                    110
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 2 of 110


                                                           4months,APPEAL,ATLC3,NeedJgm,REOPEN
                               U.S. District Court
                      Northern District of Georgia (Atlanta)
                 CIVIL DOCKET FOR CASE #: 1:17−cv−02989−AT

Curling et al v. Kemp et al                                   Date Filed: 08/08/2017
Assigned to: Judge Amy Totenberg                              Jury Demand: Plaintiff
Case in other court: Superior Court of Fulton County,         Nature of Suit: 440 Civil Rights: Other
                     2017cv292233                             Jurisdiction: Federal Question
Cause: 28:1443(1)Removal from State Court − Civil Rights
Plaintiff
Donna Curling                                  represented by Catherine L. Chapple
an individual                                                 Morrison & Foerster, LLP−DC
                                                              2000 Pennsylvania Avenue, NW
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                                                             Robert W. Manoso
                                                             Morrison & Foerster, LLP−DC

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Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 3 of 110


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Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 4 of 110


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                                          Ichter Davis, LLC
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                                          Email: marvin@holcombward.com
                                          TERMINATED: 12/21/2017

                                                                              3
       Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 5 of 110




                                                       William Brent Ney
                                                       Ney Hoffecker Peacock & Hayle LLC
                                                       1360 Peachtree Street, NE
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                                                       Email: william@nhelaw.com
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Coalition for Good Governance            represented by Robert Alexander McGuire , III
a non−profit corporation organized and                  (See above for address)
existing under Colorado Law                             LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                       Aaron Wright
                                                       (See above for address)
                                                       TERMINATED: 12/21/2017

                                                       Bruce P. Brown
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Bryan Myerson Ward
                                                       (See above for address)
                                                       TERMINATED: 02/05/2018

                                                       Cary Ichter
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Edward Bruce Schwartz
                                                       (See above for address)
                                                       TERMINATED: 11/29/2017

                                                       Joe Robert Caldwell , Jr.
                                                       (See above for address)
                                                       TERMINATED: 11/29/2017

                                                       Marvin Lim
                                                       (See above for address)
                                                       TERMINATED: 12/21/2017

                                                       William Brent Ney
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff

                                                                                           4
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 6 of 110


Donna Price                          represented by Catherine L. Chapple
an Individual                                       (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 David D. Cross
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Jane P. Bentrott
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 John P. Carlin
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Robert W. Manoso
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Robert Alexander McGuire , III
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Aaron Wright
                                                 (See above for address)
                                                 TERMINATED: 12/21/2017

                                                 Adam Martin Sparks
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Bruce P. Brown
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Bryan Myerson Ward
                                                 (See above for address)
                                                 TERMINATED: 02/05/2018

                                                 Cary Ichter
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Edward Bruce Schwartz

                                                                                  5
       Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 7 of 110


                                                  (See above for address)
                                                  TERMINATED: 01/18/2018

                                                  Halsey G. Knapp , Jr.
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Joe Robert Caldwell , Jr.
                                                  (See above for address)
                                                  TERMINATED: 01/18/2018

                                                  Marvin Lim
                                                  (See above for address)
                                                  TERMINATED: 12/21/2017

                                                  William Brent Ney
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                                                  ATTORNEY TO BE NOTICED

Plaintiff
Jeffrey Schoenberg                    represented by Catherine L. Chapple
an individual                                        (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  David D. Cross
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Jane P. Bentrott
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  John P. Carlin
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Robert W. Manoso
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Robert Alexander McGuire , III
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Aaron Wright
                                                                                   6
       Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 8 of 110


                                                    (See above for address)
                                                    TERMINATED: 12/21/2017

                                                    Adam Martin Sparks
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Bruce P. Brown
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Bryan Myerson Ward
                                                    (See above for address)
                                                    TERMINATED: 02/05/2018

                                                    Cary Ichter
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Edward Bruce Schwartz
                                                    (See above for address)
                                                    TERMINATED: 01/18/2018

                                                    Halsey G. Knapp , Jr.
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Joe Robert Caldwell , Jr.
                                                    (See above for address)
                                                    TERMINATED: 01/18/2018

                                                    Marvin Lim
                                                    (See above for address)
                                                    TERMINATED: 12/21/2017

                                                    William Brent Ney
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Plaintiff
Laura Digges                          represented by Robert Alexander McGuire , III
an individual                                        (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                    Aaron Wright
                                                    (See above for address)
                                                    TERMINATED: 12/21/2017

                                                    Bruce P. Brown
                                                    (See above for address)
                                                                                      7
       Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 9 of 110


                                                    ATTORNEY TO BE NOTICED

                                                    Bryan Myerson Ward
                                                    (See above for address)
                                                    TERMINATED: 02/05/2018

                                                    Cary Ichter
                                                    (See above for address)
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                                                    Edward Bruce Schwartz
                                                    (See above for address)
                                                    TERMINATED: 01/18/2018

                                                    Joe Robert Caldwell , Jr.
                                                    (See above for address)
                                                    TERMINATED: 01/18/2018

                                                    Marvin Lim
                                                    (See above for address)
                                                    TERMINATED: 12/21/2017

                                                    William Brent Ney
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Plaintiff
William Digges, III                   represented by Robert Alexander McGuire , III
an Individual                                        (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                    Aaron Wright
                                                    (See above for address)
                                                    TERMINATED: 12/21/2017

                                                    Bruce P. Brown
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Bryan Myerson Ward
                                                    (See above for address)
                                                    TERMINATED: 02/05/2018

                                                    Cary Ichter
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Edward Bruce Schwartz
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                                                    TERMINATED: 01/18/2018
                                                                                      8
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 10 of 110




                                                   Joe Robert Caldwell , Jr.
                                                   (See above for address)
                                                   TERMINATED: 01/18/2018

                                                   Marvin Lim
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                                                   William Brent Ney
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                                                   ATTORNEY TO BE NOTICED

Plaintiff
Ricardo Davis                        represented by Robert Alexander McGuire , III
an individual                                       (See above for address)
                                                    LEAD ATTORNEY
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                                                    ATTORNEY TO BE NOTICED

                                                   Aaron Wright
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                                                   TERMINATED: 12/21/2017

                                                   Bruce P. Brown
                                                   (See above for address)
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                                                   Bryan Myerson Ward
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                                                   TERMINATED: 02/05/2018

                                                   Cary Ichter
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                                                   Edward Bruce Schwartz
                                                   (See above for address)
                                                   TERMINATED: 01/18/2018

                                                   Joe Robert Caldwell , Jr.
                                                   (See above for address)
                                                   TERMINATED: 01/18/2018

                                                   Marvin Lim
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                                                   TERMINATED: 12/21/2017

                                                   William Brent Ney
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                                                   ATTORNEY TO BE NOTICED

                                                                                     9
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 11 of 110



Plaintiff
Edward Curtis Terry                  represented by Edward Curtis Terry
TERMINATED: 03/20/2018                              PRO SE

                                                   Robert Alexander McGuire , III
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

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                                                   William Brent Ney
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Plaintiff
Megan Missett                        represented by Robert Alexander McGuire , III
                                                    (See above for address)
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                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                   Bruce P. Brown
                                                   (See above for address)
                                                                                       10
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 12 of 110


                                                            ATTORNEY TO BE NOTICED

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                                                            (See above for address)
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                                                            William Brent Ney
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V.
Defendant
Brian P. Kemp                                 represented by John Frank Salter , Jr.
in his individual capacity and his official                  The Barnes Law Group, LLC
capacity as Secretary of State of Georgia                    31 Atlanta Street
and Chair of the State Election Board                        Marietta, GA 30060
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                                                                                                11
     Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 13 of 110




                                                Josiah Benjamin Heidt
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Defendant
David J. Worley                     represented by John Frank Salter , Jr.
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                                                Roy E. Barnes
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Cristina Correia
                                                (See above for address)
                                                TERMINATED: 11/03/2017

                                                Elizabeth Ahern Monyak
                                                (See above for address)
                                                TERMINATED: 11/03/2017

                                                Josiah Benjamin Heidt
                                                (See above for address)
                                                TERMINATED: 11/03/2017

Defendant
Rebecca N. Sullivan                 represented by John Frank Salter , Jr.
                                                   (See above for address)
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                                                Roy E. Barnes
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Cristina Correia
                                                (See above for address)
                                                TERMINATED: 11/03/2017

                                                Elizabeth Ahern Monyak
                                                (See above for address)
                                                TERMINATED: 11/03/2017

                                                                                 12
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 14 of 110




                                                       Josiah Benjamin Heidt
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017

Defendant
Ralph F. (Rusty) Simpson                   represented by John Frank Salter , Jr.
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Roy E. Barnes
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Cristina Correia
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017

                                                       Elizabeth Ahern Monyak
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017

                                                       Josiah Benjamin Heidt
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017

Defendant
Seth Harp                                  represented by John Frank Salter , Jr.
in their individual capacities and their                  (See above for address)
official capacities as members of the                     LEAD ATTORNEY
State Election Board                                      ATTORNEY TO BE NOTICED

                                                       Roy E. Barnes
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Cristina Correia
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017

                                                       Elizabeth Ahern Monyak
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017

                                                       Josiah Benjamin Heidt
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017


                                                                                    13
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 15 of 110


Defendant
The State Election Board                      represented by Roy E. Barnes
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Cristina Correia
                                                            (See above for address)
                                                            TERMINATED: 11/03/2017

                                                            Elizabeth Ahern Monyak
                                                            (See above for address)
                                                            TERMINATED: 11/03/2017

                                                            John Frank Salter , Jr.
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Josiah Benjamin Heidt
                                                            (See above for address)
                                                            TERMINATED: 11/03/2017

Defendant
Richard Barron                                represented by Cheryl Ringer
in his individual capacity and his official                  Office of Fulton County Attorney
capacity as Director of the Fulton                           Fulton County Government Center
County Board of Registration and                             141 Pryor Street, S.W.
Elections                                                    Suite 4038
                                                             Atlanta, GA 30303
                                                             404−612−0263
                                                             Email: cheryl.ringer@fultoncountyga.gov
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                                                                                                       14
     Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 16 of 110


                                                     Email: kaye.burwell@fultoncountyga.gov
                                                     ATTORNEY TO BE NOTICED

Defendant
Mary Carole Cooney                  represented by Cheryl Ringer
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                     David R. Lowman
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kaye Woodard Burwell
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Vernetta Nuriddin                   represented by Cheryl Ringer
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                     David R. Lowman
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kaye Woodard Burwell
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
David J. Burge                      represented by Cheryl Ringer
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                     David R. Lowman
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kaye Woodard Burwell
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
                                    represented by

                                                                                              15
      Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 17 of 110


Stan Matarazzo                                              Cheryl Ringer
TERMINATED: 09/15/2017                                      (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            David R. Lowman
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kaye Woodard Burwell
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

Defendant
Aaron Johnson                                 represented by Cheryl Ringer
in their individual capacities and official                  (See above for address)
capacities as members of the Fulton                          LEAD ATTORNEY
County Board of Registration and                             ATTORNEY TO BE NOTICED
Elections
                                                            David R. Lowman
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kaye Woodard Burwell
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

Defendant
The Fulton County Board of                    represented by Cheryl Ringer
Registration and Elections                                   (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            David R. Lowman
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kaye Woodard Burwell
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

Defendant
Maxine Daniels                                represented by Daniel Walter White
in her individual capacity and her official                  Haynie Litchfield Crane & White
capacity as Director of Voter                                222 Washington Ave.
Registrations and Elections for Dekalb                       Marietta, GA 30060
County                                                       770−422−8900
TERMINATED: 06/13/2018                                       Fax: 770−424−8900
                                                                                               16
     Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 18 of 110


                                                Email: dwhite@hlw−law.com
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Bennett Davis Bryan
                                                DeKalb County District Attorney's Office
                                                Assistant County Attorney
                                                5th Floor
                                                1300 Commerce Drive
                                                Decatur, GA 30030
                                                404−371−3011
                                                Fax: 404−371−3024
                                                Email: bdbryan@dekalbcountyga.gov
                                                TERMINATED: 06/28/2018

                                                Terry G. Phillips
                                                Office of DeKalb County Attorney
                                                DeKalb County Administration Building
                                                1300 Commerce Drive
                                                Fifth Floor
                                                Decatur, GA 30030
                                                404−371−3011
                                                Email: tgphili@dekalbcountyga.gov
                                                TERMINATED: 06/28/2018

Defendant
Michael P. Coveny                   represented by Daniel Walter White
TERMINATED: 06/13/2018                             (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Bennett Davis Bryan
                                                (See above for address)
                                                TERMINATED: 06/28/2018

                                                Terry G. Phillips
                                                (See above for address)
                                                TERMINATED: 06/28/2018

Defendant
Anthony Lewis                       represented by Daniel Walter White
TERMINATED: 06/13/2018                             (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Bennett Davis Bryan
                                                (See above for address)
                                                TERMINATED: 06/28/2018

                                                Terry G. Phillips
                                                (See above for address)

                                                                                           17
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                                                          TERMINATED: 06/28/2018

Defendant
Leona Perry                                   represented by Daniel Walter White
TERMINATED: 06/13/2018                                       (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                          Bennett Davis Bryan
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

                                                          Terry G. Phillips
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

Defendant
Samuel E. Tillman                             represented by Daniel Walter White
TERMINATED: 06/13/2018                                       (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                          Bennett Davis Bryan
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

                                                          Terry G. Phillips
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

Defendant
Baoky N. Vu                                   represented by Daniel Walter White
in their individual capacities and official                  (See above for address)
capacities as memebes of the Dekalb                          LEAD ATTORNEY
County Board of Registrations and                            ATTORNEY TO BE NOTICED
Elections
TERMINATED: 06/13/2018                                    Bennett Davis Bryan
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

                                                          Terry G. Phillips
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

Defendant
The Dekalb County Board of                    represented by Daniel Walter White
Registrations and Elections                                  (See above for address)
TERMINATED: 06/13/2018                                       LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED


                                                                                       18
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                                                          Bennett Davis Bryan
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

                                                          Laura K. Johnson
                                                          Dekalb County Law Department
                                                          1300 Commerce Drive
                                                          5th Floor
                                                          Decatur, GA 30030
                                                          404−371−3011
                                                          Fax: 404−371−3024
                                                          Email: lkjohnson@dekalbcountyga.gov
                                                          TERMINATED: 06/28/2018

                                                          Terry G. Phillips
                                                          (See above for address)
                                                          TERMINATED: 06/28/2018

Defendant
Janine Eveler                                 represented by Daniel Walter White
in her individual capacity and her official                  (See above for address)
capacity as Director of the Cobb County                      ATTORNEY TO BE NOTICED
Board of Elections and Registration
TERMINATED: 06/13/2018

Defendant
Phil Daniell                                  represented by Daniel Walter White
TERMINATED: 06/13/2018                                       (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Fred Aiken                                    represented by Daniel Walter White
TERMINATED: 06/13/2018                                       (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Joe Pettit                                    represented by Daniel Walter White
TERMINATED: 06/13/2018                                       (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Jessica Brooks                                represented by Daniel Walter White
TERMINATED: 06/13/2018                                       (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Darryl O. Wilson                              represented by Daniel Walter White
in their individual capacities and official                  (See above for address)
capacities as members of the Cobb                            ATTORNEY TO BE NOTICED

                                                                                                19
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County Board of Elections and
Registration
TERMINATED: 06/13/2018

Defendant
The Cobb County Board of Elections            represented by Daniel Walter White
and Registration                                             (See above for address)
TERMINATED: 06/13/2018                                       ATTORNEY TO BE NOTICED

Defendant
Merle King                                    represented by Grant Edward Schnell
in his individual capacity and his official                  Holland & Knight LLP −Atl
capacity as Executive Director of the                        One Regions Plaza, Suite 1800
Center for Election Systems at Kennasaw                      1180 West Peachtree St., N.W.
State University                                             Atlanta, GA 30309−3407
TERMINATED: 06/13/2018                                       404−817−8560
                                                             Email: grant.schnell@hklaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Robert S. Highsmith
                                                            Holland & Knight LLP −Atl
                                                            One Regions Plaza, Suite 1800
                                                            1180 West Peachtree St., N.W.
                                                            Atlanta, GA 30309−3407
                                                            404−817−8500
                                                            Fax: 404−881−0470
                                                            Email: robert.highsmith@hklaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Cristina Correia
                                                            (See above for address)
                                                            TERMINATED: 11/03/2017

                                                            Josiah Benjamin Heidt
                                                            (See above for address)
                                                            TERMINATED: 11/03/2017

Defendant
The Center for Election Systems at            represented by Cristina Correia
Kennasaw State University                                    (See above for address)
TERMINATED: 09/15/2017                                       LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            Josiah Benjamin Heidt
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Defendant
                                                                                                20
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Mark Wingate                        represented by David R. Lowman
TERMINATED: 06/13/2018                             (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Kaye Woodard Burwell
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Karen C. Handel                     represented by Anne Ware Lewis
TERMINATED: 09/28/2017                             Strickland Brockington Lewis, LLP
                                                   1170 Peachtree Street, NE
                                                   Suite 2200, Midtown Prosceium
                                                   Atlanta, GA 30309−7200
                                                   678−347−2200
                                                   Fax: 678−347−2210
                                                   Email: awl@sbllaw.net
                                                   ATTORNEY TO BE NOTICED

                                                   Barclay Hendrix
                                                   Krevolin & Horst, LLC
                                                   One Atlantic Center, Ste 3250
                                                   1201 West Peachtree St., NW
                                                   Atlanta, GA 30309
                                                   404−835−9395
                                                   Email: hendrix@khlawfirm.com

                                                   Frank B. Strickland
                                                   Strickland Brockington Lewis, LLP
                                                   1170 Peachtree Street, NE
                                                   Suite 2200, Midtown Prosceium
                                                   Atlanta, GA 30309−7200
                                                   678−347−2200
                                                   Fax: 678−347−2210
                                                   Email: fbs@sbllaw.net
                                                   ATTORNEY TO BE NOTICED

                                                   Vincent Robert Russo , Jr.
                                                   Robbins Ross Alloy Belinfante Littlefield,
                                                   LLC −Atl
                                                   Suite 1120
                                                   999 Peachtree Street, N.E.
                                                   Atlanta, GA 30309
                                                   404−856−3260
                                                   Fax: 404−856−3250
                                                   Email: vrusso@robbinsfirm.com
                                                   ATTORNEY TO BE NOTICED

Defendant
State of Election Board             represented by Roy E. Barnes
TERMINATED: 06/13/2018                             (See above for address)

                                                                                                21
    Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 23 of 110


                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Cristina Correia
                                                (See above for address)
                                                TERMINATED: 11/03/2017

                                                John Frank Salter , Jr.
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Josiah Benjamin Heidt
                                                (See above for address)
                                                TERMINATED: 11/03/2017

Amicus
Common Cause                       represented by Matthew John Murray
                                                  Altshuler Berzon, LLP
                                                  Suite 300
                                                  177 Post Street
                                                  San Francisco, CA 94108
                                                  415−421−7151
                                                  Email: mmurray@altber.com
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                Stacey M. Leyton
                                                Altshuler Berzon, LLP
                                                Suite 300
                                                177 Post Street
                                                San Francisco, CA 94108
                                                415−421−7151
                                                Email: sleyton@altber.com
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Stephen P. Berzon
                                                Altshuler Berzon, LLP
                                                Suite 300
                                                177 Post Street
                                                San Francisco, CA 94108
                                                415−421−7151
                                                Email: sberzon@altber.com
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Jonathan Lee Schwartz
                                                Jon L. Schwartz, Attorney at Law, P.C.
                                                Suite 1200
                                                                                         22
     Case 1:17-cv-02989-AT Document 312 Filed 09/18/18 Page 24 of 110


                                                              1170 Peachtree Street
                                                              Atlanta, GA 30309
                                                              404−667−3047
                                                              Email: jonlschwartz@mac.com
                                                              ATTORNEY TO BE NOTICED

Amicus
National Election Defense Coalition           represented by Jonathan Lee Schwartz
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Amicus
Protect Democracy                             represented by Stephen P. Berzon
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                              Jonathan Lee Schwartz
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

unknown
Thomas Jonathan Ossoff                        represented by Russell Dunn Waldon
TERMINATED: 09/28/2017                                       Waldon Adelman Castilla Hiestand &
                                                             Prout
                                                             900 Circle 75 Parkway, N.W.
                                                             Suite 1040
                                                             Atlanta, GA 30339−3084
                                                             770−933−7022
                                                             Email: rwaldon@wachp.com
                                                             ATTORNEY TO BE NOTICED


 Date Filed     #   Page Docket Text
 08/08/2017     1         NOTICE OF REMOVAL with COMPLAINT filed by The Center for Election
                          Systems at Kennasaw State University, Rebecca N. Sullivan, Ralph F. (Rusty)
                          Simpson, The State Election Board, David J. Worley, Seth Harp, Brian P.
                          Kemp, Merle King. (Filing fee $ 400.00 receipt number 113E−7313843)
                          (Attachments: # 1 Ex − 1 − State Court Docket Sheet, # 2 Ex −2 − Original
                          Petition, # 3 Ex −3 − Case Initiation Form, # 4 Ex −4 − Summons, # 5 Ex −5−
                          Notice of Related Case, # 6 Ex −6 − Special Process Summons, # 7 Ex −7 −
                          Certificate of Service, # 8 Ex −8 − Certificate of Service −2, # 9 Ex −9 −
                          Motion for Leave to Amend Complaint, # 10 Ex −10 − Motion for Leave to
                          Serve, # 11 Ex −11 − Affidavits of Service, # 12 Ex −12 − Proposed Order, #
                          13 Ex −13 − Sheriff's Entry of Service, # 14 Civil Cover Sheet)(eop) Please
                          visit our website at http://www.gand.uscourts.gov/commonly−used−forms to
                          obtain Pretrial Instructions which includes the Consent To Proceed Before U.S.
                          Magistrate form. (Entered: 08/11/2017)


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08/08/2017    2     MOTION for Leave to File Amended Complaint, by Coalition for Good
                    Governance, Donna Curling, Ricardo Davis, Laura Digges, William Digges,
                    III, Donna Price and Jeffrey Schoenberg. (Filed in State Court and included
                    w/in Notice of Removal) (eop) (Entered: 08/11/2017)
08/08/2017    3     MOTION for Leave to Serve Election Contest Defendants and Candidates by
                    Certified Process Server by Coalition for Good Governance, Donna Curling,
                    Ricardo Davis, Laura Digges, William Digges, III, Donna Price and Jeffrey
                    Schoenberg. (Filed in State Court and contained w/in Notice of Removal) (eop)
                    (Entered: 08/11/2017)
08/12/2017    4     MOTION for Limited Early and Expedited Discovery with Brief In Support by
                    Donna Curling. (Attachments: # 1 Exhibit Ex A Discovery Request to Kemp, #
                    2 Exhibit B Discovery Request to State Election Board, # 3 Exhibit C
                    Discovery Request to King, # 4 Exhibit D Discovery Request to Cobb, # 5
                    Exhibit E Discovery Request to DeKalb, # 6 Exhibit F Discovery Request to
                    Fulton, # 7 Text of Proposed Order)(Holcomb, Michael) (Entered: 08/12/2017)
08/14/2017    5     ORDER re: 4 Plaintiffs' Expedited Motion for Limited Early and Expedited
                    Discovery. Plaintiffs do not specify in their motion whether they have
                    conferred with Defendants about their request for early and expedited
                    discovery. The Court DIRECTS the parties to confer on this matter and to
                    notify the Court if they can agree on a schedule for early and expedited
                    discovery. The parties shall notify the Court via the electronic docket whether
                    or not they are able to reach such an agreement no later than 12:00 P.M. on
                    Thursday, August 17, 2017, and they shall attach the agreement if one is
                    reached at that time. If the parties are unable to reach such an agreement,
                    Defendants shall file a response to Plaintiffs' motion no later than 5:00 P.M. on
                    Monday, August 21, 2017. The Court may schedule a prompt hearing based on
                    the responses filed. Signed by Judge Amy Totenberg on 8/14/2017. (See order
                    for more specifics) (jtj) (Entered: 08/14/2017)
08/14/2017    6     MOTION for Leave to File Excess Pages by Seth Harp, Brian P. Kemp, Ralph
                    F. (Rusty) Simpson, Rebecca N. Sullivan, The State Election Board, David J.
                    Worley. (Monyak, Elizabeth) (Entered: 08/14/2017)
08/15/2017    7     Memorandum in Support of 2 MOTION for Leave to File to File Amended
                    Complaint, with Brief In Support by Donna Curling. (Attachments: # 1 Text of
                    Proposed Order)(Holcomb, Michael) Modified on 8/15/2017 to reflect e−filed
                    document. (jtj) (Entered: 08/15/2017)
08/15/2017    8     MOTION to Dismiss For Lack of Jurisdiction and, MOTION TO DISMISS
                    FOR FAILURE TO STATE A CLAIM with Brief In Support by Seth Harp,
                    Brian P. Kemp, Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, The State
                    Election Board, David J. Worley. (Attachments: # 1 Brief, # 2 Exhibit
                    Declaration of Chris Harvey, # 3 Exhibit Exh 1 to Harvey Decl., # 4 Exhibit
                    Exh 2 to Harvey Decl., # 5 Exhibit Exh 3 to Harvey Decl., # 6 Exhibit Exh 4 to
                    Harvey Decl., # 7 Exhibit Exh 5 to Harvey Decl, # 8 Exhibit Exh 6 to Harvey
                    Decl)(Correia, Cristina) (Entered: 08/15/2017)
08/16/2017    9     Return of Service Executed by Coalition for Good Governance. The Dekalb
                    County Board of Registrations and Elections served on 8/9/2017, answer due
                    8/30/2017. (Holcomb, Michael) (Entered: 08/16/2017)
08/17/2017   10
                                                                                                        24
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                    JOINT NOTICE in Response to 5 Order, by Seth Harp, Brian P. Kemp, Ralph
                    F. (Rusty) Simpson, Rebecca N. Sullivan, The Center for Election Systems at
                    Kennasaw State University, The State Election Board, David J. Worley. (Heidt,
                    Josiah) (Entered: 08/17/2017)
08/17/2017   11     Standing Order: Guidelines to Parties and Counsel Proceeding Before the
                    Honorable Amy Totenberg. You are required to sign and file a Certificate of
                    Compliance in a format consistent with the Certificate of Compliance attached
                    hereto.To request to file material under seal, the Parties should follow the
                    mechanism described in Section II(J) of Appendix H to the Court's Local Civil
                    Rules. Signed by Judge Amy Totenberg on 8/17/2017. (jtj) (Entered:
                    08/17/2017)
08/17/2017   12     NOTICE of Appearance by Daniel Walter White on behalf of Fred Aiken,
                    Jessica Brooks, Phil Daniell, Janine Eveler, Joe Pettit, The Cobb County Board
                    of Elections and Registration, Darryl O. Wilson (White, Daniel) (Entered:
                    08/17/2017)
08/17/2017   13     NOTICE of Appearance by Bennett Davis Bryan on behalf of Michael P.
                    Coveny, Maxine Daniels, Anthony Lewis, Leona Perry, The Dekalb County
                    Board of Registrations and Elections, Samuel E. Tillman, Baoky N. Vu (Bryan,
                    Bennett) (Entered: 08/17/2017)
08/18/2017   14     ORDER DENYING AS MOOT 8 Motion to Dismiss. The Amended
                    Complaint is deemed filed as of the date of this Order. Plaintiffs also filed a
                    Notice of Related Case in the previous state court proceedings. (See Doc. 1−5.)
                    They cite to the related case of Donna Curling et al. v. Brian Kemp, in his
                    official capacity as Secretary of State of Georgia, et al., Case No.
                    2017cv290630, pending before the Honorable Kimberly M. Esmond Adams.
                    The Court DIRECTS counsel for Plaintiffs to send all of the orders in the
                    related case, as well as their own electronic filings, as attachments via email to
                    AT_Chambers@gand.uscourts.gov no later than 5:00 P.M. on August 18,
                    2017. Likewise, the Court DIRECTS counsel in the State Attorney Generals
                    Office to send all of their own electronic filings in the related case as
                    attachments via email to the AT_Chambers@gand.uscourts.gov no later than
                    5:00 P.M. on August 18, 2017. The Court ORDERS counsel for Plaintiffs and
                    counsel in the State Attorney General's Office to each separately file on the
                    electronic docket a summary of the status of the related case, not to exceed one
                    page in length, no later than 5:00 P.M. on August 18, 2017. Signed by Judge
                    Amy Totenberg on 8/18/2017. (jtj) (Entered: 08/18/2017)
08/18/2017   15     AMENDED COMPLAINT with Jury Demand flied by plaintiffs against
                    Defendants.(jtj) Please visit our website at
                    http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                    Instructions which includes the Consent To Proceed Before U.S. Magistrate
                    form. (Additional attachment(s) added on 8/18/2017: # 1 Exhibits A − E, # 2
                    Exhibits F and G, # 3 Exhibits H − N, # 4 Verifications) (jtj). (Entered:
                    08/18/2017)
08/18/2017   16     NOTICE in Response to 14 Order by Seth Harp, Brian P. Kemp, Merle King,
                    Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, The State Election Board,
                    David J. Worley. (Heidt, Josiah) (Entered: 08/18/2017)
08/18/2017   17

                                                                                                         25
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                    NOTICE in Response to 14 Order by Donna Curling. (Holcomb, Michael)
                    (Entered: 08/18/2017)
08/18/2017   18     NOTICE of Appearance by Kaye Woodard Burwell on behalf of Richard
                    Barron, David J. Burge, Mary Carole Cooney, Aaron Johnson, Stan Matarazzo,
                    Vernetta Nuriddin, The Fulton County Board of Registration and Elections
                    (Burwell, Kaye) (Entered: 08/18/2017)
08/18/2017   19     Return of Service Executed by Coalition for Good Governance. The Cobb
                    County Board of Elections and Registration served on 8/10/2017, answer due
                    8/31/2017. (Holcomb, Michael) (Entered: 08/18/2017)
08/18/2017   20     NOTICE of Appearance by DAVID R. LOWMAN on behalf of Richard
                    Barron, David J. Burge, Mary Carole Cooney, Aaron Johnson, Stan Matarazzo,
                    Vernetta Nuriddin (Burwell, Kaye) Modified on 8/21/2017 to edit attorney. (jtj)
                    (Entered: 08/18/2017)
08/18/2017   21     NOTICE of Appearance by CHERYL M. RINGER on behalf of Richard
                    Barron, David J. Burge, Mary Carole Cooney, Aaron Johnson, Stan Matarazzo,
                    Vernetta Nuriddin. (Burwell, Kaye) Modified on 8/21/2017 to edit attorney.
                    (jtj) (Entered: 08/18/2017)
08/21/2017   22     NOTICE of Appearance by Kaye Woodard Burwell on behalf of Richard
                    Barron, David J. Burge, Mary Carole Cooney, Aaron Johnson, Stan Matarazzo,
                    Vernetta Nuriddin (Burwell, Kaye) (Entered: 08/21/2017)
08/21/2017   23     Return of Service Executed for Complaint. Defendants served Fulton County
                    Board of Registration & Elections − 8/15/2017, Maxine Daniels − 8/5/2017,
                    DeKalb County Board of Registrations & Elections − 8/5/2017, Phil Daniel −
                    8/4/2017, Darryl O. Wilson − 8/4/2017, Aaron Johnson − 7/15/2017, Fred
                    Aiken − 8/4/2017, and Joe Pettit − 8/7/2017. (Holcomb, Michael) Modified on
                    8/21/2017 to add dates. (jtj) (Entered: 08/21/2017)
08/21/2017   24     Return of Service Executed for Complaint. David Worley served on 8/11/2017.
                    (Holcomb, Michael) Modified on 8/21/2017 to edit docket text. (jtj) (Entered:
                    08/21/2017)
08/21/2017   25     NOTICE of Appearance by Aaron Wright on behalf of Donna Curling,
                    Coalition for Good Governance, Donna Price, Jeffrey Schoenberg, Laura
                    Digges, William Digges III, and Ricardo Davis (Wright, Aaron) Modified on
                    8/21/2017 to add parties. (jtj) (Entered: 08/21/2017)
08/21/2017   26     ACKNOWLEDGMENT OF SERVICE Executed filed by Coalition for Good
                    Governance. Jessica Brooks served on 8/21/2017. (Holcomb, Michael)
                    (Entered: 08/21/2017)
08/21/2017   27     Request for Leave of Absence for the following date(s): September 7−11,
                    September 14−15, September 25−29, October 6, 2017, by Daniel Walter
                    White. (White, Daniel) (Entered: 08/21/2017)
08/21/2017   28     RESPONSE re 4 MOTION for Limited Early and Expedited Discovery filed
                    by Seth Harp, Brian P. Kemp, Merle King, Ralph F. (Rusty) Simpson, Rebecca
                    N. Sullivan, The State Election Board, David J. Worley. (Correia, Cristina)
                    (Entered: 08/21/2017)
08/21/2017   29

                                                                                                      26
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                    RESPONSE re 4 MOTION for Limited Early and Expedited Discovery filed
                    by Stan Matarazzo. (Attachments: # 1 Affidavit Dwight Brower)(Lowman,
                    David) (Entered: 08/21/2017)
08/22/2017   30     REFILED AT 33 AMENDED Affidavit of Dwight Brower in Support of 29
                    RESPONSE to 4 MOTION for Limited Early and Expedited Discovery, filed
                    by Mark Wingate. (Lowman, David) Modified on 8/22/2017 to reflect e−filed
                    document. (jtj) (Entered: 08/22/2017)
08/22/2017   31     NOTICE of Appearance by Marvin Lim on behalf of Coalition for Good
                    Governance, Donna Curling, Ricardo Davis, Laura Digges, William Digges,
                    III, Donna Price, Jeffrey Schoenberg (Lim, Marvin) (Entered: 08/22/2017)
08/22/2017   32     RESPONSE in Opposition re 4 MOTION for Limited Early and Expedited
                    Discovery filed by Fred Aiken, Jessica Brooks, Phil Daniell, Janine Eveler, Joe
                    Pettit, The Cobb County Board of Elections and Registration, Darryl O.
                    Wilson. (White, Daniel) (Entered: 08/22/2017)
08/22/2017   33     AMENDED Affidavit of Dwight Brower in Support of 29 RESPONSE to 4
                    MOTION for Limited Early and Expedited Discovery filed by Mark Wingate.
                    (Lowman, David) Modified on 8/22/2017 to reflect e−filed document. (jtj)
                    (Entered: 08/22/2017)
08/22/2017   34     ACKNOWLEDGMENT OF SERVICE Executed filed by Coalition for Good
                    Governance. Mark Wingate served on 8/21/2017, answer due 9/12/2017.
                    (Holcomb, Michael) (Entered: 08/22/2017)
08/22/2017   35     RESPONSE in Opposition re 4 MOTION for Limited Early and Expedited
                    Discovery filed by Michael P. Coveny, Maxine Daniels, Anthony Lewis,
                    Leona Perry, The Dekalb County Board of Registrations and Elections, Samuel
                    E. Tillman, Baoky N. Vu. (Bryan, Bennett) (Entered: 08/22/2017)
08/22/2017   36     AFFIDAVIT of Service for Summons & Verified Complaint , as to The Center
                    for Election Systems at Kennesaw State University, Merle King, The Cobb
                    County Board of Elections and Registration, and Janine Eveler. (Holcomb,
                    Michael) (Entered: 08/22/2017)
08/22/2017   41     Minute Entry for proceedings held before Judge Amy Totenberg: Telephone
                    Conference held on 8/22/2017. The parties updated the Court as to the status of
                    service on Defendants. See minutes for deadlines. (Court Reporter Shannon
                    Welch)(jpa) (Entered: 08/24/2017)
08/23/2017   37     APPLICATION for Admission of Edward Bruce Schwartz Pro Hac Vice
                    (Application fee $ 150, receipt number 113E−7343099)by Coalition for Good
                    Governance. (Holcomb, Michael) (Entered: 08/23/2017)
08/23/2017   38     ANSWER to 1 Notice of Removal, 15 Amended Complaint (Discovery ends
                    on 1/20/2018), by Thomas Jonathan Ossoff. (Waldon, Russell) Please visit our
                    website at http://www.gand.uscourts.gov to obtain Pretrial Instructions.
                    (Entered: 08/23/2017)
08/23/2017   39     NOTICE of Appearance by Russell Dunn Waldon on behalf of Thomas
                    Jonathan Ossoff (Waldon, Russell) (Entered: 08/23/2017)
08/23/2017   40     ORDER − The Court encourages Plaintiffs' counsel to seriously review the
                    information filed by Defendants this Friday regarding the time schedule for

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                    election preparation as well as Defendants' new motions to dismiss due by
                    August 29, 2017. If, upon review of these materials, Plaintiffs decide to
                    proceed by seeking injunctive relief in connection with the 2018 election cycle
                    instead of the upcoming November 2017 election, Plaintiffs are DIRECTED to
                    notify the Court as soon as possible but no later than 5:00 P.M. on September
                    1, 2017. If Plaintiffs determine they wish to proceed with the current
                    established schedule and plan, they are advised to focus their motion for
                    preliminary injunctive relief realistically on the limited set of issues and claims
                    they deem essential to be resolved in this current 2017 election cycle.
                    Additional issues, as warranted, will then be addressed in later discovery,
                    briefs, and hearings. Signed by Judge Amy Totenberg on 8/23/2017. (jtj)
                    (Entered: 08/23/2017)
08/24/2017   42     TRANSCRIPT of Telephone Conference Proceedings held on 8/22/2017,
                    before Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch,
                    RMR, CRR, Telephone number 404−215−1383. Transcript may be viewed at
                    the court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 9/14/2017. Redacted
                    Transcript Deadline set for 9/25/2017. Release of Transcript Restriction set for
                    11/22/2017. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    08/24/2017)
08/24/2017   43     Notice for Leave of Absence for the following date(s): 9/14/2017, 9/15/2017,
                    9/18/2017, by Kaye Woodard Burwell. (Burwell, Kaye) (Entered: 08/24/2017)
08/24/2017   44     APPLICATION for Admission of Joe Robert Caldwell, Jr. Pro Hac Vice
                    (Application fee $ 150, receipt number 113E−7346046)by Coalition for Good
                    Governance, Donna Curling, Ricardo Davis, Laura Digges, William Digges,
                    III, Donna Price, Jeffrey Schoenberg. (Holcomb, Michael) (Entered:
                    08/24/2017)
08/24/2017   45     Notice for Leave of Absence for the following date(s): September 14, 2017,
                    September 15, 2017, by David R. Lowman. (Lowman, David) (Entered:
                    08/24/2017)
08/25/2017   46     NOTICE of Election Deadlines by Mark Wingate. (Lowman, David) (Entered:
                    08/25/2017)
08/29/2017   47     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM with Brief In
                    Support by Michael P. Coveny, Maxine Daniels, Anthony Lewis, Leona Perry,
                    The Dekalb County Board of Registrations and Elections, Samuel E. Tillman,
                    Baoky N. Vu. (Bryan, Bennett) (Entered: 08/29/2017)
08/29/2017   48     MOTION to Dismiss by Fulton County Board of Registration and Elections,
                    Director Richard Barron, members of the FCBRE Mary Carole Cooney,
                    Vernetta Nuriddin, David J. Burge, Stan Matarazzo, Aaron Johnson, and Mark
                    Wingate. (Attachments: # 1 Brief in Support of Motion to Dismiss)(Lowman,
                    David) Modified on 8/30/2017 to add filers. (jtj) (Entered: 08/29/2017)
08/29/2017   49     MOTION to Dismiss for Lack of Subject Matter Jurisdiction, MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM with Brief In Support by
                    Seth Harp, Brian P. Kemp, Merle King, Ralph F. (Rusty) Simpson, Rebecca N.
                    Sullivan, The State Election Board, David J. Worley. (Attachments: # 1 Brief,
                    # 2 Exhibit Chris Harvey Declaration, # 3 Exhibit Marilyn Marks Cross
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                    Examination, # 4 Exhibit Electors' Initial Request for Reexamination, # 5
                    Exhibit Electors' Supplemental Request for Reexamination, # 6 Exhibit
                    Secretary of State's Second Response to Reexamination)(Heidt, Josiah)
                    (Entered: 08/29/2017)
08/29/2017   50     MOTION to Dismiss FOR LACK OF SUBJECT MATTER JURISDICTION,
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM with Brief In
                    Support by Fred Aiken, Jessica Brooks, Phil Daniell, Janine Eveler, Joe Pettit,
                    The Cobb County Board of Elections and Registration, Darryl O. Wilson.
                    (White, Daniel) (Entered: 08/29/2017)
08/30/2017   51     MOTION for Extension of Time to File a Motion for Preliminary Injunction ,
                    MOTION for Leave to File Excess Pages by Coalition for Good Governance,
                    Donna Curling, Ricardo Davis, Laura Digges, William Digges, III, Donna
                    Price, Jeffrey Schoenberg. (Attachments: # 1 Text of Proposed
                    Order)(Holcomb, Michael) (Entered: 08/30/2017)
08/31/2017          RETURN of 37 APPLICATION for Admission of Edward Bruce Schwartz Pro
                    Hac Vice (Application fee $ 150, receipt number 113E−7343099) to attorney
                    for correction re: NY bar. (cdg) (Entered: 08/31/2017)
08/31/2017          RETURN of 44 APPLICATION for Admission of Joe Robert Caldwell, Jr. Pro
                    Hac Vice (Application fee $ 150, receipt number 113E−7346046) to attorney
                    for correction re: Court(NJ). (cdg) (Entered: 08/31/2017)
08/31/2017   52     NOTICE Of Filing Transcript of June 7, 2017 Hearing by Seth Harp, Brian P.
                    Kemp, Merle King, Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, The State
                    Election Board, David J. Worley (Attachments: # 1 Exhibit Transcript
                    Exhibits)(Correia, Cristina) (Entered: 08/31/2017)
08/31/2017   53     ORDER GRANTING 51 Motion for Extension of Time contingent on the
                    motion and brief being filed no later than 6:00 PM on September 1, 2017. The
                    briefing schedule is set forth in this order. No extensions shall be granted. The
                    Court will set a potential hearing date for a preliminary injunction hearing for a
                    date to be determined during the week of September 18, 2017. However, the
                    Court will determine whether such a hearing is appropriate and necessary based
                    on its assessment of the motions and briefs. Signed by Judge Amy Totenberg
                    on 9/01/2017. (jtj) (Entered: 09/01/2017)
08/31/2017   54     Minute Entry for proceedings held before Judge Amy Totenberg: Telephone
                    Conference held on 8/31/2017. The Court granted attorneys Edward Schwartz
                    and Joe Caldwell special dispensation to participate in the conference and deal
                    with the issues in their 37 and 44 Applications for Admission Pro Hac Vice
                    after the hearing. Plaintiffs informed the Court of the type of relief they intend
                    to seek in the motion for preliminary injunction. Plaintiffs indicated they can
                    file the motion for preliminary injunction by 6:00 PM on Friday, September 1,
                    2017. Counsel for the Defendants voiced their opposition. The Court directed
                    Plaintiffs to file a motion seeking leave to amend the complaint to add the
                    additional claim they seek to pursue by noon on Friday, September 1, 2017.
                    The Court directed Plaintiffs to email the Courtroom Deputy Clerk (and copy
                    defense counsel) the constitutional and statutory provisions they are relying on
                    for this new claim. The Court directed defense counsel to file the transcript of
                    the state court hearing. Discussion was had regarding deadlines. The Court
                    took the parties' positions under advisement. Plaintiffs indicated they no longer

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                    seek an enlargement of the page limits for their motion for preliminary
                    injunction. 51 Motion for Leave to File Excess Pages is withdrawn. (Court
                    Reporter Shannon Welch)(jtj) (Entered: 09/01/2017)
09/01/2017   55     MOTION to Stay Discovery and Discovery Related Activities with Brief In
                    Support by Seth Harp, Brian P. Kemp, Merle King, Ralph F. (Rusty) Simpson,
                    Rebecca N. Sullivan, The State Election Board, David J. Worley. (Correia,
                    Cristina) (Entered: 09/01/2017)
09/01/2017   57     Minute Entry for proceedings held before Judge Amy Totenberg: Telephone
                    Conference held on 9/5/2017. The Court FINDS AS MOOT, 47 , 48 , 49 and
                    50 Motions to Dismiss. The Court granted attorneys Edward Schwartz, Joe
                    Caldwell, and Anne Lewis special dispensation to participate in the conference.
                    Discussion was had regarding scheduling. The Court authorized Plaintiffs to
                    file an amended complaint. The amended complaint is to be filed by September
                    15, 2017. Defendants' responses are due by September 29, 2017; no extensions
                    will be granted. Plaintiffs' reply brief is due 14 days thereafter, but the Court
                    encouraged Plaintiffs to file it sooner; no extensions will be granted. If
                    Plaintiffs do not file the amended complaint as represented, Defendants have
                    leave to reassert the motions to dismiss that were deemed moot by the Court.
                    The parties are to meet and confer next week on the issue of the litigation hold.
                    (Court Reporter Shannon Welch)(jtj) (Entered: 09/05/2017)
09/05/2017   56     ORDER GRANTING 55 Motion to Stay All Discovery. Signed by Judge Amy
                    Totenberg on 9/05/2017. (jtj) (Entered: 09/05/2017)
09/07/2017   58     MOTION to Remand to State Court by Mark Wingate. (Burwell, Kaye)
                    (Entered: 09/07/2017)
09/08/2017   59     TRANSCRIPT of Telephone Conference Proceedings held on 8/31/2017,
                    before Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch,
                    RMR, CRR, Telephone number 404−215−1383. Transcript may be viewed at
                    the court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 9/29/2017. Redacted
                    Transcript Deadline set for 10/10/2017. Release of Transcript Restriction set
                    for 12/7/2017. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    09/08/2017)
09/08/2017   60     TRANSCRIPT of Telephone Conference Proceedings held on 9/1/2017, before
                    Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch, RMR,
                    CRR, Telephone number 404−215−1383. Transcript may be viewed at the
                    court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 9/29/2017. Redacted
                    Transcript Deadline set for 10/10/2017. Release of Transcript Restriction set
                    for 12/7/2017. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    09/08/2017)
09/08/2017   61     APPLICATION for Admission of Edward Bruce Schwartz Pro Hac Vice by
                    Coalition for Good Governance, Donna Curling, Ricardo Davis, Laura Digges,
                    William Digges, III, Donna Price, Jeffrey Schoenberg. (Holcomb, Michael)
                    (Entered: 09/08/2017)
09/08/2017   62
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                    APPLICATION for Admission of Joe Robert Caldwell, Jr. Pro Hac Vice by
                    Coalition for Good Governance, Donna Curling, Ricardo Davis, Laura Digges,
                    William Digges, III, Donna Price, Jeffrey Schoenberg. (Holcomb, Michael)
                    (Entered: 09/08/2017)
09/11/2017   63     NOTICE of Appearance by Vincent Robert Russo, Jr on behalf of Karen C.
                    Handel (Russo, Vincent) (Entered: 09/11/2017)
09/11/2017   64     NOTICE by Karen C. Handel of Special Appearance (Russo, Vincent)
                    (Entered: 09/11/2017)
09/11/2017   65     NOTICE of Appearance by Anne Ware Lewis on behalf of Karen C. Handel
                    (Lewis, Anne) (Entered: 09/11/2017)
09/11/2017   66     NOTICE of Appearance by Frank B. Strickland on behalf of Karen C. Handel
                    (Strickland, Frank) (Entered: 09/11/2017)
09/11/2017   67     NOTICE of Appearance by Barclay Hendrix on behalf of Karen C. Handel
                    (Hendrix, Barclay) (Entered: 09/11/2017)
09/13/2017          Submission of 3 MOTION for Leave to Serve Election Contest Defendants and
                    Candidates by Certified Process Server, 4 MOTION for Limited Early and
                    Expedited Discovery, 6 MOTION for Leave to File Excess Pages , submitted
                    to District Judge Amy Totenberg. (jtj) (Entered: 09/13/2017)
09/15/2017          APPROVAL by Clerks Office re: 61 APPLICATION for Admission of
                    Edward Bruce Schwartz Pro Hac Vice. Attorney Edward Bruce Schwartz
                    added appearing on behalf of Coalition for Good Governance, Donna Curling,
                    Ricardo Davis, Laura Digges, William Digges, III, Donna Price, Jeffrey
                    Schoenberg (pmb). Modified on 9/15/2017 to update plaintiffs (pmb). (Entered:
                    09/15/2017)
09/15/2017          APPROVAL by Clerks Office re: 62 APPLICATION for Admission of Joe
                    Robert Caldwell, Jr. Pro Hac Vice. Attorney Joe Robert Caldwell, Jr added
                    appearing on behalf of Coalition for Good Governance, Donna Curling,
                    Ricardo Davis, Laura Digges, William Digges, III, Donna Price, Jeffrey
                    Schoenberg (pmb) Modified on 9/15/2017 to update plaintiffs (pmb) (Entered:
                    09/15/2017)
09/15/2017   68     ORDER DIRECTING counsel to notify the Court no later than 9/18/2017 if
                    Representative Handel (or counsel on her behalf) will accept service. If the
                    Court is notified by 9/18/217 that the service issue has been resolved, the Court
                    will grant Handel's extension of time through 10/2/2017 to respond to the
                    amended complaint. Signed by Judge Amy Totenberg on 9/15/2017. (sap)
                    (Entered: 09/15/2017)
09/15/2017   69     DUPLICATE ENTRY ORDER re Karen C. Handel's request in her 64
                    Special Appearance for an extension of time to file a responsive pleading to
                    Plaintiffs' amended complaint. Assuming that Representative Handel maintains
                    that she still has not been served, her counsel is DIRECTED to notify the Court
                    no later than September 18, 2017, if she (or counsel on her behalf) will accept
                    service. If Representative Handel's counsel notifies the Court on September 18
                    that this service issue has been resolved, the Court will grant Representative
                    Handel an extension to respond to the amended complaint no later than
                    October 2, 2017. Signed by Judge Amy Totenberg on 9/15/2017. (acm) Text

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                    Modified on 9/18/2017 (sap). (Entered: 09/15/2017)
09/15/2017   70     Second AMENDED COMPLAINT against All Defendants with Jury Demand,
                    filed by Ricardo Davis, Coalition for Good Governance, Donna Curling,
                    William Digges, III, Donna Price, Jeffrey Schoenberg, Laura
                    Digges.(Holcomb, Michael) Please visit our website at
                    http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                    Instructions which includes the Consent To Proceed Before U.S. Magistrate
                    form. (Entered: 09/15/2017)
09/18/2017   71     ORDER GRANTING 62 Application of Joe Robert Caldwell, Jr. for
                    Admission Pro Hac Vice. Signed by Judge Amy Totenberg on 9/18/2017. (jtj)
                    (Entered: 09/18/2017)
09/18/2017   72     ORDER GRANTING 61 Application of Edward Bruce Schwartz for
                    Admission Pro Hac Vice. Signed by Judge Amy Totenberg on 9/18/2017. (jtj)
                    (Entered: 09/18/2017)
09/18/2017   73     RESPONSE to 68 Court's September 15, 2017 Order, filed by Representative
                    Karen C. Handel. (Russo, Vincent) (Entered: 09/18/2017)
09/18/2017   74     ACKNOWLEDGMENT OF SERVICE Executed filed by Karen C. Handel.
                    (Russo, Vincent) (Entered: 09/18/2017)
09/20/2017   76     Minute Entry for proceedings held before Judge Amy Totenberg: Telephone
                    Conference held on 9/20/2017. Plaintiffs stated that they did drop the contest
                    claim in the recently filed amended complaint and that there were no remaining
                    claims against Karen Handel. Counsel for Handel contended that she should
                    thus be dismissed as a party. By Tuesday, September 26, 2017, the Plaintiffs
                    are to provide Handel's attorney, and notify the Court, as to Plaintiffs' position
                    re the claims against Handel. Discussion was had regarding Defendant
                    Wingate's motion to remand. Plaintiffs will file opposition to the motion to
                    remand. Discussion was had regarding the litigation hold on voting equipment.
                    Plaintiffs will inform Defendants by Friday, September 22, 2017, re what
                    equipment, if any, it believes need to remain subject to the litigation hold.
                    (Court Reporter Shannon Welch) (jtj) (Entered: 09/22/2017)
09/21/2017   75     RESPONSE in Opposition re 58 MOTION to Remand to State Court by Mark
                    Wingate filed by Coalition for Good Governance, Donna Curling, Ricardo
                    Davis, Laura Digges, William Digges, III, Donna Price, Jeffrey Schoenberg,
                    Edward Curtis Terry. (Holcomb, Michael) (Entered: 09/21/2017)
09/22/2017   77     ORDER DENYING AS MOOT 3 Plaintiffs' Motion for Leave to Serve
                    Election Contest Defendants and Candidates by Certified Process Server; 4
                    Plaintiffs' Expedited Motion for Limited Early and Expedited Discovery; and 6
                    State Defendants' Motion for Leave to File Excess Pages. Signed by Judge
                    Amy Totenberg on 9/22/2017. (jtj) (Entered: 09/22/2017)
09/22/2017   78     MOTION for Leave to File Excess Pages by Seth Harp, Brian P. Kemp, Merle
                    King, Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, The State Election
                    Board, David J. Worley. (Attachments: # 1 Text of Proposed Order)(Correia,
                    Cristina) (Entered: 09/22/2017)
09/22/2017   79     First MOTION to Dismiss with Brief In Support by Michael P. Coveny,
                    Maxine Daniels, Anthony Lewis, Leona Perry, The Dekalb County Board of

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                    Registrations and Elections, Samuel E. Tillman, Baoky N. Vu. (Bryan,
                    Bennett) (Entered: 09/22/2017)
09/26/2017   80     TRANSCRIPT of Telephone Conference Proceedings held on 9/20/2017,
                    before Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch,
                    RMR, CRR, Telephone number 404−215−1383. Transcript may be viewed at
                    the court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 10/17/2017. Redacted
                    Transcript Deadline set for 10/27/2017. Release of Transcript Restriction set
                    for 12/26/2017. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    09/26/2017)
09/28/2017   81     ORDER − Ms. Handel is no longer a party to this case as of the Second
                    Amended Complaint. She is not required to file any response to the Second
                    Amended Complaint, let alone participate in this case going forward. There is
                    nothing to dismiss. And therefore there is no basis for Mr. Russo's motion.The
                    Clerk of Court is DIRECTED to immediately terminate Ms. Handel as a party
                    in this case, so that the docket reflects that the Second Amended Complaint
                    brought no claims against Ms. Handel and did not name her as a party
                    defendant. Signed by Judge Amy Totenberg on 9/28/2017. (jtj) (Entered:
                    09/28/2017)
09/29/2017   82     MOTION to Dismiss by David J. Burge, Mary Carole Cooney, Aaron Johnson,
                    Stan Matarazzo, Vernetta Nuriddin, Mark Wingate. (Attachments: # 1
                    Brief)(Lowman, David) (Entered: 09/29/2017)
09/29/2017   83     MOTION to Dismiss for Lack of Subject Matter Jurisdiction, MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM Second Amended Complaint
                    with Brief In Support by Seth Harp, Brian P. Kemp, Merle King, Ralph F.
                    (Rusty) Simpson, State of Election Board, Rebecca N. Sullivan, The State
                    Election Board, David J. Worley. (Attachments: # 1 Brief)(Heidt, Josiah)
                    (Entered: 09/29/2017)
09/29/2017   84     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM with Brief In
                    Support by Fred Aiken, Jessica Brooks, Phil Daniell, Janine Eveler, Joe Pettit,
                    The Cobb County Board of Elections and Registration, Darryl O. Wilson.
                    (White, Daniel) (Entered: 09/29/2017)
10/02/2017   85     UNOPPOSED MOTION to Consolidate Deadlines for Plaintiff's Responses to
                    Defendants' Motions to Dismiss with Brief In Support, by Coalition for Good
                    Governance, Donna Curling, Ricardo Davis, Laura Digges, William Digges,
                    III, Donna Price, Jeffrey Schoenberg, Edward Curtis Terry. (Attachments: # 1
                    Brief, # 2 Text of Proposed Order)(Holcomb, Michael) (Entered: 10/02/2017)
10/03/2017          Submission of 85 UNOPPOSED MOTION to Consolidate Deadlines for
                    Plaintiff's Responses to Defendants' Motions to Dismiss, submitted to District
                    Judge Amy Totenberg. (jtj) (Entered: 10/03/2017)
10/03/2017   86     ORDER GRANTING 85 Motion to Consolidate Deadlines. The Plaintiffs'
                    response brief to the Defendants' motions to dismiss (Dkt. Nos. 79, 82, 83, and
                    84) is due by October 13, 2017. Signed by Judge Amy Totenberg on
                    10/03/2017. (jtj) (Entered: 10/03/2017)
10/05/2017   87

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                    REPLY to 58 MOTION to Remand to State Court with Brief In Support, by
                    Richard Barron, David J. Burge, Mary Carole Cooney, Aaron Johnson, Stan
                    Matarazzo, Vernetta Nuriddin, The Fulton County Board of Registration and
                    Elections, Mark Wingate. (Burwell, Kaye) Modified on 10/5/2017 to reflect
                    e−filed document. (jtj) (Entered: 10/05/2017)
10/06/2017          Submission of 58 MOTION to Remand to State Court , submitted to District
                    Judge Amy Totenberg. (jtj) (Entered: 10/06/2017)
10/09/2017   88     REPLY BRIEF re 58 MOTION to Remand to State Court filed by Mark
                    Wingate. (Burwell, Kaye) (Entered: 10/09/2017)
10/10/2017          Submission of 78 MOTION for Leave to File Excess Pages , submitted to
                    District Judge Amy Totenberg. (jtj) (Entered: 10/10/2017)
10/10/2017   89     ORDER GRANTING 78 Motion for Leave to File Excess Pages. Signed by
                    Judge Amy Totenberg on 10/10/2017. (jtj) (Entered: 10/10/2017)
10/13/2017   90     MOTION for Leave to File Excess Pages with Brief In Support by Coalition
                    for Good Governance, Donna Curling, Ricardo Davis, Laura Digges, William
                    Digges, III, Donna Price, Jeffrey Schoenberg. (Attachments: # 1 Brief in
                    Support of a Motion to File Brief in Excess of Twenty−Five Pages, # 2 Text of
                    Proposed Order)(Schwartz, Edward) (Entered: 10/13/2017)
10/13/2017   91     RESPONSE re 83 MOTION to Dismiss for Lack of Subject Matter Jurisdiction
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM Second
                    Amended Complaint, 82 MOTION to Dismiss , 79 First MOTION to Dismiss ,
                    84 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by
                    Coalition for Good Governance, Donna Curling, Ricardo Davis, Laura Digges,
                    William Digges, III, Donna Price, Jeffrey Schoenberg. (Schwartz, Edward)
                    (Entered: 10/13/2017)
10/18/2017   92     ORDER granting in part the 90 Motion for Leave to File Excess Pages.
                    Plaintiffs shall file their 75−page response brief no later than October 20, 2017
                    at 4:30 P.M. The Court expects the response brief to be a condensed version of
                    the currently filed brief, not a revised version with new or additional
                    arguments. Defendants time to file their reply brief(s) is extended to October
                    30, 2017. Signed by Judge Amy Totenberg on 10/18/17. (aaq) (Entered:
                    10/18/2017)
10/20/2017   93     RESPONSE re 83 MOTION to Dismiss for Lack of Subject Matter Jurisdiction
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM Second
                    Amended Complaint, 82 MOTION to Dismiss , 79 First MOTION to Dismiss ,
                    84 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM AS
                    AMENDED filed by Coalition for Good Governance, Donna Curling, Ricardo
                    Davis, Laura Digges, William Digges, III, Donna Price, Jeffrey Schoenberg,
                    Edward Curtis Terry. (Schwartz, Edward) (Entered: 10/20/2017)
10/24/2017   94     REPLY BRIEF in Support of 79 First MOTION to Dismiss filed by Michael P.
                    Coveny, Maxine Daniels, Anthony Lewis, Leona Perry, The Dekalb County
                    Board of Registrations and Elections, The Fulton County Board of Registration
                    and Elections, Samuel E. Tillman, Baoky N. Vu. (Bryan, Bennett) (Entered:
                    10/24/2017)
10/27/2017   95

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                    MOTION for Leave to File Excess Pages by Seth Harp, Brian P. Kemp, Merle
                    King, Ralph F. (Rusty) Simpson, State of Election Board, Rebecca N. Sullivan,
                    David J. Worley. (Attachments: # 1 Text of Proposed Order)(Correia, Cristina)
                    (Entered: 10/27/2017)
10/30/2017    96    ORDER GRANTING IN PART 95 Motion for Leave to File Excess Pages.
                    The State Defendants may file a reply brief no longer than 20 pages in length.
                    Signed by Judge Amy Totenberg on 10/30/2017. (jtj) (Entered: 10/30/2017)
10/30/2017    97    REPLY to Response to Motion re 83 MOTION to Dismiss for Lack of Subject
                    Matter Jurisdiction MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM Second Amended Complaint filed by Seth Harp, Brian P. Kemp, Merle
                    King, Ralph F. (Rusty) Simpson, State of Election Board, Rebecca N. Sullivan,
                    David J. Worley. (Correia, Cristina) (Entered: 10/30/2017)
10/30/2017    98    REPLY BRIEF re 84 MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM filed by Fred Aiken, Jessica Brooks, Phil Daniell, Janine Eveler, Joe
                    Pettit, The Cobb County Board of Elections and Registration, Darryl O.
                    Wilson. (White, Daniel) (Entered: 10/30/2017)
10/31/2017    99    ORDER DENYING as MOOT 58 Motion to Remand to State Court. Signed by
                    Judge Amy Totenberg on 10/31/17. (bnw) (Entered: 10/31/2017)
10/31/2017   100    REPLY to Response to Motion re 83 MOTION to Dismiss for Lack of Subject
                    Matter Jurisdiction MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM Second Amended Complaint filed by Richard Barron, David J. Burge,
                    Mary Carole Cooney, Aaron Johnson, Stan Matarazzo, Vernetta Nuriddin,
                    Mark Wingate. (Lowman, David) (Entered: 10/31/2017)
11/02/2017          Submission of 79 First MOTION to Dismiss, 83 MOTION to Dismiss, 84
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM, 82 MOTION
                    to Dismiss, submitted to District Judge Amy Totenberg. (jtj) (Entered:
                    11/02/2017)
11/03/2017   101    Certificate of Consent to Withdraw and Substitution of Counsel by Seth Harp,
                    Brian P. Kemp, Ralph F. (Rusty) Simpson, State of Election Board, Rebecca N.
                    Sullivan, The State Election Board, David J. Worley. (Correia, Cristina)
                    (Entered: 11/03/2017)
11/03/2017   102    Certificate of Consent to Withdraw as Counsel and Substitution of Counsel, by
                    Merle King. (Correia, Cristina) (Entered: 11/03/2017)
11/03/2017   103    Certification of Consent to Substitution of Counsel. Roy E. Barnes and John
                    Frank Salter, Jr substituted for Seth Harp, Brian P. Kemp, Ralph F. (Rusty)
                    Simpson, State of Election Board, Rebecca N. Sullivan, and for David J.
                    Worley. Barnes and salter replacing attorneys Elizabeth Ahern Monyak,
                    Cristina Correia and Josiah Benjamin Heidt. (jtj) (Entered: 11/03/2017)
11/03/2017   104    MOTION to Withdraw Edward Bruce Schwartz as Attorney with Brief In
                    Support by Coalition for Good Governance. (Attachments: # 1 Exhibit, # 2
                    Text of Proposed Order)(Schwartz, Edward) (Entered: 11/03/2017)
11/07/2017   105    Minute Entry for proceedings held before Judge Amy Totenberg: Telephone
                    Conference held on 11/7/2017. The Court indicated that the Plaintiffs must file
                    a motion regarding spoliation if they want to pursue that issue. The Court
                    inquired as to what the Defendants had done regarding the wiping of the
                                                                                                      35
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                    Kennesaw State University server. The Court encouraged the parties to confer
                    about preservation of evidence. Plaintiffs will circulate a draft order to
                    Defendants and submit a proposed order to the Court by close of business on
                    Monday, November 13, 2017. Counsel for the State Defendants requested oral
                    argument on the pending motions to dismiss. The Court inquired as to whether
                    the parties can stipulate to any items, including facts. The parties are to provide
                    the Court with a joint report not exceeding 4 pages in length summarizing their
                    conversations by close of business on Monday, November 13, 2017. (Court
                    Reporter Shannon Welch)(jtj) (Entered: 11/07/2017)
11/07/2017   106    NOTICE of Appearance by Grant Edward Schnell on behalf of Merle King
                    (Schnell, Grant) (Entered: 11/07/2017)
11/08/2017   107    TRANSCRIPT of Telephone Conference Proceedings held on 11/7/2017,
                    before Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch,
                    RMR, CRR, Telephone number 404−215−1383. Transcript may be viewed at
                    the court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 11/29/2017. Redacted
                    Transcript Deadline set for 12/11/2017. Release of Transcript Restriction set
                    for 2/6/2018. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    11/08/2017)
11/13/2017   108    JOINT STATUS REPORT by Coalition for Good Governance, Donna Curling,
                    Ricardo Davis, Laura Digges, William Digges, III, Donna Price, Jeffrey
                    Schoenberg, Edward Curtis Terry. (Attachments: # 1 Exhibit A Draft
                    Preservation Order, # 2 Exhibit B Defendants' Draft Preservation
                    Order)(Schwartz, Edward) (Entered: 11/13/2017)
11/15/2017   109    MOTION for Hearing re 104 MOTION to Withdraw, by Coalition for Good
                    Governance. (jtj) (Entered: 11/15/2017)
11/15/2017   110    ORDER GRANTING 109 Plaintiff Coalition for Good Governance's Request
                    for a Hearing and for Leave to Be Heard insofar as CGG may have additional
                    time to file a response to Steptoe & Johnson's withdrawal motion. CGG may
                    file a response no later than November 27, 2017. The Clerk is DIRECTED to
                    file CGG's response ex parte with the Court. The Clerk is FURTHER
                    DIRECTED to mail a copy of this Order to CGG at 7035 Marching Duck Dr.
                    E504, Charlotte, NC 28210, and to also email a copy of this Order to CGG at
                    Marilyn@USCGG.org. Signed by Judge Amy Totenberg on 11/15/2017. (jtj)
                    (Entered: 11/16/2017)
11/16/2017          The Clerk emailed the 110 Order as directed in the order. (jtj) (Entered:
                    11/16/2017)
11/16/2017          Clerk's Certificate of Mailing as to Coalition for Good Governance re 110
                    Order. Notice of street name change for the Atlanta courthouse included. (jtj)
                    (Entered: 11/16/2017)
11/27/2017   111    Request for Leave of Absence for the following date(s): February 1, 2018
                    through February 5, 2018, May 3, 2018 through May 15, 2018 and June 29,
                    2018 through July 9, 2018, by Bennett Davis Bryan. (Bryan, Bennett) (Entered:
                    11/27/2017)
11/27/2017   112

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                    NOTICE of Appearance by William Brent Ney on behalf of Coalition for Good
                    Governance (Ney, William) (Entered: 11/27/2017)
11/27/2017   113    MOTION for Extension of Time to File Ex Parte Response to 104 Steptoe &
                    Johnson LLP's Motion to Withdraw Edward Bruce Schwartz as Attorney, by
                    Coalition for Good Governance. (Attachments: # 1 Text of Proposed
                    Order)(Ney, William) (Entered: 11/27/2017)
11/28/2017   114    ORDER GRANTING 113 Motion for Extension of Time to File Ex Parte
                    Response to Steptoe & Johnson, LLPs Motion to Withdraw. The Court extends
                    the deadline for CGG to file its response to 5:00 P.M. on November 29, 2017.
                    CGG additionally stated in its Motion that Steptoe & Johnson, LLP represented
                    that it would voluntarily seek permission from the Court to withdraw from all
                    representation in this matter. Steptoe & Johnson, LLP has not yet filed such a
                    motion. The Court notes that it has discretion to grant or deny a withdrawal of
                    counsel motion; it is not required to grant withdrawal. The Court further notes
                    that it is difficult and perhaps impossible to move forward with this case in an
                    efficient manner in light of the continuing shifts in Plaintiffs counsel. Signed
                    by Judge Amy Totenberg on 11/28/2017. (jtj) (Entered: 11/28/2017)
11/28/2017   115    MOTION to Stay with Brief In Support by Coalition for Good Governance.
                    (Attachments: # 1 Brief in Support of Motion to Stay, # 2 Text of Proposed
                    Order)(Ney, William) (Entered: 11/28/2017)
11/28/2017   118    COURT ACCESS ONLY PER 117 ORDER RESPONSE to 104 MOTION to
                    Withdraw, filed by Coalition for Good Governance. (jtj) (Additional
                    attachment(s) added on 11/30/2017: # 1 Exhibits A − D) (jtj). (Entered:
                    11/30/2017)
11/29/2017   116    ORDER GRANTING 104 Motion to Withdraw Edward Bruce Schwartz and
                    Joe R. Caldwell, Jr. as Attorneys for CGG alone. The Court also GRANTS
                    CGGs motion to stay for purposes of CGG obtaining new counsel. CGG is an
                    artificial entity that must have counsel to proceed. CGG shall retain counsel
                    licensed to practice in this district, and new counsel must file a notice of
                    appearance with the Court no later than January 2, 2018. The case shall be
                    STAYED and ADMINISTRATIVELY CLOSED during this time, though
                    CGG may move to re−open the case earlier if it retains counsel before January
                    2, 2018. Failure to comply with this Order may result in an entry of default
                    against CGG. The Court notes that it makes no finding as to the alleged conflict
                    of interest in Steptoes representation of CGG and the other Plaintiffs. Signed
                    by Judge Amy Totenberg on 11/29/2017. (jtj) (Entered: 11/29/2017)
11/29/2017          Civil Case Administratively Closed. (jtj) (Entered: 11/29/2017)
11/30/2017   117    AMENDED 116 ORDER ADMINISTRATIVELY CLOSING this civil action
                    through January 2, 2018. The Clerk of Court shall seal CGG's filing so that
                    only the Court is able to view the contents of the filing. Signed by Judge Amy
                    Totenberg on 11/30/2017. (jtj) (Entered: 11/30/2017)
12/11/2017   119    ORDER instructing counsel to confer no later than Wednesday, December 13,
                    2017 at 12:00 P.M. If there are any unresolved issues after counsel confer,
                    counsel shall file a joint statement in which each side represents its position no
                    later than Thursday, December 14, 2017 at 12:00 P.M. If the parties reach
                    anagreement that is supplemental to the data transfer email (Exhibit A), they
                    shall file it no later than Thursday, December 14, 2017 at 12:00 P.M. Signed by
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                    Judge Amy Totenberg on 12/11/17. (jpa) (Entered: 12/12/2017)
12/13/2017   120    APPLICATION for Admission of Robert Alexander McGuire, III Pro Hac
                    Vice (Application fee $ 150, receipt number 113E−7563092)by Coalition for
                    Good Governance. (Attachments: # 1 Text of Proposed Order)(Ney, William)
                    (Entered: 12/13/2017)
12/14/2017   121    NOTICE of Joint Statement of the Parties' Positions Concerning Preservation
                    of Evidence During Transfer by Coalition for Good Governance re 119 Order
                    (Attachments: # 1 Text of Proposed Order, # 2 Text of Proposed Order, # 3
                    Text of Proposed Order)(Ney, William) (Entered: 12/14/2017)
12/15/2017   122    ORDER re preservation of all evidence relevant to the claims and defenses in
                    this litigation. The Court expects the parties to work cooperatively and in good
                    faith to preserve evidence. If there should be any dispute or confusion about
                    compliance with this Order, the Parties should first confer, and if the issues
                    cannot be resolved, the Parties should notify the Court and request a phone
                    conference, as appropriate. Signed by Judge Amy Totenberg on 12/15/2017.
                    (acm) (Entered: 12/15/2017)
12/15/2017   123    ORDER re 121 Joint Statement of the Parties' Positions Concerning
                    Preservation of Evidence During Transfer. It is ORDERED that any potential
                    evidence related to the claims and defenses in this case, which will be
                    physically transferred from Center for Election Systems and Kennesaw State
                    University to the Georgia Secretary of State, shall be preserved without
                    destruction or alteration in accordance with the parties' obligations to preserve
                    evidence. The parties shall continue to honor their obligations in connection
                    with their respective preservation obligations. Signed by Judge Amy Totenberg
                    on 12/15/2017. (acm) (Entered: 12/15/2017)
12/21/2017          APPROVAL by Clerks Office re: 120 APPLICATION for Admission of
                    Robert Alexander McGuire, III Pro Hac Vice (Application fee $ 150, receipt
                    number 113E−7563092). Attorney William Brent Ney added appearing on
                    behalf of Coalition for Good Governance (jkm) (Entered: 12/21/2017)
12/21/2017   124    Certificate of Consent for Bryan Ward, Marvin Lim, Aaron Wright, and
                    Holcomb + Ward, LLP to Withdraw as Counsel for all Plaintiffs, by Coalition
                    for Good Governance, Donna Curling, Ricardo Davis, Laura Digges, William
                    Digges, III, Donna Price, Jeffrey Schoenberg, Edward Curtis Terry. (Holcomb,
                    Michael) . (Entered: 12/21/2017)
12/21/2017   125    ORDER granting 120 Application for Admission Pro Hac Vice of Robert
                    Alexander McGuire, III. Signed by Judge Amy Totenberg on 12/21/17. (jpa)
                    (Entered: 12/22/2017)
12/22/2017          Clerks Certificate of Mailing re 125 Order on Application for Admission PHV
                    of Robert Alexander McGuire, III. Notice of street name change for the Atlanta
                    courthouse included. (jpa) (Entered: 12/22/2017)
01/04/2018   126    ORDER − The Court seeks clarity on whether or not Steptoe continues to
                    represent the individual Plaintiffs in this matter. The Court DIRECTS Steptoe
                    to file a notice stating whether it intends to file a motion to withdraw (or
                    otherwise a Certificate of Consent to withdraw) pursuant to Local Rule 83.1(E)
                    and if so, when it plans to file such a motion or certificate no later than January
                    10, 2018. The Court also DIRECTS Mr. Ney and Mr. McGuire to file a notice

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                    stating whether they serve as counsel for the Coalition for Good Governance in
                    all matters of this case going forward no later than January 10, 2018. Signed by
                    Judge Amy Totenberg on 1/04/2018. (See order for more details)(jtj) (Entered:
                    01/05/2018)
01/08/2018   127    NOTICE by Coalition for Good Governance Regarding Representation of
                    Coalition for Good Governance by William Brent Ney (Ney, William)
                    (Entered: 01/08/2018)
01/08/2018   128    STATUS REPORT SUBMISSION OF STEPTOE & JOHNSON LLP RE 126
                    ORDER by Donna Curling, Ricardo Davis, Laura Digges, William Digges, III,
                    Donna Price, Jeffrey Schoenberg, Edward Curtis Terry. (Attachments: # 1
                    Notice (REDACTED))(Schwartz, Edward) (Entered: 01/08/2018)
01/09/2018   129    NOTICE of Appearance by Robert Alexander McGuire, III on behalf of
                    Coalition for Good Governance (McGuire, Robert) (Entered: 01/09/2018)
01/10/2018   130    ORDER DIRECTING the Clerk of Court to file any such objection on a sealed,
                    ex parte basis with the Court, as any such objection may contain privileged
                    information or information that is detrimental to other parties in this matter.
                    The Court FURTHER DIRECTS Steptoe, if it files a motion to withdraw, to
                    provide each of the individual Plaintiffs it represents with a copy of this Order,
                    a copy of its motion to withdraw, and the address and contact information for
                    the Clerk of Court. Signed by Judge Amy Totenberg on 1/10/18. (jpa)
                    (Entered: 01/11/2018)
01/12/2018   131    MOTION to Withdraw Edward Bruce Schwartz as Attorney with Brief In
                    Support by Donna Curling, Ricardo Davis, Laura Digges, William Digges, III,
                    Donna Price, Jeffrey Schoenberg. (Attachments: # 1 [Proposed] Order, # 2
                    Notice of Withdrawal (Redacted))(Schwartz, Edward) (Entered: 01/12/2018)
01/12/2018   132    RESPONSE to 131 MOTION to Withdraw, filed by Donna Curling. (jtj)
                    (Entered: 01/16/2018)
01/16/2018   133    Request for Leave of Absence for the following date(s): February 20−23, April
                    16−20, by Robert Alexander McGuire, III. (McGuire, Robert) (Entered:
                    01/16/2018)
01/16/2018   134    Compliance with Court's Standing Order, by Robert Alexander McGuire, III on
                    behalf of Coalition for Good Governance. (McGuire, Robert) (Entered:
                    01/16/2018)
01/18/2018   135    ORDER GRANTING 131 Motion to Withdraw Steptoe as Attorneys. The
                    Court DIRECTS each of the individual plaintiffs to file a notice with the Court
                    no later than February 22, 2018 indicating whether they intend to proceed pro
                    se, to proceed with new counsel, or to seek to dismiss their claims against
                    Defendants altogether. Additionally, the Court DIRECTS each of the
                    individual plaintiffs to file with the Clerk of the Court a notice or letter with his
                    or her contact information, including each individual plaintiffs mailing address,
                    no later than February 5, 2018. The Court ORDERS Steptoe to mail a copy of
                    this Order to the individual Plaintiffs. This case shall continue to be
                    ADMINISTRATIVELY CLOSED pending resolution of the representation
                    issues regarding the individual plaintiffs. Signed by Judge Amy Totenberg on
                    1/18/2018. (jtj) (Entered: 01/18/2018)


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01/25/2018   136    Consent MOTION to Withdraw Bryan Myerson Ward as Attorneyby Coalition
                    for Good Governance. (Ward, Bryan) (Entered: 01/25/2018)
02/05/2018   137    RESPONSE to 135 Order, filed by Donna Curling, Donna Price, Jeffrey
                    Schoenberg. (jtj) (Entered: 02/06/2018)
02/05/2018   138    RESPONSE to 135 Order, filed by Laura Digges, William Digges, III. (jtj)
                    (Entered: 02/06/2018)
02/08/2018   139    RESPONSE to 135 Order, filed by Ricardo Davis. (jtj) (Entered: 02/09/2018)
02/16/2018   140    Request for Leave of Absence for the following date(s):
                    2/26/18−2/27/18,4/2/18−4/6/18,7/6/18−7/23/18, by John Frank Salter, Jr.
                    (Salter, John) (Entered: 02/16/2018)
02/22/2018   141    RESPONSE to 135 Order, filed by Laura Digges, William Digges, III. (jtj)
                    (Entered: 02/23/2018)
02/22/2018   142    RESPONSE to 135 Order filed by Ricardo Davis. (jtj) (Entered: 02/23/2018)
02/22/2018   143    RESPONSE to 135 Order, filed by Donna Curling, Donna Price, Jeffrey
                    Schoenberg. (jtj) (Entered: 02/23/2018)
02/27/2018   144    ORDER DIRECTING the individual plaintiffs to file a notice no later than
                    March 30, 2018 indicating whether they intend to proceed pro se or with new
                    counsel, and if they intend to proceed with counsel, they shall name the new
                    counsel in the notice. Any new counsel for the individual plaintiffs shall file a
                    notice of appearance no later than April 2, 2018. This case shall remain
                    administratively closed during this time. If Mr. Terry intends to proceed in this
                    case, he must comply with this Order. Signed by Judge Amy Totenberg on
                    2/27/18. (jpa) (Entered: 02/27/2018)
02/27/2018          Clerks Certificate of Mailing as to Donna Curling, Ricardo Davis, Laura
                    Digges, William Digges, III, Donna Price, Jeffrey Schoenberg re 144 Order.
                    Notice of street name change for the Atlanta courthouse included. (jpa)
                    (Entered: 02/27/2018)
02/27/2018   145    ORDER DIRECTING the Clerk to email a copy of this Order, 135 Order, and
                    144 Order to Plaintiff Edward Curtis Terry. The Court FURTHER DIRECTS
                    Mr. Terry to file with the Clerk a notice that provides his mailing address no
                    later than March 9, 2018. Mr. Terry is ADVISED that all filings must contain
                    this case number, 1:17−cv−2989−AT, to ensure that they are filed in the proper
                    case. Mr. Terry is FURTHER ADVISED that, as indicated by Standing Order
                    No. 16−01, emails to the Clerk do not constitute official filings in a case. If Mr.
                    Terry obtains new counsel who files a notice of appearance prior to March 9,
                    2018, he may forgo this requirement. The Clerk is DIRECTED to resubmit this
                    matter to the undersigned on March 12, 2018 if Mr. Terry has not complied as
                    directed. Signed by Judge Amy Totenberg on 2/27/2018. (sap) (Entered:
                    02/28/2018)
02/28/2018          Clerks Certificate of Mailing as to Donna Curling, Ricardo Davis, Laura
                    Digges, William Digges, III, Donna Price, and Jeffrey Schoenberg re 145
                    Order. Notice of street name change for the Atlanta courthouse included. (sap)
                    (Entered: 02/28/2018)
02/28/2018

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                    Clerks Certificate of Emailing as to Edward Curtis Terry re 145 Order. (sap)
                    (Entered: 02/28/2018)
03/13/2018          Submission of 145 Order to District Judge Amy Totenberg. (sap) (Entered:
                    03/13/2018)
03/14/2018   146    ORDER DIRECTING the Clerk to email a copy of this Order to Plaintiff
                    Edward Curtis Terry. The Court FURTHER DIRECTS Mr. Terry to file with
                    the Clerk a notice that provides his mailing address no later than March 20,
                    2018. Mr. Terry is ADVISED that all filings must contain this case number,
                    1:17−cv−2989−AT, to ensure that they are filed in the proper case. Mr. Terry is
                    FURTHER ADVISED that, as indicated by Standing Order No. 16−01, emails
                    to the Clerk do not constitute official filings in a case. The Court advises Mr.
                    Terry that failure to comply with the instant Order may result in dismissal of
                    his claims in this case. Signed by Judge Amy Totenberg on 3/14/2018. (sap)
                    (Entered: 03/14/2018)
03/14/2018          Clerks Certificate of Mailing as to Donna Curling, Ricardo Davis, Laura
                    Digges, William Digges, III, Donna Price, and Jeffrey Schoenberg re 146
                    Order. Notice of street name change for the Atlanta courthouse included. (sap)
                    (Entered: 03/14/2018)
03/14/2018          Clerks Certificate of Emailing as to Edward Curtis Terry re 146 Order. (sap)
                    (Entered: 03/14/2018)
03/20/2018   147    Order DISMISSING Mr. Terry's claims in this case pursuant to Local Rule
                    41.3A(2), for his refusal to obey a lawful order of the Court. Signed by Judge
                    Amy Totenberg on 3/20/18. (jpa) (Entered: 03/21/2018)
03/21/2018   148    (JUDGMENT ENTERED IN ERROR) CLERK'S JUDGMENT. (jpa)−−Please
                    refer to http://www.ca11.uscourts.gov to obtain an appeals jurisdiction
                    checklist−− Text Modified on 3/22/2018 (sap). (Entered: 03/21/2018)
03/21/2018          Clerks Certificate of Mailing as to Donna Curling, Ricardo Davis, Laura
                    Digges, William Digges, III, Donna Price, Jeffrey Schoenberg re 147 Order to
                    Dismiss, 148 Clerk's Judgment. Notice of street name change for the Atlanta
                    courthouse included. (jpa) (Entered: 03/21/2018)
03/21/2018          Clerks Certificate of Emailing as to Edward Curtis Terry re 147 Order and 148
                    Clerk's Judgment. (sap) (Entered: 03/21/2018)
03/22/2018          Notification of Docket Correction re 148 Clerk's Judgment: Judgment Entered
                    in Error. (sap) (Entered: 03/22/2018)
03/22/2018          Clerks Certificate of Emailing as to Edward Curtis Terry re the Notification of
                    Docket Correction for 148 Clerk's Judgment. (sap) (Entered: 03/22/2018)
03/23/2018          Clerks Certificate of Mailing as to Donna Curling, Ricardo Davis, Laura
                    Digges, William Digges, III, Donna Price, and Jeffrey Schoenberg re the
                    Notification of Docket Correction for 148 Clerk's Judgment. Notice of street
                    name change for the Atlanta courthouse included. (sap) (Entered: 03/23/2018)
03/30/2018   149    NOTICE of Appearance by William Brent Ney on behalf of Ricardo Davis,
                    Laura Digges, William Digges, III (Ney, William) (Entered: 03/30/2018)
03/30/2018   150

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                    NOTICE re 144 Order by Donna Curling, Donna Price, Jeffrey Schoenberg
                    (Knapp, Halsey) (Entered: 03/30/2018)
03/30/2018   151    NOTICE of Appearance by Halsey G. Knapp, Jr on behalf of Donna Curling,
                    Donna Price, Jeffrey Schoenberg (Knapp, Halsey) (Entered: 03/30/2018)
03/30/2018   152    NOTICE of Appearance by Adam Martin Sparks on behalf of Donna Curling,
                    Donna Price, Jeffrey Schoenberg (Sparks, Adam) (Entered: 03/30/2018)
03/30/2018   153    APPLICATION for Admission of David D. Cross Pro Hac Vice (Application
                    fee $ 150, receipt number 113E−7785544)by Donna Curling, Donna Price,
                    Jeffrey Schoenberg. (Knapp, Halsey) (Entered: 03/30/2018)
03/30/2018   154    APPLICATION for Admission of Jane P. Bentrott Pro Hac Vice (Application
                    fee $ 150, receipt number 113E−7785552) by Donna Curling, Donna Price,
                    Jeffrey Schoenberg. (Knapp, Halsey) (Entered: 03/30/2018)
04/02/2018   155    NOTICE of Appearance by Cary Ichter on behalf of Coalition for Good
                    Governance, Ricardo Davis, Laura Digges, William Digges, III (Ichter, Cary)
                    (Entered: 04/02/2018)
04/02/2018   156    NOTICE re 144 Order of pending pro hac vice application for David D. Cross
                    by Donna Curling, Donna Price, Jeffrey Schoenberg (Knapp, Halsey) (Entered:
                    04/02/2018)
04/02/2018   157    NOTICE re 144 Order of pending pro hac vice application for Jane P. Bentrott
                    by Donna Curling, Donna Price, Jeffrey Schoenberg (Knapp, Halsey) (Entered:
                    04/02/2018)
04/03/2018   158    NOTICE of Appearance by Bruce P. Brown on behalf of Coalition for Good
                    Governance (Brown, Bruce) (Entered: 04/03/2018)
04/03/2018   159    NOTICE of Filing Certificate of Complaince with Court's Standing Order by
                    Bruce P. Brown on behalf of Coalition for Good Governance. (Brown, Bruce)
                    (Entered: 04/03/2018)
04/04/2018          APPROVAL by Clerks Office re: 154 APPLICATION for Admission of Jane
                    P. Bentrott Pro Hac Vice (per rb) (Application fee $ 150, receipt number
                    113E−7785552). Attorney Jane P. Bentrott added appearing on behalf of
                    Donna Curling, Donna Price, Jeffrey Schoenberg (pmb) (Entered: 04/04/2018)
04/04/2018          APPROVAL by Clerks Office re: 153 APPLICATION for Admission of David
                    D. Cross Pro Hac Vice (per rb) (Application fee $ 150, receipt number
                    113E−7785544). Attorney David D. Cross added appearing on behalf of Donna
                    Curling, Donna Price, Jeffrey Schoenberg (pmb) (Entered: 04/04/2018)
04/04/2018   160    MOTION to Amend Complaint by Coalition for Good Governance.
                    (Attachments: # 1 Exhibit A − Proposed Third Amended Complaint, # 2
                    Exhibit B − Proposed Order)(Brown, Bruce) (Entered: 04/04/2018)
04/05/2018   161    MOTION for Hearing Request for Status Conference by Coalition for Good
                    Governance. (Brown, Bruce) (Entered: 04/05/2018)
04/06/2018   162    NOTICE of Change of Address for Robert Alexander McGuire, III, counsel for
                    Coalition for Good Governance (McGuire, Robert) (Entered: 04/06/2018)
04/06/2018   163

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                    Request for Leave of Absence for the following date(s): April 16−20
                    (previously noticed), May 14−15 (new), by Robert Alexander McGuire, III.
                    (McGuire, Robert) (Entered: 04/06/2018)
04/06/2018   164    ORDER GRANTING 153 Application for Admission of David D. Cross Pro
                    Hac Vice. Signed by Judge Amy Totenberg on 4/6/2018. (sap) (Entered:
                    04/06/2018)
04/06/2018   165    ORDER GRANTING 154 Application for Admission of Jane P. Bentrott Pro
                    Hac Vice. Signed by Judge Amy Totenberg on 4/6/2018. (sap) (Entered:
                    04/06/2018)
04/09/2018   166    RESPONSE re 160 MOTION to Amend Complaint filed by Seth Harp, Brian
                    P. Kemp, Ralph F. (Rusty) Simpson, State of Election Board, Rebecca N.
                    Sullivan, David J. Worley. (Attachments: # 1 Text of Proposed Order)(Salter,
                    John) (Entered: 04/09/2018)
04/09/2018   167    Notice for Leave of Absence for the following date(s): June 7−8, 2018, July
                    2−6, 2018, August 24−31, 2018, November 19−23, 2018, December 20−31,
                    2018, by Halsey G. Knapp, Jr. (Knapp, Halsey) (Entered: 04/09/2018)
04/11/2018   168    Request for Leave of Absence for the following date(s): July 18, 2018 − July
                    20, 2018, by Bennett Davis Bryan. (Bryan, Bennett) (Entered: 04/11/2018)
04/11/2018   169    RESPONSE in Support re 161 MOTION for Hearing Request for Status
                    Conference filed by Richard Barron, David J. Burge, Mary Carole Cooney,
                    Aaron Johnson, Stan Matarazzo, Vernetta Nuriddin, The Fulton County Board
                    of Registration and Elections, Mark Wingate. (Lowman, David) (Entered:
                    04/11/2018)
04/13/2018   170    MOTION for Extension of Time to Respond to 160 MOTION to Amend
                    Complaint by Donna Curling, Donna Price, Jeffrey Schoenberg. (Attachments:
                    # 1 Text of Proposed Order)(Sparks, Adam) (Entered: 04/13/2018)
04/16/2018   171    RESPONSE re 170 MOTION for Extension of Time to Respond to 160
                    MOTION to Amend Complaint filed by Coalition for Good Governance. (Ney,
                    William) (Entered: 04/16/2018)
04/16/2018   172    NOTICE of Joinder 166 Response to Motion by Merle King (Schnell, Grant)
                    (Entered: 04/16/2018)
04/17/2018   173    REPLY to Response to Motion re 170 MOTION for Extension of Time to
                    Respond to 160 MOTION to Amend Complaint filed by Donna Curling,
                    Donna Price, Jeffrey Schoenberg. (Sparks, Adam) (Entered: 04/17/2018)
04/18/2018          Submission of 170 MOTION for Extension of Time to Respond to 160
                    MOTION to Amend Complaint to District Judge Amy Totenberg. (sap)
                    (Entered: 04/18/2018)
04/18/2018   174    RESPONSE re 160 MOTION to Amend Complaint filed by Fred Aiken,
                    Jessica Brooks, Phil Daniell, Janine Eveler, Joe Pettit, The Cobb County Board
                    of Elections and Registration, Darryl O. Wilson. (White, Daniel) (Entered:
                    04/18/2018)
04/18/2018   175    RESPONSE in Opposition re 160 MOTION to Amend Complaint filed by The
                    Fulton County Board of Registration and Elections, Richard Barron, David J.

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                    Burge, Mary Carole Cooney, Aaron Johnson, Stan Matarazzo, Vernetta
                    Nuriddin, Mark Wingate. (Lowman, David) Filers Modified on 4/18/2018
                    (sap). (Entered: 04/18/2018)
04/18/2018   176    RESPONSE re 160 MOTION to Amend Complaint filed by Michael P.
                    Coveny, Maxine Daniels, Anthony Lewis, Leona Perry, The Dekalb County
                    Board of Registrations and Elections, Samuel Tillman, and Baoky Vu. (Bryan,
                    Bennett) Filers Modified on 4/18/2018 (sap). (Entered: 04/18/2018)
04/18/2018   177    ORDER GRANTING Plaintiffs Donna Curling, Donna Price, and Jeffrey
                    Schoenbergs 170 Motion for Extension of Time to Respond to 160 MOTION
                    to Amend Complaint. Plaintiffs Donna Curling, Donna Price, and Jeffrey
                    Schoenberg may file their Response no later than 5:00pm on April 26, 2018.
                    Signed by Judge Amy Totenberg on 4/18/2018. (sap) (Entered: 04/18/2018)
04/24/2018   178    Request for Leave of Absence for the following date(s): April 30, 2018, May
                    2−3, 2018, May 7−9, 2018, May 14−18, 2018, May 21−25, 2018, by David D.
                    Cross. (Cross, David) (Entered: 04/24/2018)
04/25/2018          MINUTE GRANTING the 161 Request for Status Conference. The Court will
                    hold an in−person status conference on 5/1/2018 at 10:30 AM in ATLA
                    Courtroom 2308. Entered by Judge Amy Totenberg on 4/25/2018. (acm)
                    (Entered: 04/25/2018)
04/26/2018   179    RESPONSE in Opposition re 160 MOTION to Amend Complaint filed by
                    Donna Curling, Donna Price, Jeffrey Schoenberg. (Knapp, Halsey) (Entered:
                    04/26/2018)
04/30/2018   180    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom for
                    Status Conference by Donna Curling, Donna Price, Jeffrey Schoenberg.
                    (Attachments: # 1 Text of Proposed Order)(Sparks, Adam) (Entered:
                    04/30/2018)
04/30/2018   181    Consolidated REPLY to Response to Motion re 160 MOTION to Amend
                    Complaint filed by Coalition for Good Governance, Ricardo Davis, Laura
                    Digges, William Digges, III. (McGuire, Robert) (Entered: 04/30/2018)
04/30/2018   182    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom during
                    the May 1, 2018 Conference by Coalition for Good Governance, Ricardo
                    Davis, Laura Digges, William Digges, III. (Attachments: # 1 Text of Proposed
                    Order)(Ney, William) (Entered: 04/30/2018)
04/30/2018   183    DUPLICATE ENTRYMotion to Bring Audio/Visual/Electronic Equipment in
                    the Courtroom by Coalition for Good Governance. (Attachments: # 1 Text of
                    Proposed Order)(Ney, William) Modified on 4/30/2018 (jkl). (Entered:
                    04/30/2018)
04/30/2018   184    ORDER granting 180 Motion to Bring Audio/Visual/Electronic Equipment in
                    the Courtroom on May 1, 2018 at 10:30 A.M. Signed by Judge Amy Totenberg
                    on 4/30/2018. (jkl) (Entered: 04/30/2018)
04/30/2018   185    ORDER GRANTING 182 Motion to Bring Audio/Visual/Electronic
                    Equipment in the Courtroom on May 1, 2018 at 10:30 A.M. Signed by Judge
                    Amy Totenberg on 4/30/18. (jkl) (Entered: 04/30/2018)
05/01/2018   189

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                    Minute Entry for proceedings held before Judge Amy Totenberg: Status
                    Conference held on 5/1/2018. The Court confirmed that the firm of Holcomb
                    and Ward, LLP has been relieved of its duties and responsibilities in this case.
                    Discussion was had regarding the positions of the various Plaintiffs and
                    possible severance. Discussion was had regarding the Plaintiffs' proposed 3rd
                    Amended Complaint. By next week, Plaintiffs are to file a notice identifying
                    the paragraphs they believe include material modifications. By Thursday, May
                    3, the parties are to have a phone conference to discuss sampling of the voting
                    machines, and by Tuesday, May 9, they are to come up with a proposal on how
                    to accomplish that. Plaintiffs are to relay their Rule 34 request re observing the
                    May 22 election in more specificity. By Friday, May 4, Defendants are to
                    identify in writing their concerns related to this request. The Court will hold a
                    follow−up telephone conference on May 9 at 4 PM. By 1:00 PM on Tuesday,
                    May 9, The State Defendants and Fulton County are to notify Plaintiffs and the
                    Court re their positions on the posture of the defendants and sovereign
                    immunity. (Court Reporter Shannon Welch) (sap) (Entered: 05/03/2018)
05/03/2018   186    TRANSCRIPT of Status Conference Proceedings held on 5/1/2018, before
                    Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch, RMR,
                    CRR, Telephone number 404−215−1383. Transcript may be viewed at the
                    court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 5/24/2018. Redacted
                    Transcript Deadline set for 6/4/2018. Release of Transcript Restriction set for
                    8/1/2018. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    05/03/2018)
05/03/2018   187    APPLICATION for Admission of John P. Carlin Pro Hac Vice (Application
                    fee $ 150, receipt number 113E−7856478)by Donna Curling, Donna Price,
                    Jeffrey Schoenberg. (Knapp, Halsey) (Entered: 05/03/2018)
05/03/2018   188    NOTICE of Appearance by John P. Carlin on behalf of Donna Curling, Donna
                    Price, Jeffrey Schoenberg (Knapp, Halsey) Modified on 5/4/2018 to edit text.
                    (cmd) (Entered: 05/03/2018)
05/06/2018   190    NOTICE identifying Paragraphs of Proposed Third Amended Complaint with
                    Material Allegations by Coalition for Good Governance, Ricardo Davis, Laura
                    Digges, William Digges, III (McGuire, Robert) (Entered: 05/06/2018)
05/08/2018   191    NOTICE Regarding Immunity by Brian P. Kemp, Ralph F. (Rusty) Simpson,
                    State of Election Board, Rebecca N. Sullivan, David J. Worley, and Seth Harp.
                    (Attachments: # 1 Exhibit 1: Examination Report)(Salter, John) (Entered:
                    05/08/2018)
05/08/2018   192    NOTICE of Appearance by Terry G. Phillips on behalf of Michael P. Coveny,
                    Maxine Daniels, Anthony Lewis, Leona Perry, Samuel E. Tillman, Baoky N.
                    Vu, and The Dekalb County Board of Registrations and Elections. (Phillips,
                    Terry) (Entered: 05/08/2018)
05/08/2018   193    APPLICATION for Admission of Catherine L. Chapple Pro Hac Vice
                    (Application fee $ 150, receipt number 113E−7865709)by Donna Curling,
                    Donna Price, Jeffrey Schoenberg. (Knapp, Halsey) (Entered: 05/08/2018)
05/08/2018   194    Application for Refund of Fees paid online through Pay.gov for receipt number
                    113E−7865525. (Knapp, Halsey) (Entered: 05/08/2018)
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05/09/2018   195    NOTICE of Appearance by Laura K. Johnson on behalf of The Dekalb County
                    Board of Registrations and Elections (Johnson, Laura) (Entered: 05/09/2018)
05/09/2018   196    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom for
                    Conference by Donna Curling, Donna Price, Jeffrey Schoenberg.
                    (Attachments: # 1 Proposed Order)(Sparks, Adam) (Entered: 05/09/2018)
05/09/2018          Clerks Approval re 194 Application for Refund of Fees paid online. (mmc)
                    (Entered: 05/10/2018)
05/09/2018   202    Minute Entry for proceedings held before Judge Amy Totenberg: Telephone
                    Conference held on 5/9/2018. The Court heard from the parties on the status of
                    the voting machines and the need to preserve evidence. A recess was had.The
                    hearing resumed. The Court heard further from the parties, then indicated it
                    would reserve a room at the courthouse for 3:30 PM on Tuesday, May 10 for
                    the parties to meet. Defendant Merle King was excused from this meeting. The
                    Court will then hold a hearing at 5:00 PM, if needed. Counsel for the state
                    defendants was directed to send the Court the state law they referenced during
                    the conference. (Court Reporter Shannon Welch)(jpa) (Entered: 05/11/2018)
05/10/2018   197    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom (For
                    May 10, 2018 Conference) by Seth Harp, Brian P. Kemp, Ralph F. (Rusty)
                    Simpson, Rebecca N. Sullivan, The State Election Board, David J. Worley.
                    (Attachments: # 1 Text of Proposed Order Proposed Order)(Salter, John)
                    (Entered: 05/10/2018)
05/10/2018   198    ORDER REOPENING CASE Signed by Judge Amy Totenberg on 5/10/2018.
                    (sap) (Entered: 05/10/2018)
05/10/2018   199    ORDER GRANTING the Plaintiffs' 196 Motion to Bring
                    Audio/Visual/Electronic Equipment in the Courtroom on May 10, 2018. Signed
                    by Judge Amy Totenberg on 5/10/2018. (sap) (Entered: 05/10/2018)
05/10/2018   200    ORDER GRANTING the Defendants' 197 Motion to Bring
                    Audio/Visual/Electronic Equipment in the Courtroom on May 10, 2018. Signed
                    by Judge Amy Totenberg on 5/10/2018. (sap) (Entered: 05/10/2018)
05/10/2018   201    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom by
                    Coalition for Good Governance. (Attachments: # 1 Text of Proposed
                    Order)(Ichter, Cary) (Entered: 05/10/2018)
05/10/2018   203    ORDER granting 201 Motion to Bring Audio/Visual/Electronic Equipment in
                    the Courtroom on 5/10/18. Signed by Judge Amy Totenberg on 5/10/18. (jpa)
                    (Entered: 05/11/2018)
05/10/2018   205    Minute Entry for proceedings held before Judge Amy Totenberg: Status
                    Conference held on 5/10/2018. The voting machines that are subject to the
                    current litigation holdwill stay on hold and will not be used in the May 22
                    election. ByTuesday, May 15, the Coalition Plaintiffs shall respond
                    toDefendants inquiry as to why the litigation hold include opticalscanning
                    machines that are not DRE machines. By Thursday,May 17, the parties are to
                    submit a joint proposed schedule to theCourt.Exhibits retained to be forwarded
                    to the Clerks Office. (Court Reporter Shannon Welch)(adg) (Entered:
                    05/11/2018)
05/11/2018   204
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                    TRANSCRIPT of Status Conference Proceedings held on 5/10/2018, before
                    Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch, RMR,
                    CRR, Telephone number 404−215−1383. Transcript may be viewed at the
                    court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 6/1/2018. Redacted
                    Transcript Deadline set for 6/11/2018. Release of Transcript Restriction set for
                    8/9/2018. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    05/11/2018)
05/11/2018   206    Coalition Plaintiffs' EXHIBITS admitted and retained at the 205 Status
                    Conference, have been received from Courtroom Deputy and placed in the
                    custody of the Records Clerks.. (Attachments: # 1 Exhibit 1)(adg) (Entered:
                    05/11/2018)
05/14/2018          Refund in the amount of $150.00 has been processed, effective 5/14/2018 in
                    response to Clerks Action on Application for Refund of Fees paid online. (kns)
                    (Entered: 05/14/2018)
05/14/2018   207    (DOCUMENT FILED IN ERROR− ATTORNEY TO RE−FILE USING
                    CORRECT EVENT) NOTICE of Appearance by Halsey G. Knapp, Jr on
                    behalf of Donna Curling, Donna Price, Jeffrey Schoenberg (Knapp, Halsey)
                    Modified on 5/14/2018 (adg). (Entered: 05/14/2018)
05/14/2018   208    APPLICATION for Admission of Robert W. Manoso Pro Hac Vice
                    (Application fee $ 150, receipt number 113E−7876698)by Donna Curling,
                    Donna Price, Jeffrey Schoenberg. (Knapp, Halsey) (Entered: 05/14/2018)
05/14/2018          APPROVAL by Clerks Office re: 187 APPLICATION for Admission of John
                    P. Carlin Pro Hac Vice (Application fee $ 150, receipt number
                    113E−7856478). Attorney John P. Carlin added appearing on behalf of Donna
                    Curling, Donna Price, Jeffrey Schoenberg (pmb) (Entered: 05/14/2018)
05/17/2018   209    NOTICE of Compliance with 205 Minute Entry to Respond to Defendants by
                    Coalition for Good Governance, Ricardo Davis, Laura Digges, William
                    Digges, III (Attachments: # 1 Exhibit)(McGuire, Robert) (Entered: 05/17/2018)
05/17/2018   210    STATUS REPORT and Proposed Schedule for Determination of DRE
                    Machine Preservation by Donna Curling, Donna Price, Jeffrey Schoenberg.
                    (Attachments: # 1 Exhibit)(Sparks, Adam) (Entered: 05/17/2018)
05/17/2018   211    ORDER granting 187 Application for Admission Pro Hac Vice of John P
                    Carlin. Signed by Judge Amy Totenberg on 5/17/18. (jpa) (Entered:
                    05/18/2018)
05/18/2018          Clerk's Certificate of Mailing as to John P. Carlin re 211 Order on Application
                    for Admission PHV. Notice of street name change for the Atlanta courthouse
                    included. (jpa) (Entered: 05/18/2018)
05/18/2018   212    TRANSCRIPT of Telephone Conference Proceedings held on 5/9/2018, before
                    Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch, RMR,
                    CRR, Telephone number 404−215−1383. Transcript may be viewed at the
                    court public terminal or purchased through the Court Reporter/Transcriber
                    before the deadline for Release of Transcript Restriction. After that date it may
                    be obtained through PACER. Redaction Request due 6/8/2018. Redacted

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                    Transcript Deadline set for 6/18/2018. Release of Transcript Restriction set for
                    8/16/2018. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                    05/18/2018)
05/18/2018   213    NOTICE by Michael P. Coveny, Maxine Daniels, Anthony Lewis, Leona
                    Perry, The Dekalb County Board of Registrations and Elections, Samuel E.
                    Tillman, Baoky N. Vu re 210 Status Report Consent to Joint Status Report
                    (Bryan, Bennett) (Entered: 05/18/2018)
05/18/2018   214    NOTICE TO COUNSEL OF RECORD for Coalition for Good Governance
                    regarding RECLAMATION AND DISPOSITION OF UNCLAIMED
                    Documentary EXHIBITS pursuant to Local Rule 79.1D. Re: 206 Exhibits.
                    (adg) (Entered: 05/18/2018)
05/21/2018          APPROVAL by Clerks Office re: 193 APPLICATION for Admission of
                    Catherine L. Chapple Pro Hac Vice (Application fee $ 150, receipt number
                    113E−7865709). Attorney Catherine L. Chapple added appearing on behalf of
                    Donna Curling, Donna Price and Jeffrey Schoenberg (pmb) (Entered:
                    05/21/2018)
05/25/2018   215    ORDER DIRECTING the Curling Plaintiffs to confer with the other parties as
                    to how they plan to proceed with their claims re the proposed amendment in
                    their 160 Motion to Amend Complaint. By June 1, 2018, the parties shall file a
                    joint notice with the information as directed in the Order. Signed by Judge
                    Amy Totenberg on 5/25/2018. (acm) (Entered: 05/25/2018)
05/30/2018   216    ORDER GRANTING 193 Application for Admission of Catherine L. Chapple
                    Pro Hac Vice. Signed by Judge Amy Totenberg on 5/30/2018. (sap) (Entered:
                    05/31/2018)
05/31/2018          APPROVAL by Clerks Office re: 208 APPLICATION for Admission of
                    Robert W. Manoso Pro Hac Vice (per sb) (Application fee $ 150, receipt
                    number 113E−7876698). Attorney Robert W. Manoso added appearing on
                    behalf of Donna Curling, Donna Price, Jeffrey Schoenberg (pmb) (Entered:
                    05/31/2018)
05/31/2018   217    NOTICE of Appearance by Catherine L. Chapple on behalf of Donna Curling,
                    Donna Price, and Jeffrey Schoenberg (Knapp, Halsey) Event Modified on
                    6/1/2018 (sap). (Entered: 05/31/2018)
06/01/2018   218    (INVALID PER THE 220 ORDER) STIPULATION of Dismissal Without
                    Prejudice by Donna Curling, Donna Price, Jeffrey Schoenberg. (Sparks, Adam)
                    Text Modified on 6/5/2018 (sap). (Entered: 06/01/2018)
06/01/2018   219    NOTICE Regarding Curling Plaintiffs' Stipulated Dismissal by Donna Curling,
                    Donna Price, Jeffrey Schoenberg (Sparks, Adam) (Entered: 06/01/2018)
06/05/2018   220    ORDER: The Court must find the Stipulation of Dismissal in this case to be
                    INVALID. The Court therefore DIRECTS the Curling Plaintiffs to file a
                    motion for leave to amend the Second Amended Complaint and to attach a
                    proposed Third Amended Complaint no later than June 11, 2018. The Court is
                    inclined to grant this motion, as well as the Coalition Plaintiffs 160 Motion to
                    Amend, soon after the Curling Plaintiffs have filed their motion unless a
                    serious objection is raised. At that time, the Court will also order the parties to
                    confer and submit a proposed briefing schedule within seven days after the date

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                    of the order. Signed by Judge Amy Totenberg on 6/5/2018. (sap) (Entered:
                    06/05/2018)
06/08/2018   221    ORDER GRANTING 208 Application for Admission of Robert W. Manoso
                    Pro Hac Vice. Signed by Judge Amy Totenberg on 6/8/2018. (sap) (Entered:
                    06/08/2018)
06/11/2018   222    NOTICE re 220 Order and re Second Amended Complaint by Donna Curling,
                    Donna Price, Jeffrey Schoenberg (Knapp, Halsey) (Entered: 06/11/2018)
06/11/2018   223    STIPULATION of Dismissal re Certain Defendants by Donna Curling, Donna
                    Price, Jeffrey Schoenberg. (Knapp, Halsey) (Entered: 06/11/2018)
06/13/2018   224    NOTICE by Donna Curling, Donna Price, Jeffrey Schoenberg Notice of
                    Appearance of Robert W. Manoso (Knapp, Halsey) (Entered: 06/13/2018)
06/13/2018   225    ORDER GRANTING 160 Motion to Amend Complaint. The Third Amended
                    Complaint is deemed filed as of the date of this Order. The Court ORDERS the
                    Curling Plaintiffs and Defendants to confer and submit a proposed schedule
                    regarding Defendants' responses to the Third Amended Complaint and any
                    subsequent briefing no later than June 20, 2018. The Clerk is DIRECTED to
                    dismiss, without prejudice, Defendants Maxine Daniels, Michael P. Coveny,
                    Anthony Lewis, Leona Perry, Samuel E. Tillman, Baoky N. Vu, DeKalb
                    County Board of Registrations and Elections, Janine Eveler, Phil Daniell, Fred
                    Aiken, Joe Pettit, Jessica Brooks, Darryl O. Wilson, Cobb County Board of
                    Elections and Registration and Merle King. Signed by Judge Amy Totenberg
                    on 6/13/18. (jkl) (Entered: 06/13/2018)
06/13/2018   226    THIRD AMENDED COMPLAINT against David J. Burge, Mary Carole
                    Cooney, Seth Harp, Aaron Johnson, Brian P. Kemp, Stan Matarazzo, Vernetta
                    Nuriddin, Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, David J. Worley
                    filed by Ricardo Davis, Coalition for Good Governance, William Digges, III,
                    Laura Digges, Megan Missett. (jkl) Please visit our website at
                    http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                    Instructions and Pretrial Associated Forms which includes the Consent To
                    Proceed Before U.S. Magistrate form. Modified on 6/13/2018 to edit filers per
                    direction of Chambers(jkl). (Entered: 06/13/2018)
06/13/2018   227    AMENDED ORDER re 225 Order on 160 Motion for Leave to File Third
                    Amended Complaint. the Court GRANTS the Coalition Plaintiffs' 160 Motion.
                    The Third Amended Complaint is deemed filed as of the date of this Order.
                    The Court ORDERS the Coalition Plaintiffs and Defendants to confer and
                    submit a proposed schedule regarding Defendants' responses to the Third
                    Amended Complaint and any subsequent briefing no later than 6/20/2018. the
                    Court DIRECTS the Clerk to terminate the Defendants in the bulleted list.
                    Signed by Judge Amy Totenberg on 6/13/2018. (adg) (Entered: 06/14/2018)
06/19/2018   228    NOTICE of Filing Proposed Briefing Schedule Concerning The Third
                    Amended Complaint by David J. Burge, Mary Carole Cooney, Seth Harp,
                    Aaron Johnson, Brian P. Kemp, Stan Matarazzo, Vernetta Nuriddin, Ralph F.
                    (Rusty) Simpson, State of Election Board, Rebecca N. Sullivan, David J.
                    Worley (Attachments: # 1 Exhibit A: June 13, 2018 Email, # 2 Exhibit B:
                    Table, # 3 Exhibit C: June 18, 2018 Email)(Salter, John) (Entered: 06/19/2018)
06/20/2018   229

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                    Joint NOTICE of Plaintiffs' Proposing a Schedule by Coalition for Good
                    Governance, Donna Curling, Ricardo Davis, Laura Digges, William Digges,
                    III, Megan Missett, Donna Price, Jeffrey Schoenberg (Attachments: # 1 Exhibit
                    1 − Pls.' Proposed Schedule, # 2 Exhibit 2 − Demand Letter, # 3 Exhibit 3 −
                    Gasaway case)(McGuire, Robert) (Entered: 06/20/2018)
06/20/2018   230    MOTION for Order to Issue Subpoena with Brief In Support by Coalition for
                    Good Governance, Ricardo Davis, Laura Digges, William Digges, III, Megan
                    Missett. (Attachments: # 1 Brief Memorandum in Support of Motion for
                    Issuance of Subpoena)(Brown, Bruce) Filers Modified on 6/21/2018 (sap).
                    (Entered: 06/20/2018)
06/28/2018   231    Certification of Consent to Substitution of Counsel. Daniel Walter White
                    replacing attorney Terry G. Phillips, Bennett Davis Bryan and Laura K.
                    Johnson for Michael P. Coveny, Anthony Lewis, Leona Perry, Samuel E.
                    Tillman, Boaky N. Vu, Maxine Daniels, and the DeKalb County Board of
                    Registration and Elections. (White, Daniel) (Entered: 06/28/2018)
07/03/2018   232    RESPONSE in Opposition re 230 MOTION for Order to Issue Subpoena filed
                    by Michael P. Coveny, Maxine Daniels, Anthony Lewis, Leona Perry, The
                    Dekalb County Board of Registrations and Elections, Samuel E. Tillman,
                    Baoky N. Vu. (Attachments: # 1 Brief In Support of Response, # 2 Exhibit A −
                    Declaration of Erica Hamilton, # 3 Exhibit B − Declaration of Chris
                    Harvey)(White, Daniel) (Entered: 07/03/2018)
07/03/2018   233    MOTION for Leave to File Excess Pages by Seth Harp, Brian P. Kemp, Ralph
                    F. (Rusty) Simpson, Rebecca N. Sullivan, The State Election Board, David J.
                    Worley. (Attachments: # 1 Text of Proposed Order)(Salter, John) (Entered:
                    07/03/2018)
07/03/2018   234    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM with Brief In
                    Support by Seth Harp, Brian P. Kemp, Ralph F. (Rusty) Simpson, Rebecca N.
                    Sullivan, The State Election Board, David J. Worley. (Attachments: # 1 State
                    Defendants' Brief In Support Of Their Motion To Dismiss Coalition Plaintiffs'
                    Third Amended Complaint)(Salter, John) (Entered: 07/03/2018)
07/16/2018   235    NOTICE of Requested Call With the Court by Coalition for Good Governance,
                    Ricardo Davis, Laura Digges, William Digges, III, Megan Missett. (Ichter,
                    Cary) Filers Modified on 7/17/2018 (sap). (Entered: 07/16/2018)
07/17/2018   236    NOTICE of Appearance by Jonathan Lee Schwartz on behalf of Common
                    Cause, National Election Defense Coalition, Protect Democracy (Schwartz,
                    Jonathan) (Entered: 07/17/2018)
07/17/2018   237    (FILED IN ERROR; SEE 241 FOR CORRECTED ENTRY) Application for
                    Admission Pro Hac Vice, Stephen P. Berzon. (Schwartz, Jonathan) Modified
                    on 7/18/2018 (sap). (Entered: 07/17/2018)
07/17/2018   238    (FILED IN ERROR; SEE 242 FOR CORRECTED ENTRY) Application for
                    Admission Pro Hac Vice, Stacey M. Leyton. (Schwartz, Jonathan) Modified on
                    7/18/2018 (sap). (Entered: 07/17/2018)
07/17/2018   239    (FILED IN ERROR; SEE 243 FOR CORRECTED ENTRY) Application for
                    Admission Pro Hac Vice, Matthew J. Murray. (Schwartz, Jonathan) Modified
                    on 7/18/2018 (sap). (Entered: 07/17/2018)

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07/17/2018   240    (WRONG PDF ATTACHED) Amicus Curiae APPEARANCE entered by
                    Jonathan Lee Schwartz on behalf of Common Cause. (Attachments: # 1 Brief
                    of Amicus Curiae, # 2 Affidavit of Matthew J. Murray, # 3 Affidavit of
                    Compliance With Standing Order)(Schwartz, Jonathan) Attorney Notified on
                    7/18/2018 to Refile Appearance with the Correct PDF (sap). (Entered:
                    07/17/2018)
07/17/2018   241    APPLICATION for Admission of Stephen P. Berzon Pro Hac Vice
                    (Application fee $ 150, receipt number 113E−8018428) by Common Cause,
                    National Election Defense Coalition, Protect Democracy. (Schwartz, Jonathan)
                    Filers Modified on 7/18/2018 (sap). (Entered: 07/17/2018)
07/17/2018   242    APPLICATION for Admission of Stacey M. Leyton Pro Hac Vice
                    (Application fee $ 150, receipt number 113E−8018433) by Common Cause,
                    National Election Defense Coalition, Protect Democracy. (Schwartz, Jonathan)
                    Filers Modified on 7/18/2018 (sap). (Entered: 07/17/2018)
07/17/2018   243    APPLICATION for Admission of Matthew J. Murray Pro Hac Vice
                    (Application fee $ 150, receipt number 113E−8018436) by Common Cause,
                    National Election Defense Coalition, Protect Democracy. (Schwartz, Jonathan)
                    Filers Modified on 7/18/2018 (sap). (Entered: 07/17/2018)
07/17/2018   244    RESPONSE in Opposition re 234 MOTION TO DISMISS FOR FAILURE TO
                    STATE A CLAIM filed by Coalition for Good Governance, Ricardo Davis,
                    Laura Digges, William Digges, III, Megan Missett. (McGuire, Robert)
                    (Entered: 07/17/2018)
07/17/2018   245    REPLY BRIEF re 230 MOTION for Order to Issue Subpoena filed by
                    Coalition for Good Governance, Ricardo Davis, Laura Digges, William
                    Digges, III, Megan Missett. (Brown, Bruce) Filers Modified on 7/18/2018
                    (sap). (Entered: 07/17/2018)
07/17/2018   246    MOTION for Leave to File Brief in Opposition to Defendants' 234 Motion to
                    Dismissby Common Cause, National Election Defense Coalition, Protect
                    Democracy. (Attachments: # 1 Brief of Amicus Curiae, # 2 Affidavit of
                    Matthew J. Murray, # 3 Affidavit of Compliance With Standing Order) (sap)
                    (Entered: 07/18/2018)
07/18/2018   247    Amicus Curiae APPEARANCE entered by Jonathan Lee Schwartz on behalf of
                    Common Cause, National Election Defense Coalition, Protect Democracy.
                    (Schwartz, Jonathan) (Entered: 07/18/2018)
07/18/2018          Submission of 230 MOTION for Order to Issue Subpoena to District Judge
                    Amy Totenberg. (sap) (Entered: 07/18/2018)
07/18/2018          Plaintiff's (Coalition for Good Governance) Documentary Exhibit 206 from the
                    Status Conference held on 5/10/18, was destroyed as directed in 214 Exhibit
                    Return Notification (mec) (Entered: 07/18/2018)
07/19/2018          RETURN of 242 APPLICATION for Admission of Stacey M. Leyton Pro Hac
                    Vice (Application fee $ 150, receipt number 113E−8018433) to attorney for
                    correction re: address. (pmb) (Entered: 07/19/2018)
07/19/2018          RETURN of 241 APPLICATION for Admission of Stephen P. Berzon Pro Hac
                    Vice (Application fee $ 150, receipt number 113E−8018428) to attorney for
                    correction re: address. (pmb) (Entered: 07/19/2018)
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07/19/2018          RETURN of 243 APPLICATION for Admission of Matthew J. Murray Pro
                    Hac Vice (Application fee $ 150, receipt number 113E−8018436) to attorney
                    for correction re: address. (pmb) (Entered: 07/19/2018)
07/19/2018   248    APPLICATION for Admission of Stacey M. Leyton Pro Hac Vice by Common
                    Cause, National Election Defense Coalition, Protect Democracy. (Schwartz,
                    Jonathan) (Entered: 07/19/2018)
07/19/2018   249    APPLICATION for Admission of Matthew J. Murray Pro Hac Vice by
                    Common Cause, National Election Defense Coalition, Protect Democracy.
                    (Schwartz, Jonathan) (Entered: 07/19/2018)
07/23/2018          APPROVAL by Clerks Office re: 248 APPLICATION for Admission of
                    Stacey M. Leyton Pro Hac Vice. Attorney Jonathan Lee Schwartz added
                    appearing on behalf of Common Cause (jkm) (Entered: 07/23/2018)
07/23/2018          APPROVAL by Clerks Office re: 249 APPLICATION for Admission of
                    Matthew J. Murray Pro Hac Vice. Attorney Jonathan Lee Schwartz added
                    appearing on behalf of Common Cause (jkm) (Entered: 07/23/2018)
07/24/2018   250    APPLICATION for Admission of Stephen P. Berzon Pro Hac Vice by
                    Common Cause, National Election Defense Coalition, Protect Democracy.
                    (Schwartz, Jonathan) (Entered: 07/24/2018)
07/24/2018   251    ORDER denying 230 Motion for Issuance of Subpoena. Instead, the Court
                    DIRECTS the DeKalb Board to continue sequestering the two DRE machines
                    at issue and all related equipment in a secure location and to refrain from using
                    the machines (or doing anything that could alter the data on the machines) until
                    the Court rules on the pending motions to dismiss and addresses the stay on
                    discovery. Signed by Judge Amy Totenberg on 7/24/18. (jpa) (Entered:
                    07/25/2018)
07/26/2018          APPROVAL by Clerks Office re: 250 APPLICATION for Admission of
                    Stephen P. Berzon Pro Hac Vice. Attorney Jonathan Lee Schwartz added
                    appearing on behalf of Protect Democracy (jkm) (Entered: 07/26/2018)
07/26/2018          Submission of 233 MOTION for Leave to File Excess Pages and 246
                    MOTION for Leave to File Brief in Opposition to Defendants' 234 Motion to
                    Dismiss to District Judge Amy Totenberg. (sap) (Entered: 07/26/2018)
07/27/2018   252    ORDER GRANTING NUNC PRO TUNC the State Defendants' 233 Motion
                    for Leave to File Excess Pages. Signed by Judge Amy Totenberg on 7/27/2018.
                    (sap) (Entered: 07/27/2018)
07/27/2018   253    ORDER GRANTING the Amicus Curiae 246 Motion for Leave to File Brief in
                    Opposition to Defendants' 234 Motion to Dismiss. The Amicus Curiae Brief
                    (Doc. 246−1) is hereby deemed filed as of the date of this Order. Signed by
                    Judge Amy Totenberg on 7/27/2018. (sap) (Entered: 07/27/2018)
07/31/2018   254    Request for Leave of Absence for the following date(s): August 29−30, 2018
                    and August 31−September 5, 2018 by Robert Alexander McGuire, III.
                    (McGuire, Robert) (Entered: 07/31/2018)
07/31/2018   255    ORDER GRANTING 248 Application for Admission of Stacey M. Leyton Pro
                    Hac Vice. Signed by Judge Amy Totenberg on 7/31/2018. (sap) (Entered:
                    07/31/2018)

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07/31/2018   256    ORDER GRANTING 249 Application for Admission of Matthew J. Murray
                    Pro Hac Vice. Signed by Judge Amy Totenberg on 7/31/2018. (sap) (Entered:
                    07/31/2018)
07/31/2018   257    ORDER GRANTING 250 Application for Admission of Stephen P. Berzon
                    Pro Hac Vice. Signed by Judge Amy Totenberg on 7/31/2018. (sap) (Entered:
                    07/31/2018)
08/03/2018   258    MOTION for Preliminary Injunction with Brief In Support by Coalition for
                    Good Governance. (Attachments: # 1 Brief Coalition Plaintiffs' Brief in
                    Support of Motion for Preliminary Injunction with Supporting Declarations, #
                    2 Text of Proposed Order Coalition Plaintiffs' Proposed Order Granting
                    Preliminary Injunction)(Brown, Bruce) (Entered: 08/03/2018)
08/07/2018   259    ORDER re 258 MOTION for Preliminary Injunction and 234 MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM. The Court DIRECTS
                    Defendants in their response brief to particularly focus on the public interest
                    factor i.e., the practical realities surrounding implementation of the requested
                    relief in the next one to three months. If the Coalition Plaintiffs file a reply
                    brief, the Court DIRECTS them to focus their brief accordingly as well.
                    Furthermore, the Court ORDERS Defendants to file their response no later
                    than August 14, 2018, and the Court ORDERS the Coalition Plaintiffs to file
                    their reply, if any, no later than August 20, 2018. Signed by Judge Amy
                    Totenberg on 8/7/18. (jpa) (Entered: 08/07/2018)
08/07/2018   260    MOTION for Preliminary Injunction with Brief In Support by Donna Curling,
                    Donna Price, Jeffrey Schoenberg. (Attachments: # 1 Brief, # 2 Declaration of J.
                    Alex Halderman, # 3 Declaration of Duncan A. Buell, # 4 Declaration of
                    Donna A. Curling, # 5 Declaration of Donna Price, # 6 Declaration of Jeffrey
                    H. E. Schoenberg, # 7 Text of Proposed Order)(Knapp, Halsey) (Entered:
                    08/08/2018)
08/08/2018   261    Consent MOTION for Order Scheduling Order by Donna Curling, Donna
                    Price, Jeffrey Schoenberg. (Attachments: # 1 Text of Proposed Order)(Knapp,
                    Halsey) (Entered: 08/08/2018)
08/10/2018   262    NOTICE Of Filing Declarations in Support of 258 Motion for Preliminary
                    Injunction, by Coalition for Good Governance. (Brown, Bruce) (Entered:
                    08/10/2018)
08/13/2018   263    ORDER granting 261 Motion for Scheduling Order. The Court ORDERS that
                    Defendants shall file their response(s) to the Curling Plaintiffs' Motion for
                    Preliminary Injunction (Dkt. No. 260) no later than August 14, 2018, and the
                    Curling Plaintiffs shall file any reply no later than August 20, 2018. Signed by
                    Judge Amy Totenberg on 8/13/18. (jpa) (Entered: 08/14/2018)
08/14/2018   264    MOTION for Leave to File Excess Pages by Seth Harp, Brian P. Kemp, Ralph
                    F. (Rusty) Simpson, State of Election Board, Rebecca N. Sullivan, David J.
                    Worley. (Attachments: # 1 Text of Proposed Order Prop Order)(Salter, John)
                    (Entered: 08/14/2018)
08/14/2018   265    RESPONSE re 258 MOTION for Preliminary Injunction , 260 MOTION for
                    Preliminary Injunction filed by Seth Harp, Brian P. Kemp, Ralph F. (Rusty)
                    Simpson, Rebecca N. Sullivan, The State Election Board, David J. Worley.
                    (Attachments: # 1 Exhibit Declaration of Merritt Beaver, # 2 Exhibit

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                    Declaration of Chris Harvey, # 3 Exhibit Declaration of Janine Eveler, # 4
                    Exhibit Declaration of Lynn Ledford, # 5 Exhibit Declaration of Nancy Boren,
                    # 6 Exhibit Declaration of Lynn Bailey)(Salter, John) (Entered: 08/14/2018)
08/14/2018   266    First MOTION for Leave to File Excess Pages by David J. Burge, Mary Carole
                    Cooney, Aaron Johnson, Stan Matarazzo, Vernetta Nuriddin, Mark Wingate.
                    (Lowman, David) (Entered: 08/14/2018)
08/14/2018   267    RESPONSE re 258 MOTION for Preliminary Injunction , 260 MOTION for
                    Preliminary Injunction filed by David J. Burge, Mary Carole Cooney, Aaron
                    Johnson, Stan Matarazzo, Vernetta Nuriddin, Mark Wingate. (Lowman, David)
                    (Entered: 08/14/2018)
08/14/2018   268    ORDER granting 264 Motion for Leave to File Excess Pages. Signed by Judge
                    Amy Totenberg on 8/14/18. (jpa) (Entered: 08/15/2018)
08/15/2018   269    ORDER GRANTING 266 Fulton County Defendants' Motion for Leave to File
                    Excess Pages from 25 pages and up to and including 30 pages. Signed by Judge
                    Amy Totenberg on 8/15/2018. (jtj) (Entered: 08/15/2018)
08/17/2018   270    MOTION for Oral Argument re 258 MOTION for Preliminary Injunction by
                    Coalition for Good Governance. (Brown, Bruce) (Entered: 08/17/2018)
08/20/2018   271    Amended MOTION for Preliminary Injunction by Donna Curling, Donna
                    Price, Jeffrey Schoenberg. (Attachments: # 1 Text of Proposed Order
                    (Amended))(Cross, David) (Entered: 08/20/2018)
08/20/2018   272    MOTION for Leave to File Reply Brief in Excess Pages re: 258 Motion for
                    Preliminary Injunction, by Coalition for Good Governance, Ricardo Davis,
                    Laura Digges, William Digges, III, Megan Missett. (Attachments: # 1 Text of
                    Proposed Order)(McGuire, Robert) (Entered: 08/20/2018)
08/20/2018   273    Unopposed MOTION for Leave to File Excess Pages by Donna Curling,
                    Donna Price, Jeffrey Schoenberg. (Attachments: # 1 Text of Proposed
                    Order)(Cross, David) (Entered: 08/20/2018)
08/20/2018          Submission of 273 Unopposed MOTION for Leave to File Excess Pages to
                    District Judge Amy Totenberg. (jtj) (Entered: 08/20/2018)
08/20/2018   274    ORDER GRANTING 272 Coalition Plaintiffs' Motion for Leave to File Excess
                    Pages for their reply brief to 258 Motion for Preliminary Injunction. Signed by
                    Judge Amy Totenberg on 8/20/2018. (jtj) (Entered: 08/20/2018)
08/20/2018   275    ORDER GRANTING 273 Curling Plaintiffs' Motion for Leave to File Excess
                    Pages for their reply brief to their Motion for Preliminary Injunction. Signed by
                    Judge Amy Totenberg on 8/20/2018. (jtj) (Entered: 08/20/2018)
08/20/2018   276    REPLY to Response to Motion re 260 MOTION for Preliminary Injunction ,
                    271 Amended MOTION for Preliminary Injunction filed by Donna Curling,
                    Donna Price, Jeffrey Schoenberg. (Attachments: # 1 Affidavit of Lonna Rae
                    Atkeson, # 2 Affidavit of Sara Henderson)(Cross, David) (Entered:
                    08/20/2018)
08/20/2018   277    REPLY BRIEF re 258 MOTION for Preliminary Injunction filed by Coalition
                    for Good Governance. (Brown, Bruce) (Entered: 08/20/2018)
08/21/2018
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                    Submission of 260 Curling's MOTION for Preliminary Injunction, 258
                    Coalition's MOTION for Preliminary Injunction to District Judge Amy
                    Totenberg. (jtj) (Entered: 08/21/2018)
08/27/2018   278    Notice for Leave of Absence for the following date(s): August 31, 2018
                    through September 5, 2018, September 13, 2018 through September 14, 2018,
                    September 27, 2018 through September 28, 2018, October 11, 2018 through
                    October 12, 2018, November 7, 2018, November 21, 2018, December 7, 2018
                    through December 10, 2018, and December 19, 2018 through January 4, 2019,
                    by Bennett Davis Bryan. (Bryan, Bennett) (Entered: 08/27/2018)
08/28/2018   279    ORDER that this Court will issue a memorandum decision with respect to this
                    determination in the coming two weeks. The Court will schedule a Hearing for
                    oral argument on the 258 and 260 motions for preliminary injunction on
                    9/17/2018 at 11:00 AM before Judge Amy Totenberg. Signed by Judge Amy
                    Totenberg on 8/28/18. (jpa) (Entered: 08/29/2018)
09/04/2018   280    ORDER − The Court moves the September 17, 2018 hearing to September 12,
                    2018 at 11:00 am. The Court has determined that it will proceed as follows at
                    the September 12, 2018 hearing: The Court will first hear oral argument on the
                    issues of immunity and any other asserted jurisdictional defenses. Each side
                    will be allocated 15 minutes for argument. Counsel are DIRECTED to confer
                    no later than Thursday, September 6, 2018 at 4:00 P.M. regarding what, if any,
                    witnesses they anticipate calling at the hearing and the projected time length of
                    each witnesss testimony, including direct examination and cross−examination.
                    They shall advise the Court by September 7, 2018 at 12:00 P.M. regarding the
                    results of their conference via submission of a joint filing on the record. Signed
                    by Judge Amy Totenberg on 9/04/2018. (See order for more details) (jtj)
                    (Entered: 09/04/2018)
09/05/2018   281    Notice of Revised Proposed Relief re 271 Amended MOTION for Preliminary
                    Injunction, by Donna Curling, Donna Price, Jeffrey Schoenberg. (Attachments:
                    # 1 Text of Proposed Order)(Cross, David) (Entered: 09/05/2018)
09/07/2018   282    Joint Notice of Parties in Advance of Hearing re 280 Order, by Coalition for
                    Good Governance. (Brown, Bruce) (Entered: 09/07/2018)
09/07/2018   283    Plaintiffs' Joint Supplemental Submission re 280 Order and 282 Notice, filed
                    by Coalition for Good Governance, Donna Curling, Ricardo Davis, Laura
                    Digges, William Digges, III, Megan Missett, Donna Price, Jeffrey Schoenberg.
                    (McGuire, Robert) (Entered: 09/07/2018)
09/07/2018   284    AFFIDAVIT of Service for Subpoena , as to Richard Barron. (Sparks, Adam)
                    (Entered: 09/07/2018)
09/07/2018          NOTICE: the hearing for oral argument on the 258 and 260 motions for
                    preliminary injunction will begin at 10:00 AM in Courtroom 2308.(acm)
                    (Entered: 09/07/2018)
09/09/2018   285    NOTICE Of Filing Second Declaration of Richard A. DeMillo Supporting re
                    258 MOTION for Preliminary Injunction by Coalition for Good Governance,
                    Ricardo Davis, Laura Digges, William Digges, III, Megan Missett
                    (Attachments: # 1 Affidavit)(McGuire, Robert) Modified on 9/10/2018 to edit
                    text (btql). (Entered: 09/09/2018)


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09/10/2018          NOTICE of Undeliverable Electronic Mail re: 285 Notice of Filing,. Mail
                    returned for Barclay Hendrix due to no longer employed with the firm.
                    Electronic notification has been turned off. (aar) (Entered: 09/10/2018)
09/10/2018   286    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom During
                    the September 12, 2018 Hearing by Donna Curling, Donna Price, Jeffrey
                    Schoenberg. (Attachments: # 1 Exhibit A − Proposed Order)(Cross, David)
                    (Entered: 09/10/2018)
09/10/2018   287    ORDER setting the revised schedule for the September 12, 2018 hearing. The
                    Court also notes that it has already rescheduled the hearing to begin at 10:00
                    A.M. on September 12, 2018 (instead of at 11:00 A.M. as originally
                    scheduled). Signed by Judge Amy Totenberg on 9/10/2018. (jtj) (Entered:
                    09/10/2018)
09/10/2018   288    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom by Seth
                    Harp, Brian P. Kemp, Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, The
                    State Election Board, David J. Worley. (Attachments: # 1 Text of Proposed
                    Order A: Proposed Order)(Salter, John) (Entered: 09/10/2018)
09/10/2018   289    Amended Motion to Bring Audio/Visual/Electronic Equipment in the
                    Courtroom During the September 12, 2018 Hearing by Donna Curling, Donna
                    Price, Jeffrey Schoenberg. (Attachments: # 1 Exhibit A − Proposed
                    Order)(Cross, David) (Entered: 09/10/2018)
09/10/2018   290    Motion to Bring Audio/Visual/Electronic Equipment in the Courtroom for
                    September 12 Hearing by Coalition for Good Governance, Ricardo Davis,
                    Laura Digges, William Digges, III, Megan Missett. (Attachments: # 1 Text of
                    Proposed Order)(McGuire, Robert) (Entered: 09/10/2018)
09/10/2018   291    ORDER GRANTING 289 Motion to Bring Audio/Visual/Electronic
                    Equipment in the Courtroom on 9/11/2018 and 9/12/2018. Counsel and
                    witnesses for the Curling Plaintiffs (David D. Cross, Jane P. Bentrott,
                    Catherine L. Chapple, Robert W. Manoso, and J. Alex Halderman) may bring
                    and use 5 laptop computers with laptop power cords, 1 tablet computer with
                    power cord, 6 smart phones with smartphone power cords, 2 USB drives, an
                    electronic voting machine with a stand and power cord, and a VGA cable in
                    conjunction with the hearing on Wednesday, September 12, 2018 before Judge
                    Amy Totenberg. Plaintiffs may also bring this equipment on Tuesday,
                    September 11, 2018 in order to test it prior to the hearing. The original motion
                    [Doc. 286] is DENIED AS MOOT. Signed by Judge Amy Totenberg on
                    9/10/2018.(jtj) (Entered: 09/10/2018)
09/10/2018   292    Amended Motion to Bring Audio/Visual/Electronic Equipment in the
                    Courtroom by Seth Harp, Brian P. Kemp, Ralph F. (Rusty) Simpson, State of
                    Election Board, Rebecca N. Sullivan, David J. Worley. (Attachments: # 1 Text
                    of Proposed Order A: Proposed Order)(Salter, John) (Entered: 09/10/2018)
09/10/2018   293    ORDER GRANTING 292 Motion to Bring Audio/Visual/Electronic
                    Equipment in the Courtroom on 9/11/2018 and 9/12/2018. Counsel and
                    witnesses for the State Defendants (John F. Salter and Roy E. Barnes) may
                    bring and use the equipment listed in this order. Signed by Judge Amy
                    Totenberg on 9/10/2018. (jtj) (Entered: 09/10/2018)
09/10/2018   294

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                    Amended Motion to Bring Audio/Visual/Electronic Equipment in the
                    Courtroom for September 12 Hearing by Coalition for Good Governance,
                    Ricardo Davis, Laura Digges, William Digges, III, Megan Missett.
                    (Attachments: # 1 Text of Proposed Order)(McGuire, Robert) (Entered:
                    09/10/2018)
09/11/2018   295    ORDER granting 294 Motion to Bring Audio/Visual/Electronic Equipment in
                    the Courtroom on 9/12/18 at 10:00 a.m. Signed by Judge Amy Totenberg on
                    9/11/18. (jpa) (Entered: 09/11/2018)
09/11/2018   296    NOTICE Of Filing Declarations of Stark, Cannell, Clark, Duford and Martin re
                    258 MOTION for Preliminary Injunction, by Coalition for Good Governance,
                    William Digges III, Laura Digges, Megan Missett, and Ricardo Davis. (Brown,
                    Bruce) (Entered: 09/11/2018)
09/12/2018   298    Minute Entry for proceedings held before Judge Amy Totenberg: The Court
                    heard argument from the parties on the issues of immunity, standing, res
                    judicata, and collateral estoppel. The Court deferred ruling on the issues of res
                    judicata and collateral estoppel. A written order on these issues will be
                    forthcoming at the end of this week or beginning of next week. The Court ruled
                    that the parties had standing and that Plaintiffs' federal claims were not barred
                    by the 11th Amendment. The Court heard opening arguments on Plaintiffs'
                    motions for preliminary injunction. The Curling Plaintiffs called Alex
                    Halderman to the stand. The witness was sworn and testified with cross−exam
                    by the State and Fulton County Defendants. The Court accepted Halderman as
                    an expert computer science engineer with a background in voting technology.
                    A lunch recess was had. Court resumed. The Coalition Plaintiffs called Richard
                    DeMillo to the stand. The witness was sworn and testified with cross−exam
                    from the State Defendants, redirect by Plaintiffs, and questioning from the
                    Court. The Curling Plaintiffs called Chris Harvey to the stand. The witness was
                    sworn and testified with cross−exam by the State Defendants, redirect by
                    Plaintiffs, and questioning from the Court. State Defendants called Michael
                    Barnes to the stand. The witness was sworn and testified with cross−exam from
                    Plaintiffs, and redirect from State Defendants. The Fulton County Defendants
                    called Cecilia Houston−Torrence to the stand. The witness was sworn and
                    testified with cross−exam by the Coalition Plaintiffs. The Fulton County
                    Defendants called Richard Barron to the stand. The witness was sworn and
                    testified with cross−exam by Plaintiffs and redirect by the Fulton County
                    Defendants. State Defendants call Cathy Cox to the stand. The witness was
                    sworn and testified with cross−exam by Plaintiffs. By 1:00 PM on Thursday,
                    September 13, 2018, the State Defendants are to file an affidavit from Rebecca
                    Sullivan; the Plaintiffs may file a response by 5:00 PM on Thursday,
                    September 13, 2018. The parties may file a 1 page closing statement. Plaintiffs'
                    Exhibits 1−6, 8, 9, 10 admitted. The Court reserved ruling on the admission of
                    Plaintiffs' Exhibit 7 pending further submission re authenticity from the State
                    Defendants. State Defendants' Exhibits 1−2 admitted. (Court Reporter Shannon
                    Welch)(ddm) (Additional attachment(s) added on 9/17/2018: # 1 Amended
                    Minute Sheet) (acm). Modified on 9/17/2018 to attach amended minute sheet
                    and correct text re admitted exhibits to reflect admission as noted on amended
                    minute sheet (acm). (Entered: 09/13/2018)
09/13/2018   297    NOTICE Of Filing Declaration of Rebecca Sullivan and Response to Plaintiffs'
                    Ex. 7 by Seth Harp, Brian P. Kemp, Ralph F. (Rusty) Simpson, Rebecca N.

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                       Sullivan, The State Election Board, David J. Worley (Attachments: # 1 Exhibit
                       Declaration of Rebecca N. Sullivan)(Salter, John) (Entered: 09/13/2018)
09/13/2018   299       RESPONSE re 297 Notice of Filing, to Declaration of R. Sullivan filed by
                       Coalition for Good Governance. (Brown, Bruce) (Entered: 09/13/2018)
09/13/2018   300       MOTION for Leave to File Excess Pages by Donna Curling, Donna Price,
                       Jeffrey Schoenberg. (Attachments: # 1 Text of Proposed Order)(Cross, David)
                       (Entered: 09/13/2018)
09/13/2018   301       TRIAL BRIEF Post−Hearing Statement and Response to Declaration of
                       Rebecca Sullivan by Donna Curling, Donna Price, Jeffrey Schoenberg. (Cross,
                       David) (Entered: 09/13/2018)
09/13/2018   302       TRIAL BRIEF CLOSING STATEMENT by Coalition for Good Governance.
                       (Brown, Bruce) (Entered: 09/13/2018)
09/13/2018   303       TRIAL BRIEF FULTON COUNTY DEFENDANTS CLOSING STATEMENT
                       by David J. Burge, Mary Carole Cooney, Vernetta Nuriddin. (Lowman, David)
                       (Entered: 09/13/2018)
09/13/2018   304       MOTION for Leave to File Declaration of Candice Hoke with Brief In Support
                       by Common Cause, National Election Defense Coalition. (Attachments: # 1
                       Affidavit of Candice Hoke)(Schwartz, Jonathan) (Entered: 09/13/2018)
09/14/2018   305       TRIAL BRIEF Closing Statement by Seth Harp, Brian P. Kemp, Ralph F.
                       (Rusty) Simpson, Rebecca N. Sullivan, The State Election Board, David J.
                       Worley. (Salter, John) (Entered: 09/14/2018)
09/14/2018   306       TRIAL BRIEF Amended Closing Statement by Seth Harp, Brian P. Kemp,
                       Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, The State Election Board,
                       David J. Worley. (Salter, John) (Entered: 09/14/2018)
09/17/2018   307       TRANSCRIPT of Evidentiary Hearing Proceedings held on 9/12/2018, before
                       Judge Amy Totenberg. Court Reporter/Transcriber Shannon R. Welch, RMR,
                       CRR, Telephone number 404−215−1383. Transcript may be viewed at the
                       court public terminal or purchased through the Court Reporter/Transcriber
                       before the deadline for Release of Transcript Restriction. After that date it may
                       be obtained through PACER. Redaction Request due 10/9/2018. Redacted
                       Transcript Deadline set for 10/18/2018. Release of Transcript Restriction set
                       for 12/17/2018. (Attachments: # 1 Notice of Filing Transcript) (srw) (Entered:
                       09/17/2018)
09/17/2018   308       ORDER on miscellaneous matters regarding the hearing held on September 12,
                       2018. Plaintiffs' Exhibit 7 from the hearing is admitted. The Curling Plaintiffs'
                       300 Motion for Excess Pages for Post−Hearing Statement and Response to
                       Declaration of Rebecca Sullivan is GRANTED. Plaintiffs may file a 17−page
                       post−hearing statement and response to the declaration of Rebecca Sullivan.
                       Amici Curiae Common Cause and National Election Defense Coalition's 304
                       Motion for Leave to File Declaration of Candice Hoke in Support of Plaintiffs'
                       Motions for Preliminary Injunction is GRANTED. Signed by Judge Amy
                       Totenberg on 9/17/2018. (acm) (Entered: 09/17/2018)
09/17/2018   309   60 ORDER DENYING IN PART Defendants' 82 , 83 , and 234 Motions to
                      Dismiss and DENYING Plaintiffs' 258 , 260 , and 271 Motions for Preliminary
                      Injunction. See order for details. Signed by Judge Amy Totenberg on
                                                                                                           58
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                        9/17/2018. (acm) (Entered: 09/17/2018)
09/18/2018   310   106 NOTICE OF APPEAL as to 309 Order, Terminate Motions by Seth Harp,
                       Brian P. Kemp, Ralph F. (Rusty) Simpson, Rebecca N. Sullivan, The State
                       Election Board, David J. Worley. Filing fee $ 505, receipt number
                       113E−8153375. Transcript Order Form due on 10/2/2018 (Salter, John)
                       (Entered: 09/18/2018)
09/18/2018   311   110 NOTICE Of Filing NOA Transmittal Letter re: 310 Notice of Appeal. (pjm)
                       (Entered: 09/18/2018)




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


DONNA CURLING, et al.,                          :
                                                :
                                                :
       Plaintiffs,                              :
                                                :
v.                                              :           CIVIL ACTION NO.
                                                :           1:17-CV-2989-AT
BRIAN KEMP, et al.,                             :
                                                :
                                                :
       Defendants.                              :


                                           ORDER

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 I.   Introduction

      This case involves colliding election and voting rights dynamics and

dilemmas. The State of Georgia Defendants have delayed in grappling with the

heightened critical cybersecurity issues of our era posed for the State’s dated,

vulnerable voting system that provides no independent paper audit trail. The

Plaintiffs did not bring their preliminary injunction motions in a sufficient time

span to allow for thoughtful, though expedited, remedial relief, despite the

important, substantive content of their evidentiary submissions in connection with

their preliminary injunction motions. There are no easy answers to the conflicts

posed here. In a democracy, citizens want to be assured of the integrity of the

voting process, that their ballots are properly counted and not diluted by

inaccurate or manipulated counting, and that the privacy of their votes and

personal information required for voter registration is maintained. But citizens

also depend on the orderly operation of the electoral and voting process. Last-

minute, wholesale changes in the voting process operating in over 2,600 precincts,

along with scheduled early voting arrangements, could predictably run the voting

process and voter participation amuck. Transparency and accountability are, at

the very least, essential to addressing the significant issues that underlie this case.

      Currently before the Court in this matter are Defendants’ motions to dismiss

[Docs. 82, 83, 234] and Plaintiffs’ more recently filed motions for preliminary

injunction [Docs. 258, 260, 271]. Given the time sensitivity of Plaintiffs’ motions

with respect to the upcoming November 2018 elections, the Court held an extended


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full-day hearing on Plaintiffs’ motions on September 12, 2018 as well as the

threshold jurisdictional issues of standing and Eleventh Amendment immunity

raised in Defendants’ motions to dismiss.1 The Court, out of an abundance of

caution, addressed the issues of standing and Eleventh Amendment immunity first

and determined whether it could properly exercise jurisdiction over this case

before considering Plaintiffs’ request for emergency injunctive relief. After hearing

argument on these issues, the Court announced orally its determination that it

could properly exercise jurisdiction for purposes of proceeding with the hearing on

Plaintiffs’ preliminary injunction motions. The Court further announced that a

written order would follow setting forth more specifically the basis for this finding.

Accordingly, this Order addresses issues of standing and Eleventh Amendment

immunity as well as Plaintiffs’ motions for preliminary injunction.




1 Defendants’ motions to dismiss also raise other non-jurisdictional arguments that Plaintiffs have

failed to state viable claims for relief and that their claims are barred by res judicata and collateral
estoppel. The Court notes that only Fulton County Defendants move to dismiss based on
collateral estoppel; the State Defendants do not move on this basis. With respect to res judicata
and collateral estoppel in particular, Plaintiffs have effectively argued at this stage that their
current claims are not barred. Moreover, even if a few Plaintiffs were deemed estopped, it appears
that at least some Plaintiffs would still proceed with their claims. The Court will more fully
address these and all other issues raised in Defendants’ motions to dismiss in a separate,
subsequent order.

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II.    Background2

       In their complaints, their motions for preliminary injunction, and their

presentations during the September 12th hearing, Plaintiffs 3 paint an unsettling

picture of the vulnerabilities of Georgia’s voting system along with the recent,

increased, and real threats of malicious intrusion and manipulation of the system

and voter data by nation states and cyber savvy individuals.

       Plaintiffs start by describing Georgia’s voting system. The system relies on

the use of Direct Recording Electronic voting machines (“DREs”) for electors to

cast their votes in public elections. This computer voting equipment is used in

tandem with the State’s Global Election Management Systems (“GEMS”) server

and County GEMS servers that communicate voting data.4 DRE touchscreen

computer voting machines are located at polling stations in every precinct during

elections and are otherwise stored in various county facilities throughout the state.

Electors use DRE machines if they are voting early and in-person with absentee

ballots or if they are voting in-person on election day. “The voting machines are




2 This section provides a brief factual summary based on the allegations in the Curling Plaintiffs’

Second Amended Complaint (Doc. 70), the Coalition Plaintiffs’ Third Amended Complaint (Doc.
226), the Curling Plaintiffs’ Motion for Preliminary Injunction (Doc. 260), the Coalition Plaintiffs’
Motion for Preliminary Injunction (Doc. 258), information presented during the September 12,
2018 hearing, and supplemental affidavits as well as Defendants’ responses to Plaintiffs’ filings.
3 There are two sets of Plaintiffs in this case represented by separate counsel. Donna Curling,

Donna Price, and Jeffrey Schoenberg are referred to as the “Curling Plaintiffs.” The Coalition for
Good Governance (“CGG”), Laura Digges, William Digges III, Ricardo Davis, and Megan Missett
are referred to as the “Coalition Plaintiffs.”
4 A related software program is used to create the ExpressPoll pollbooks providing confidential

voter identification information by precinct. Poll workers access this data by computer to verify
voter registration and to create the DRE Voter Access Card that activates the specific electronic
ballot on the DRE machine that should be linked to the voter’s address.

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computers with reprogrammable software.” (Halderman Affidavit, Doc. 260-2 ¶

16.) The DRE machines record votes electronically on a removable memory card,

and each card is later fed into the county GEMS server to tabulate the vote totals

by candidate and the results of other ballot questions. When the polls have closed,

poll workers prompt the DRE machines to internally tally the electronic total

number of votes and print a paper tape of the vote totals per machine.

       Most significantly, the DREs do not create a paper trail or any other means

by which to independently verify or audit the recording of each elector’s vote. i.e.,

the actual ballot selections made by the elector for either the elector’s review or for

audit purposes.       Instead, at the hearing, Dr. Alex Halderman, a Professor of

Computer Science and Engineering and Director of the Center for Computer

Security and Society at the University of Michigan in Ann Arbor, discussed and

demonstrated how a malware virus can be introduced into the DRE machine by

insertion of an infected memory card (or by other sources) and alter the votes cast

without detection.5 Dr. Halderman gave a live demonstration in Court with a

Diebold DRE using the same type of equipment and software as that used in

Georgia. The demonstration showed that although the same total number of votes

were cast, the contaminated memory card’s malware changed the actual votes cast

between candidates. There was no means of detection of this as the “malware

modified all of the vote records, audit logs, and protective counters stored by the



5 Dr. Halderman’s affidavit provides additional detail and context related to his testimony.   (Doc.
260-2.)

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machine, so that even careful forensic examination of the files would find nothing

amiss.” (Halderman Affidavit, Doc. 260-2 ¶ 19.) The DRE machine’s paper tape

simply confirmed the same total number of votes, including the results of the

manipulated or altered votes. Viruses and malware have also been developed by

cyber specialists that can spread the “vote stealing malware automatically and

silently from machine to machine during normal pre- and post-election activities,”

as the cards are used to interface with the County and State GEMS servers. (Id. ¶

20.)

       Other cybersecurity elections experts have shared in Professor Halderman’s

observations of the data manipulation and detection concealment capacity of such

malware or viruses, as well as the ability to access the voting system via a variety

of entry points. Plaintiffs filed affidavits in the record for several of these experts.6

Professor Wenke Lee (Professor of Computer Science at Georgia Tech and a

member of a new study commission convened by the Secretary of State) also

prepared a PowerPoint presentation summary on the topic for the Commission

that identified this malware detection and manipulation capacity. (Pl. Ex 5,

Preliminary Injunction Hearing.) Professor Halderman’s analysis of the severe

limitations of the “logic and accuracy” and “parallel testing” auditing processes

used by Georgia to test ballot counting are summarized in his affidavit and will be



6 See DeMillo Affidavit, Doc. 277, Ex. C; Buell Affidavit, Doc. 260-3; Stark Affidavit, Doc. 296-1;

Bernhard Affidavit, Doc. 258-1 at 33-42. Professor DeMillo, who also testified at the hearing, is
the Chair of Computer Science at Georgia Tech and has served as Dean of the College of
Computing at Georgia Tech and as Director of the Georgia Tech Center for Information Security.

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discussed later. (Doc. 260-2 at ¶¶ 37-48.) Suffice it to say, at this juncture, that

national- and state-commissioned research-based studies by cybersecurity

computer scientists and elections experts consistently indicate that an

independent record of an elector’s physical ballot is essential as a reliable audit

confirmation tool.

       The DREs record individual ballot data in the order in which they are cast,

and they assign a unique serial number and timestamp to each ballot. This design

for recording ballots, according to Plaintiffs, makes it possible to match the ballots

to the electors who cast them. Additionally, the Georgia DREs use versions of

Windows and BallotStation (developed in 2005) software, both of which are out of

date – to the point that the makers of the software no longer support these versions

or provide security patches for them. (Halderman Affidavit, Doc. 260-2 ¶¶ 24-28.)

The DRE machines and related election software are all the product of Premier

Election Solutions, formerly known as Diebold Election Systems. A large volume

of the voting machines were purchased when the DRE initiative was first

implemented in the 2002 to 2004 period in Georgia.

       Statewide, Georgia uses its central GEMS server at the Secretary of State's

offices to build the ballots for each election for each county. 7 The central GEMS

server communicates the election programming and other files onto the memory

cards before an election. From 2002 to December 2017, the Secretary of State


7 The ballot software also programs the location of candidates and other ballot options on the

touchscreens of the DRE machines. Ballot adaptations, thus, are created for 159 counties and
their over 2,600 precincts.

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contracted with Kennesaw State University to maintain the central server for the

State at a unit in the University called the Center for Election Services (“CES”).

Plaintiffs allege that the central server was accessible via the internet for a time –

at least between August 2016 and March 2017.

      In August 2016, Logan Lamb, a professional cybersecurity expert in Georgia,

went to CES’s public website and discovered that he was able to access key election

system files, including multiple gigabytes of data and thousands of files with

private elector information. The information included electors’ driver’s license

numbers, birth dates, full home addresses, the last four digits of their Social

Security numbers, and more. Mr. Lamb was also able to access, for at least 15

counties, the election management databases from the GEMS central tabulator

used to create ballot definitions, program memory cards, and tally and store and

report all votes. He also was able to access passwords for polling place supervisors

to operate the DREs and make administrative corrections to the DREs.

Immediately, Mr. Lamb alerted Merle King, the Executive Director overseeing

CES, of the system’s vulnerabilities. The State did not take any remedial action

after Mr. King was alerted.

      In February 2017, a cybersecurity colleague of Mr. Lamb’s, Chris Grayson,

was able to repeat what Mr. Lamb had done earlier and access key election

information. Mr. Lamb also found, around this time, that he could still access and

download the information as he had before. On March 1, 2017, Mr. Grayson

notified a colleague at Kennesaw State University about the system’s


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vulnerabilities, and this led to notification of Mr. King again. Days later, the FBI

was alerted and took possession of the CES server.

       The Secretary of State has since shut down the CES and moved the central

server internally within the Secretary’s office. But on July 7, 2017, four days after

this lawsuit was originally filed in Fulton Superior Court, all data on the hard drives

of the University’s “elections.kennesaw.edu” server was destroyed. And on August

9, 2017, less than a day after this action was removed to this Court, all data on the

hard drives of a secondary server – which contained similar information to the

“elections.kennesaw.edu” server – was also destroyed. As discussed more fully

later in this Order, the State offered little more than a one-sentence response to

these data system incursions and vulnerabilities at CES.

       The Premier/Diebold voting machine models at issue have been the subject

of comprehensive critical review both by university computer engineer security

experts independently as well as under the auspices of the States of Maryland,

California, and Ohio. These studies identified serious security vulnerabilities in

the software and resulted in the three states’ adoption of different voting systems.

(Halderman Affidavit, Doc. 260-2 ¶¶ 17-23; see also Atkeson Affidavit, Doc. 276-1

¶¶ 8-9 (also discussing the states of New Mexico and Virginia transitioning away

from DREs after identifying several issues with the machines).)8


8 By contrast, the Secretary of State certified in April 2018 the accuracy and safety of the Georgia

DRE system. This certification was based on a pre-announced examination of voting facilities
and the conducting of a tiny mock election in several Georgia counties on November 27-29, 2017
by a combination of staff from the Secretary of State’s Office and the Center for Election Services
at Kennesaw State University. (Def. Ex. 2 from Preliminary Injunction Hearing.) No

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        Plaintiffs point to several national authorities which, in the last year, have

raised the alarm about U.S. election security – and particularly about the use of

DREs in elections.          For instance, in March 2018, the Secretary of the U.S.

Department of Homeland Security (DHS) declared DRE voting systems to be a

“national security concern,” (Coalition Complaint, Doc. 258-1 at 10 n. 3) –

approximately 14 months after the Department declared election systems to be

“critical infrastructure” pursuant to 42 U.S.C. § 5195c.9 (U.S. Department of

Homeland        Security, “DHS           Cybersecurity Services            Catalog for        Election

Infrastructure,” at 3.)10 In May 2018, the Senate Select Committee on Intelligence

concluded that DREs are “at highest risk of security flaws” and that states “should

rapidly replace outdated and vulnerable voting systems” with systems that have a

verified paper trail. (Id. at 11 n. 5.) And on September 6, 2018, after it was

commissioned to consider the future of voting in the United States, the National

Academies of Sciences, Engineering, and Medicine11 and associated National



cybersecurity experts or computer engineering scientists are listed as participants in this review.
There is no indication in the description of the examination that any effort was made to go beyond
a simple running of the equipment and observation of election procedures to reach this
determination. In other words, there is no indication that any effort was made to evaluate the
trove of software and data security and accuracy issues identified in studies performed on behalf
of other states or by cybersecurity and computer engineers in the field.
9 Critical infrastructure is defined as “systems and assets, whether physical or virtual, so vital to

the United States that the incapacity or destruction of such systems and assets would have a
debilitating impact on security, national economic security, national public health or safety, or
any combination of those matters.” Section 5195c(b) of the Critical Infrastructures Protection Act
makes clear that information systems and their interdependence constitute a central concern of
Congress.
10 See https://www.eac.gov/assets/1/6/DHS_Cybersecurity_Services_Catalog_for_Election_Infrastructure.pdf.
11 Congress established the National Academies of Sciences, Engineering, and Medicine in 1863

as an independent body, which has the obligation to provide scientific and technical advice to any
department of the Government upon request and without compensation.                                   See

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Research Council (“NAS”) issued a consensus report about the need to secure and

improve state and local election systems.12 The report, titled “Securing the Vote:

Protecting American Democracy,” made a number of recommendations, including

that “[e]very effort should be made to use human-readable paper ballots in the

2018 federal election.” (Doc. 285-1 at 35.) The report further recommended that

voting machines that do not produce paper audit trails for each elector’s vote

“should be removed from service as soon as possible” and that each state “should

require a comprehensive system of post-election audits of processes and

outcomes.” (Id. at 35-36.)

       Similarly, the Board of Advisors of the U.S. Elections Assistance

Commission (EAC) passed a resolution in 2018 recommending that the EAC “not

certify any system that does not use voter-verifiable paper as the official record of

voter intent.”13

       Dr. Wenke Lee, Professor of Computer Science at Georgia Tech University

and Co-Executive Director of the Institute for Information Security – the sole

computer scientist appointed to the Secretary of State’s new Secure Accessible Fair

Elections (“SAFE”) Commission – has echoed these same paper ballot and audit



http://www.nasonline.org/about-nas/leadership/governing-documents/act-of-
incorporation.html.
12 As noted by Professor Richard A. DeMillo in his supplemental affidavit, “a consensus report of

the NAS . . . represents the highest authority that the U.S. Government can rely upon when it seeks
to be advised on matters of science, technology and engineering.” (Doc. 285-1 ¶ 9.)
13 See discussion of EAC action and audit outcome issues in the affidavit of Philip B. Stark,

Professor of Statistics and Associate Dean of Mathematical and Physical Sciences and faculty
member in Graduate Program in Computational Data Science and Engineering at University of
California, Berkeley. (Doc. 296 ¶¶ 20-25.)

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verification recommendations in his August 30, 2018 presentation on

cybertechnology to the Commission. He has also stressed the essential need for

installation on an ongoing basis of new hardware and software components

designed to provide security protection to ensure voting system security. (Pl. Ex.

5, Preliminary Injunction Hearing.)

       In the midst of the events involving the breach of the CES at Kennesaw State

University, Plaintiffs filed the current case against Defendants14 in August 2017.

Plaintiffs essentially claim that the DRE voting system in Georgia is unsecure, is

unverifiable, and compromises the privacy and accuracy of their votes, and

therefore they claim that Defendants’ continued use of the DRE system violates

their constitutional rights. A brief overview of the particular claims brought by

each set of Plaintiffs is instructive here.

       The Coalition Plaintiffs bring two federal claims in their Third Amended

Complaint:

       (1) a 42 U.S.C. § 1983 claim for violation of the Fourteenth Amendment’s

guarantee of due process, based on the substantial burden placed on their

fundamental right to vote; and




14 Defendants are largely classified in two groups: (1) the “State Defendants,” which include Brian

Kemp in his official capacity, the State Election Board, and members of the State Election Board
(David J. Worley, Rebecca N. Sullivan, Ralph F. Simpson, and Seth Harp) in their official
capacities; and (2) the “Fulton County Defendants,” which include Richard Barron in his official
capacity, the Fulton County Board of Registration and Elections, and members of the Fulton
County Board of Registration and Elections (Mary Carole Cooney, Vernetta Nuriddin, David J.
Burge, and Aaron Johnson) in their official capacities.

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       (2) a 42 U.S.C. § 1983 claim for violation of the Fourteenth Amendment’s

guarantee of equal protection, based on the more severe burdens placed on the

Plaintiffs’ right to vote, right to freedom of speech and association, and the Georgia

constitutional right to a secret ballot15 as a result of Plaintiffs choosing to vote by

DRE relative to other similarly situated electors choosing to vote another way.

       For each of these claims, the Coalition Plaintiffs seek declaratory and

injunctive relief against Brian P. Kemp in his official capacity as the Secretary of

State of Georgia and as Chairperson of the State Election Board; the members of

the State Election Board (David J. Worley, Rebecca N. Sullivan, Ralph F. “Rusty”

Simpson, and Seth Harp) in their official capacities; and the members of the Fulton

County Board of Registration and Elections (Mary Carole Cooney, Vernetta

Nuriddin, David J. Burge, Stan Matarazzo, and Aaron Johnson) in their official

capacities. The Coalition Plaintiffs’ Third Amended Complaint seeks a range of

relief that is broader than their Motion for Preliminary Injunction now before the

Court. Specifically, the Coalition Plaintiffs’ Third Amended Complaint seeks the

following:

       • A court order declaring it unconstitutional to conduct public elections

           using any DRE model,




15 The Coalition Plaintiffs clarify, in their Response to the State Defendants’ Motion to Dismiss,

that they are not bringing a state-law claim for violation of the Georgia Constitution. They are
instead bringing a federal § 1983 claim based on unequal enforcement of state law.

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       • An injunction enjoining Defendants from enforcing O.C.G.A. § 21-2-

           383(b)16 and Georgia State Election Board Rule 183–1–12–.0117 and from

           requiring voters to cast votes using DREs,

       • An injunction prohibiting Defendants from conducting public elections

           with optical scanned paper ballots without also requiring post-election

           audits of paper ballots to verify the results, and

       • An injunction prohibiting Defendants from conducting public elections

           without also requiring subordinate election officials to allow meaningful

           public observation of all stages of election processing.

       The Curling Plaintiffs bring essentially the same two constitutional claims as

those brought by the Coalition Plaintiffs.             As a slight variation, the Curling

Plaintiffs bring their constitutional claims against the Defendants listed above as

well as one additional defendant: Richard Barron in his official capacity as the

Director of the Fulton County Board of Registration and Elections. The Curling




16 “Notwithstanding any other provision of this Code section, in jurisdictions in which direct

recording electronic (DRE) voting systems are used at the polling places on election day, such
direct recording electronic (DRE) voting systems shall be used for casting absentee ballots in
person at a registrar’s or absentee ballot clerk’s office or in accordance with Code Section 21-2-
382, providing for additional sites.” O.C.G.A. § 21-2-383(b).
17 “Beginning with the November 2002 General Election, all federal, state, and county general

primaries and elections, special primaries and elections, and referendums in the State of Georgia
shall be conducted at the polls through the use of direct recording electronic (DRE) voting units
supplied by the Secretary of State or purchased by the counties with the authorization of the
Secretary of State. In addition, absentee balloting shall be conducted through the use of optical
scan ballots which shall be tabulated on optical scan vote tabulation systems furnished by the
Secretary of State or purchased by the counties with the authorization of the Secretary of State;
provided, however, that the use of direct recording electronic (DRE) voting units is authorized by
the Secretary of State for persons desiring to vote by absentee ballot in person.” Ga. Comp. R. &
Regs. r. 183–1–12–.01.

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Plaintiffs also seek somewhat varied relief for these claims in their Second

Amended Complaint:

       • A court order declaring that Defendants violated the Fourteenth

           Amendment, and

       • An injunction prohibiting Defendants from using DREs or other voting

           equipment that fails to satisfy state requirements.18

       As stated above, both sets of Plaintiffs seek more limited and immediate

relief in their motions for preliminary injunction. The Curling Plaintiffs ask the

Court to order the following relief prior to the November 2018 general election: (1)

enjoin the State Defendants to direct all counties that the use of DREs in the

November 2018 election (and the December 2018 runoff election) is prohibited,

with the exception for electors with disabilities; (2) enjoin the State Defendants to

direct all counties to conduct elections using paper ballots; and (3) require the

State Defendants to promulgate rules requiring and specifying appropriate

procedures for conducting manual audits of election results.                       Similarly, the

Coalition Plaintiffs ask the Court to: (1) prohibit Defendants from conducting the

November 2018 election (and the December 2018 runoff election) with DRE




18 Additionally, the Curling Plaintiffs bring a state-law claim under O.C.G.A. § 9-6-20 for a writ of

mandamus ordering Defendants to discontinue the use of DRE machines and to either use (a) an
optical scanning voting system or (b) hand-counted paper ballots. The Curling Plaintiffs seek a
writ of mandamus against the following Defendants: the members of the State Election Board in
their official capacities; the State Election Board; Richard Barron in his official capacity as the
Director of the Fulton County Board of Registration and Elections; the members of the Fulton
County Board of Registration and Elections in their official capacities; and the Fulton County
Board of Registration and Elections.

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machines for in-person voting; (2) order Defendants to conduct such elections

using paper ballots, as permitted by Georgia law, with certain exceptions made for

persons with disabilities; (3) order the State Election Board Members to

promulgate rules requiring and specifying appropriate procedures for conducting

manual audits of election results; and (4) order the Secretary of State, before

October 1, 2018, to audit and correct any identified errors in the DRE system’s

electronic pollbook data that will be used in both such elections.

       The Court now turns to the jurisdictional issues raised in Defendants’

motion to dismiss before addressing the Plaintiffs’ motions for preliminary

injunction.

III.   Threshold Jurisdictional Issues

          A. Standing

       The State Defendants argue that both the Curling Plaintiffs and the Coalition

Plaintiffs lack standing to bring their claims in federal court. According to the State

Defendants, Plaintiffs fail to establish each of the three elements required for

standing. The Fulton County Defendants’ Motion to Dismiss incorporates by

reference the State Defendants’ arguments on standing. (See Fulton Mot. to

Dismiss, Doc. 82-1 at 5.)

       The Supreme Court has set forth the standard for determining whether a

party has standing:

       It is by now well settled that the irreducible constitutional minimum
       of standing contains three elements. First, the plaintiff must have
       suffered an injury in fact—an invasion of a legally protected interest


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      that is (a) concrete and particularized, and (b) actual or imminent, not
      conjectural or hypothetical. Second, there must be a causal connection
      between the injury and the conduct complained of. . . . Third, it must
      be likely, as opposed to merely speculative, that the injury will be
      redressed by a favorable decision.

United States v. Hays, 515 U.S. 737, 742–43 (1995) (quoting Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560–561 (1992)) (internal quotation marks omitted).

“[A] plaintiff must demonstrate standing for each claim he seeks to press and for

each form of relief that is sought.” Town of Chester, N.Y. v. Laroe Estates, Inc.,

137 S. Ct. 1645, 1650 (2017) (quoting Davis v. Federal Election Comm’n, 554 U.S.

724, 734 (2008)).

      As to the first element, Defendants contend that Plaintiffs have not

sufficiently alleged a concrete “injury in fact.” Defendants argue that Plaintiffs’

allegations that the DRE voting machines are vulnerable to hacking and are

“presumed to be compromised” convey only a speculative, generalized fear, thus

falling short of establishing a concrete injury.

      These arguments are unavailing. For one, Plaintiffs have alleged that the

DRE voting system was actually accessed or hacked multiple times already – albeit

by cybersecurity experts who reported the system’s vulnerabilities to state

authorities, as opposed to someone with nefarious purposes. (Curling Complaint,

Doc. 70 ¶¶ 42-43, 45-49; Coalition Complaint, Doc. 226 ¶¶ 95-106.) Contrary to

Defendants’ characterizations, Plaintiffs’ allegations are not premised on a




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theoretical notion or “unfounded fear”19 of the hypothetical “possibility” that

Georgia’s voting system might be hacked or improperly accessed and used.

Plaintiffs allege that harm has in fact occurred, specifically to their fundamental

right to participate in an election process that accurately and reliably records their

votes and protects the privacy of their votes and personal information. (Curling

Complaint, Doc. 70 ¶ 14 (“Curling also chose to exercise her right to cast her vote

using a verifiable paper ballot in the Runoff, so as to ensure that her vote would be

permanently recorded on an independent record. To do so, Curling persisted

through considerable inconvenience – only to be incorrectly told by Defendants

Kemp and the Fulton County Board of Registration and Elections that she had not,

in fact, cast a ballot, creating irreparable harm that her ballot was not counted.”);

¶ 16 (Donna Price “cast her vote on a DRE in the 2016 General Election,” and

“[w]ithout the intervention of this Court, Price will be compelled to choose between

relinquishing her right to vote and acquiescing to cast her vote under a system that

violates her right to vote in absolute secrecy and have her vote accurately

counted”); ¶ 38 (“DREs produce neither a paper trail nor any other means by which

the records of votes cast can be audited.”); ¶¶ 42-43 (“Lamb was able to access key

components of Georgia’s electronic election infrastructure . . . . In accessing these

election system files, Lamb found a startling amount of private information,”

including driver’s license numbers, birth dates, and the last four digits of Social



19 See State Defendants’ Motion to Dismiss Coalition Plaintiffs’ Third Amended Complaint, Doc.

234-1 at 1.

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Security numbers); Coalition Complaint, Doc. 226 ¶ 152 (member of CGG, Brian

Blosser, “was prohibited from voting on April 18, 2017 . . . when his name did not

appear on the eligible voter rolls” for the Sixth Congressional District and “was

instead erroneously listed” as a resident of another district, an error that Fulton

County Board members blamed on a “software glitch”); ¶ 154 (members of CGG,

Mr. and Ms. Digges, previously in 2017 “chose to vote by mail-in paper absentee

ballot because they were aware that an electronic ballot cast using an AccuVote

DRE was insecure,” and they “were required to undergo the inconvenience of

requesting paper ballot[s] and the cost of postage to mail their ballots” “well before

Election Day”); ¶ 72 (“Georgia’s AccuVote DREs do not record a paper or other

independent verifiable record of the voter’s selections.”); ¶ 92 (“[D]esign flaws

render the electronic ballots cast on AccuVote DREs capable of being matched to

voter records maintained by pollworkers and pollwatchers,” and thereby expose

citizens’ candidate selections to poll workers); ¶ 97 (“Lamb freely accessed files

hosted on the ‘elections.kennesaw.edu’ server, including the voter histories and

personal information of all Georgia voters . . . . Lamb noted that the files had been

publicly exposed for so long that Google had cached (i.e., saved digital backup

copies of) and published the pages containing many of them.”); ¶ 138 (“Fulton

Board Members have adopted voting procedures under which individual electronic

ballots bearing a unique identifier are transmitted from Fulton County’s AccuVote

DREs located in satellite voting centers to Fulton County’s central GEMS

tabulation server in clear text (i.e., unencrypted) over an ordinary, unsecured


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telephone line on Election Night. This practice violates fundamental security

principles because it subjects the transmitted votes to manipulation (such as man-

in-the-middle interception and substitution of votes) and exposes the votes with

their unique identifier to third-party interception, violating voters’ rights of secrecy

in voting.”).)

      Plaintiffs also allege the threat of future harm. For instance, in upcoming

elections, Plaintiffs allege that Defendants are requiring them to vote early, mail a

paper absentee ballot, and pay for postage to avoid having to use unsecure DRE

machines, thereby subjecting them to unequal treatment. Furthermore, Plaintiffs

plausibly allege a threat of a future hacking event that would jeopardize their votes

and the voting system at large. Despite being aware of election system and data

cybersecurity threats and vulnerabilities identified by national authorities and the

DRE system’s vulnerability to hacking as early as August 2016 – when Logan

Lamb, the computer scientist, first alerted the State’s Executive Director of the CES

of his ability to access the system – Defendants allegedly have not taken steps to

secure the DRE system from such attacks. (Curling Complaint, Doc. 70 ¶ 46

(“[N]ot only did Georgia fail to take remedial action when alerted to the problem

Lamb raised, it failed to act even in the face of the detailed information on the

cybersecurity threats facing the nation’s election systems, and the recommended

specific steps to reduce the risk, which were disseminated by the FBI, the DHS and




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the EAC20.”); Coalition Complaint, Doc. 226 ¶ 112 (“[N]o efforts have been made

to remediate the compromised software programs and machines or to identify and

remove any malware that was likely introduced during the lengthy security

breaches referred to herein on the ‘elections.kennesaw.edu’ server that hosted the

election-specific software applications and data that are re-installed on every piece

of voting and tabulation equipment used to conduct Georgia’s elections in advance

of each election conducted using Georgia’s Voting System.”).)

       Importantly, courts have recognized these sorts of alleged harms as concrete

injuries, sufficient to confer standing.            In particular, courts have found that

plaintiffs have standing to bring Due Process and Equal Protection claims where

they alleged that their votes would likely be improperly counted based on the use

of certain voting technology. See, e.g., Stewart v. Blackwell, 444 F.3d 843, 855

(6th Cir. 2006) (“The increased probability that their votes will be improperly

counted based on punch-card and central-count optical scan technology is neither

speculative nor remote.”), vacated (July 21, 2006), superseded, 473 F.3d 692 (6th

Cir. 2007) (vacated and superseded on the grounds that the case was rendered

moot by the county’s subsequent abandonment of the DRE machines at issue);

Banfield v. Cortes, 922 A.2d 36, 44 (Pa. Commw. Ct. 2007) (finding that the

plaintiffs had sufficiently alleged standing under similar Pennsylvania law, based

on “the fact that Electors have no way of knowing whether the votes they cast on a



20 DHS is the acronym for the U.S. Department of Homeland Security, and EAC is the acronym

for the U.S. Election Assistance Commission.

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DRE have been recorded and will be counted,” which “gives Electors a direct and

immediate interest in the outcome of this litigation”); c.f. Stein v. Cortes, 223 F.

Supp. 3d 423, 432-33 (E.D. Pa. 2016) (where plaintiffs sought a vote recount, post-

election, based on the use of unsecure DREs, finding no standing based on the

plaintiffs’ “less than clear” allegations that the DRE machines are “hackable”; that

the Pennsylvania Election Code’s recount provisions are “labyrinthine,

incomprehensible, and impossibly burdensome”; and that the past vote count was

inaccurate – which plaintiffs merely posed as a “seemingly rhetorical question”).

      Turning to causal connection, the second element of standing, Defendants

raise different arguments in response to the Curling Plaintiffs’ claims versus the

Coalition Plaintiffs’ claims. For the Curling Plaintiffs, Defendants argue that any

injury would be traced to illegal hacking into the DREs, not the use of the DREs

themselves. Here, as discussed above, the Curling Plaintiffs have alleged that

Defendants were aware of serious security breaches in the DRE voting system and

failed to take adequate steps to address those breaches. Notably, even after Mr.

Lamb first alerted the State about his access of the voting system, he and another

cybersecurity expert were able to access the system again about six months later.

(Curling Complaint, Doc. 70 ¶ 47.)        Plaintiffs allege that Defendants have

continued to fail to take action to remedy the DRE system’s vulnerabilities. (Id. ¶¶

46, 61, 62, 72.) And they allege that this failure, in turn, impacts the integrity of

the voting system and their ability as citizens to rely upon it when casting votes in

this system. (Id.) At the motion to dismiss stage, these allegations plausibly show


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causal connection, even if indirectly, between Defendants’ continued use of

unsecure DREs and the injury to Plaintiffs’ constitutional rights. Focus on the

Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1273 (11th Cir. 2003)

(“[E]ven harms that flow indirectly from the action in question can be said to be

‘fairly traceable’ to that action . . . .”).

       For the Coalition Plaintiffs, Defendants make the same argument above

regarding causation (which fails) and another slightly different argument.

Defendants take issue with the Coalition Plaintiffs’ request for relief enjoining the

State Defendants from enforcing O.C.G.A. § 21-2-383(b) and State Election Board

Rule 183–1–12–.01. Defendants assert that the State Defendants (the Secretary

and the State Election Board) do not mandate the use of DREs; rather, state law

requires the use of DREs. Defendants maintain that the State Defendants are

merely implementing the governing state law, which they are bound to do, and

therefore Plaintiffs miss the mark by seeking to enjoin the State Defendants’

actions instead of challenging the state law itself. In this way, Defendants argue

that Plaintiffs have not linked their injury to any action by the State Defendants.

       But O.C.G.A. § 21-2-383(b) does not require the use of DREs as Defendants

claim it does. The statute requires absentee electors who vote in-person in the

advance voting period to vote by DRE, but only “in jurisdictions in which direct

recording electronic (DRE) voting systems are used at the polling places on

election day.”      The statute simply specifies the use of DREs under certain

circumstances. Rather, it is the State Election Board that issued a rule requiring


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the use of DREs in “all federal, state, and county general primaries and elections,

special primaries and elections, and referendums,” and requiring the use of DREs

by “persons desiring to vote by absentee ballot in person.” Ga. Comp. R. & Regs. r.

183–1–12–.01. When read together, the state statute and the State Election Board

rule indicate that the State Defendants have chosen to enforce state law so as to

generally require the use of DREs in elections statewide.

      Even apart from the statutory language, the Coalition Plaintiffs have

plausibly alleged that the State Defendants play a critical role in directing,

implementing, programming, and supporting the DRE system throughout the

state. The Coalition Plaintiffs allege that the Secretary provided the counties with

the DRE machines and the software on which they operate. (Coalition Complaint,

Doc. 226 ¶ 59.) Additionally, from 2002 to December 2017, the Secretary allegedly

contracted with Kennesaw State University to create the Center for Election

Services (“CES”) “to assist the Secretary in the fulfillment of his statutory duties to

manage Georgia’s election system.” (Id. ¶ 93.) The CES maintained a central

computer server containing sensitive voting-related information such as software

applications, voter registration information, ballot building files, and “other

sensitive information critical to the safe and secure operation of Georgia’s Voting

System.” (Id. ¶¶ 94, 119.) These factual allegations, when considered with the

Third Amended Complaint as a whole, show that the Coalition Plaintiffs have

alleged enough of a causal link between the State Defendants’ conduct and their

injury for standing purposes.


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      Finally, on the third element of redressability, Defendants raise some of the

same arguments as they do for the second element. Defendants argue that an

injunction prohibiting the State Defendants from using DREs would not actually

stop the deployment of DREs. Defendants maintain that county officials not

included in this suit would continue to use DREs, as the State is not the entity that

enforces the law requiring DREs. Defendants also argue that a different balloting

system would not eliminate potential third-party interference, as no election

system is flawless.

      As stated above, the Court finds that the Coalition Plaintiffs have sufficiently

alleged that the State Defendants play a significant role in the continued use and

security of DREs, and therefore the requested injunction would help redress some

of the Coalition Plaintiffs’ injury. The Secretary of State both has the authority and

obligation to investigate complaints regarding the accuracy and safety of the DRE

voting system and to take appropriate corrective action in connection with the

continued use of the DRE system. O.C.G.A. § 21-2-379.2. The Third Amended

Complaint describes how the Secretary of State could play a critical role in

conducting an in-depth investigation and formulating a remedy. As alleged in the

Complaint, the State of California commissioned a study in 2007 to examine the

security of its own Diebold AccuVote DRE system, the same type of system used in

Georgia. Upon the study’s findings that the DRE system was inadequate, had

serious design flaws, and was susceptible to hacking, California’s Secretary of State

then decertified its DRE system in 2009. (Coalition Complaint, Doc. 226 ¶¶ 81,


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84, 86.) The Complaint similarly alleges that the Secretary of State for Ohio

commissioned an independent expert study of a newer version of the DREs than

those used in Georgia and reached similar conclusions as to the lack of trustworthy

design and vulnerability to attack of the election system. (Id. ¶¶ 81, 83, 85.)

      The State Defendants here are similarly in a position to redress the Plaintiffs’

alleged injury. Thus, if the Court were to grant at least part of the requested

injunctive relief as to the suspended use of the DRE voting system, any injunction

would likely enjoin both the State Defendants as well as the Fulton County

Defendants (as there is no argument that the County would not be enjoined).

Furthermore, as to Defendants’ argument that no election system is flawless, the

Coalition Plaintiffs rightly point out that this is not the standard for redressability.

Plaintiffs are seeking relief to address a particular voting system which, as

currently implemented, is allegedly recognized on a national level to be unsecure

and susceptible to manipulation by advanced persistent threats through nation

state or non-state actors. Plaintiffs are not asking for a system impervious to all

flaws or glitches.

      Defendants assert three additional arguments related to standing: that the

Coalition Plaintiffs cannot manufacture standing by inflicting harm on themselves,

that the individual Plaintiff Coalition for Good Governance (“CGG”) lacks

organizational and associational standing, and that Plaintiffs must reside in the

jurisdiction for which they seek to enjoin DRE use.




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      The first of these arguments fails because the cases relied on by Defendants

are distinguishable. Here, the Coalition Plaintiffs are suffering injury from the

voluntary exercise of their fundamental right to vote, not from just any sort of

activity that they decide to engage in. In Clapper v. Amnesty International USA,

568 U.S. 398 (2013), the plaintiffs voluntarily spent money to take certain

protective measures, based on a hypothetical fear of being subject to surveillance.

And in Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992), the plaintiffs expressed

an intent to voluntarily return to certain places they had visited before, which

would deprive them of the opportunity to observe animals of an endangered

species. These activities do not invoke the protection associated with exercising

fundamental rights, such as the right to vote. The Coalition Plaintiffs aptly point

out that Defendants’ logic would bar many voting rights cases, based on individuals

choosing to vote by one method or another, which certainly is not how courts have

assessed standing in this context.

      Defendants’ challenge of CGG’s standing similarly fails. “An organization

has standing to enforce the rights of its members when its members would

otherwise have standing to sue in their own right, the interests at stake are

germane to the organization’s purpose, and neither the claim asserted nor the relief

requested requires the participation of individual members in the lawsuit.” Fla.

State Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1160 (11th Cir. 2008)

(internal quotation marks omitted). The State Defendants argue that the Coalition

Plaintiffs merely “presume” harm to their own members, without sufficiently


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alleging harm to one or more of their members. (State Mot. to Dismiss, Doc. 234-

1 at 31.) They also argue that CGG cannot assert that individuals are “members”

merely because they are listed on CGG’s mailing list. (Id.) The Coalition Plaintiffs,

however, have alleged that the individual Plaintiffs – Laura Digges, William Digges

III, Ricardo Davis, and Megan Missett – are all members of CGG. Contrary to

Defendants’ assertion, these particular Plaintiffs do not allege that they are

members of CGG solely because they are on the mailing list. Furthermore, at least

one of these Plaintiffs also alleges harm to his or her individual rights under the

federal Constitution, as discussed above, so that they could presumably sue

Defendants in their own right. (Coalition Complaint, Doc. 226 ¶¶ 24-27.) The

Court finds these allegations sufficient to confer associational standing to CGG.21

       As for Defendants’ argument that Plaintiffs must reside in the county where

they seek injunctive relief, this argument misses the mark. The Court need only

find that one plaintiff (from each of the two sets of Plaintiffs) has sufficiently

alleged standing, and that is the case here. Am. Civil Liberties Union of Fla., Inc.

v. Miami-Dade Cty. Sch. Bd., 557 F.3d 1177, 1195 (11th Cir. 2009) (“Because Balzli

has standing to raise those claims, we need not decide whether either of the

organizational plaintiffs also has standing to do so.”). Specifically, the Curling

Plaintiffs allege that Donna Curling is a resident of Fulton County and intends to

vote in the upcoming elections in Fulton County. (Curling Complaint, Doc. 70 ¶


21 The Court need not reach Defendants’ challenge to CGG’s organizational standing, as the Court

has already found the Coalition Plaintiffs sufficiently alleged associational standing for CGG. See
Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351 (11th Cir. 2009).

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13.) The Coalition Plaintiffs likewise allege that Megan Missett is a resident of

Fulton County who intends to vote in the County’s upcoming elections. (Coalition

Complaint, Doc. 226 ¶ 27.) Based on the current allegations, both Ms. Curling and

Ms. Missett have established the required elements of injury in fact, causation, and

redressability as discussed above.

       In sum, the Court finds that both sets of Plaintiffs have sufficiently alleged

standing to bring their claims at this juncture.

           B. Eleventh Amendment Immunity

       Defendants argue that Plaintiffs’ two federal claims are barred by the

Eleventh Amendment. Defendants acknowledge the Ex Parte Young22 exception

to Eleventh Amendment immunity, which allows claims against state officers in

their official capacities for prospective injunctive relief. But Defendants assert that

the exception does not apply here for the following reasons: Plaintiffs seek to

enjoin the enforcement of a state law that they do not challenge as

unconstitutional; Plaintiffs have not alleged an ongoing or continuous violation of

federal law; Plaintiffs seek to remedy past, not prospective, conduct; and Plaintiffs’

requested relief implicates special state sovereignty interests.

       Defendants’ arguments are meritless. First, Plaintiffs rightly point out that

the Ex Parte Young exception applies to as-applied challenges to state statutes, not

just facial challenges as Defendants imply. Here, Plaintiffs specifically challenge

the application of Georgia’s law by Defendants to require in-person voting by DRE.


22 209 U.S. 123 (1908).



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Second, Plaintiffs clearly allege an ongoing and continuous violation of federal law.

The injunctive relief they request is designed to prevent injury by enjoining the use

of DREs in upcoming elections and other future elections. Third, and likewise,

Plaintiffs seek to remedy prospective harm.23 Fourth, the requested relief does not

implicate special state sovereignty interests by essentially usurping the State’s role

in regulating elections. Plaintiffs are not asking the Court to direct how the State

counts ballots. They are asking the Court to bar the use of DREs based on the

specific circumstances, history, and data security issues presented in this case and

where the State has alternative options of using optical scanners and hand

counting ballots. And they seek to require the State to implement a fully auditable

ballot system designed to ensure the accuracy and reliability of the voting process

in this challenging era when data system vulnerabilities pose a serious risk of

opening election data, processes, and results to cyber manipulation and attack.

       Thus, pursuant to Ex Parte Young, the Court finds that the Eleventh

Amendment does not bar Plaintiffs’ federal claims.24

       For the reasons stated above, the Court finds that it has jurisdiction at this

juncture for purposes of considering Plaintiffs’ motions for preliminary injunction.




23 Defendants’ arguments opposing Plaintiffs’ motions for preliminary injunction belie this
argument, as Defendants claim that the requested injunctive relief, if granted, would harm them
on the eve of the upcoming November 2018 election.
24 At one point, State Defendants cite to cases involving state sovereign immunity issues. The

Court clarifies that state sovereign immunity is not at issue here – only Eleventh Amendment
sovereign immunity. Plaintiffs do not allege violations of the Georgia Constitution. They allege
violations of the U.S. Constitution based in part on the enforcement of state law requiring the use
of DREs for in-person voting. (See SEB Rule 183–1–12–.01.)

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The Court therefore DENIES IN PART Defendants’ Motions to Dismiss [Docs.

82, 83, 234] as discussed herein.

IV.   Plaintiffs’ Motions for Preliminary Injunction

      To obtain preliminary injunctive relief, the moving party must show that: (1)

it has a substantial likelihood of success on the merits; (2) irreparable injury will

be suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing

party; and (4) if issued, the injunction would not be adverse to the public interest.

McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998). In the

Eleventh Circuit, “[a] preliminary injunction is an extraordinary and drastic

remedy not to be granted unless the movant clearly established the ‘burden of

persuasion’ as to the four prerequisites.” Id. (internal citations omitted).

      Furthermore, the Supreme Court has recognized that there are special

considerations involved with impending elections and the critical issues at stake.

In Reynolds v. Sims, the Court stated:

      [O]nce a State’s [election-related] scheme has been found to be
      unconstitutional, it would be the unusual case in which a court would
      be justified in not taking appropriate action to insure that no further
      elections are conducted under the invalid plan. However, under
      certain circumstances, such as where an impending election is
      imminent and a State’s election machinery is already in progress,
      equitable considerations might justify a court in withholding the
      granting of immediately effective relief in a legislative apportionment
      case, even though the existing apportionment scheme was found
      invalid. In awarding or withholding immediate relief, a court is
      entitled to and should consider the proximity of a forthcoming
      election and the mechanics and complexities of state election laws,
      and should act and rely upon general equitable principles.


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377 U.S. 533, 585 (1964); see also Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006)

(holding that courts are “required to weigh, in addition to the harms attendant

upon issuance or nonissuance of an injunction, considerations specific to election

cases and its own institutional procedures”).

      Considering the totality of the evidence and affidavits presented at this

juncture, the Court finds with a measure of true caution that Plaintiffs are likely to

satisfy the first element for a preliminary injunction – a likelihood of success on

the merits – for at least some of their claims. The Court’s caution is that though

the parties have filed endless briefs on Defendants’ multiple motions to dismiss

and amended complaints, largely due to Plaintiffs’ changes in counsel, the case did

not move substantively forward until the motions for preliminary injunction were

filed in August 2018. The subject matter in this suit is complex, even if well-

presented, and there is still key information that needs to be gathered. For

instance, the voting system and data handling deficiencies in one county, Fulton

County, could possibly impact all other counties in the state. The State also never

called the Chief Information Officer for the Secretary of State’s Office to testify, and

substantive answers from other state officials were limited by their lack of

computer science expertise and apparent knowledge. In short, the case would

benefit from some discovery and a full evidentiary hearing on the merits over

several days.




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      That said, the Supreme Court has held that “[i]t is beyond cavil that voting

is of the most fundamental significance under our constitutional structure.”

Burdick v. Takushi, 504 U.S. 428, 433 (1992) (internal quotation marks omitted).

The Court goes on to recognize that “[i]t does not follow [] that the right to vote in

any manner and the right to associate for political purposes through the ballot are

absolute.” Id. Thus, courts apply a more flexible standard in this context:

      A court considering a challenge to a state election law must weigh the
      character and magnitude of the asserted injury to the rights protected
      by the First and Fourteenth Amendments that the plaintiff seeks to
      vindicate against the precise interests put forward by the State as
      justifications for the burden imposed by its rule, taking into
      consideration the extent to which those interests make it necessary to
      burden the plaintiff’s rights. . . . Under this standard, the rigorousness
      of our inquiry into the propriety of a state election law depends upon
      the extent to which a challenged regulation burdens First and
      Fourteenth Amendment rights. Thus, as we have recognized when
      those rights are subjected to severe restrictions, the regulation must
      be narrowly drawn to advance a state interest of compelling
      importance. . . . But when a state election law provision imposes only
      reasonable, nondiscriminatory restrictions upon the First and
      Fourteenth Amendment rights of voters, the State’s important
      regulatory interests are generally sufficient to justify the restrictions.

Id. at 434 (internal quotation marks omitted).

      Here, Plaintiffs have shown that their Fourteenth Amendment rights to Due

Process and Equal Protection have been burdened. Put differently, the State’s

continued reliance on the use of DRE machines in public elections likely results in

“a debasement or dilution of the weight of [Plaintiffs’] vote[s],” even if such

conduct does not completely deny Plaintiffs the right to vote. Bush v. Gore, 531

U.S. 98, 105 (2000) (quoting Reynolds, 377 U.S. at 555).



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      Plaintiffs shine a spotlight on the serious security flaws and vulnerabilities

in the State’s DRE system – including unverifiable election results, outdated

software susceptible to malware and viruses, and a central server that was already

hacked multiple times. Mirroring the truncated affidavit statement of Merritt

Beaver, the Chief Information Officer in the Office of the Secretary of State, the

State Defendants’ response brief merely states, without more, that the central

server is no longer an issue because the way Kennesaw State University maintained

the system “is not the way that those tasks are undertaken now.” (See Response,

Doc. 265 at 22; Beaver Affidavit, Doc. 265-1.) The Defendants presented no

witness with actual computer science engineering and forensic expertise at the

preliminary injunction hearing to address the impact of the Kennesaw State

University breach or the specifics of any forensic evaluation of the servers, DREs,

removable media used for transfer of data, analog phone modems, and other

connected devices that together constitute the election system. The Defendants’

response brief is close to non-responsive to the concerns that Plaintiffs raise about

the serious vulnerability of the server and the election data system at large to

intrusion, virus, or attack. Defendants’ response is bare-boned in the absence of

evidence of installation of updates to software or equipment or evidence of

statewide software and hardware scrubbing – after at least one or more portions

of the database system operated by Kennesaw State University was left accessible

for at least six months. In fact, Defendants presented scant evidence to rebut

Plaintiffs’ expert evidence regarding Georgia’s persistent failure to update or


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replace software systems, despite security flaws identified by the software

industry.25

       Michael Barnes, the Director of the CES at Kennesaw State University,26 was

the sole staff member at the CES to move over to the State when the Center’s

functions were taken over by the Secretary of State’s office. He in turn became the

Center’s Director once this transfer occurred. The State presented his testimony

at trial. Mr. Barnes professed effectively no knowledge about the ramifications for

the state’s voter system or remedial measures in connection with Mr. Lamb’s

accessing the CES’s voter registration databases – which was filled with millions of

voter records with personally identifiable information, passwords for election day

supervisors, and the software used to create ballot definitions, memory cards, and

vote tabulations. Mr. Barnes also appeared not to recognize the full scope of the

contamination risks posed by his own use of a plug-in USB drive (which he

connects both to the central GEMS “air-gapped” server and his own “public facing”

computer that is connected to the Internet) to transfer vital elections programming

data to the counties. Mr. Barnes similarly did not appear to recognize the risks

associated with the use of analog phone connections for the transfers of election

results.




25 Indeed, after Fulton County experienced a meltdown in the tabulation of the vote in the primary

for the Sixth Congressional District in 2017, Richard Barron, the Director of Registration and
Elections for Fulton County, vocally expressed his view that the software system of 2000 vintage
should be investigated and should have been replaced. (Pl. Ex. 9, Preliminary Injunction
Hearing.)
26 Mr. Barnese is not a computer scientist.



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      As discussed earlier, the Curling Plaintiffs’ voting-systems cybersecurity

expert, Alex Halderman, demonstrated at the hearing how malware could be

introduced into a DRE machine via a memory card and actually change an elector’s

vote without anyone knowing. (See also DeMillo Affidavit, Doc. 277 Ex. C; Buell

Affidavit, Doc. 260-3; Bernhard Affidavit, Doc. 258-1 at 33-42.) Additionally,

Professor Halderman explained in his testimony in detail the reasons why the DRE

auditing and confirmation of results process used by state officials on a sample

basis is generally of limited value. This process is keyed to matching the total

ballots cast, without any independent source of individual ballot validation, and it

can be defeated by malware similar to that used by the Volkswagen emissions

software that concealed a car’s actual emissions data during testing. (Halderman

testimony at hearing; Halderman Affidavit, Doc. 260-2 ¶¶ 35-48; see also DeMillo

Affidavit, Doc. 277, Ex. C ¶¶ 10-20.) Further, parallel testing of DREs is of limited

value. “If the testing reveals, at the close of the election, that the machines were

counting incorrectly, there will likely be no way to recover the true results, since

the machines used in Georgia have no paper backup records.”             (Halderman

Affidavit, Doc. 260-2 ¶ 41.)

      Plaintiffs also emphasize current cybersecurity developments regarding

election security and the heightened, legitimized concerns of election interference.

Contrary to Defendants’ assertions, Plaintiffs’ claims do not boil down to paranoia

or hypothetical fear. National security experts and cybersecurity experts at the

highest levels of our nation’s government and institutions have weighed in on the


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specific issue of DRE systems in upcoming elections and found them to be highly

vulnerable to interference, particularly in the absence of any paper ballot audit

trail.27 Indeed, the evidence and testimony presented conforms with the patterns

of heightened cybersecurity breach and data manipulation attacks now regularly

appearing in civil financial cases as well as criminal cases. 28

        Defendants assert that the state election laws at issue are “narrowly drawn

to effect the State’s regulatory interest in maintaining fair, honest and efficient

elections.”    (Response, Doc. 265 at 15.)             This conclusory re-statement of an

overarching principle of Fourteenth Amendment voting jurisprudence29 does not

by itself answer the issues before the Court. However, the Court recognizes the

important policy changes and objectives achieved by the State’s adoption via the

Secretary of State’s Office of the statewide integrated DRE voting system in

approximately 2002. But the DRE system also originally was intended to include

the capacity for an independent paper audit trail of every ballot cast, and this

feature was never effectuated. (Report of the 21st Century Voting Commission, Pl.

Ex. 10 at 38, introduced at Preliminary Injunction hearing; testimony of Cathy

Cox.)




27 The PowerPoint presentation of Dr. Wenke Lee, the sole cybersecurity scientist serving on the

Secretary of State’s new SAFE Commission, identifies similar overarching risks and solutions,
including paper ballots as durable evidence of election results. (Pl. Ex. 5 at Preliminary Injunction
Hearing.)
28 But in contrast to the circumstances where there is no independent vote audit trail, when money

is stolen through cybercrime, ultimately the theft is clearly obvious – the funds are gone.
29 See Burdick, 504 U.S. at 433.



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      As the Court noted at the preliminary injunction hearing, rapidly evolving

cybertechnology changes and challenges have altered the reality now facing

electoral voting systems and Georgia’s system in particular. And it is this reality

that Plaintiffs substantiated with expert affidavits and testimony as well as an array

of voter affidavits and documentation. Defendants sidestep the fact that Georgia

is only one of five states that rely on a DRE voting process that generates no

independent paper ballot or audit record. Yet the Plaintiffs’ evidence as to the

problems of security, accuracy, reliability, and currency of Georgia’s system and

software have hardly been rebutted by Defendants except via characterizations of

the issues raised as entirely hypothetical and baseless. Ultimately, an electoral

system must be accurate and trustworthy. The State’s apparent asserted interest

in maintaining the DRE system without significant change cannot by itself justify

the burden and risks imposed given the circumstances presented. Burdick, 504

U.S. at 434.

      Plaintiffs are substantially likely to succeed on the merits of one or more of

their constitutional claims, though this finding is a cautious, preliminary one,

especially in light of the initial state of the record. Plaintiffs have so far shown that

the DRE system, as implemented, poses a concrete risk of alteration of ballot

counts that would impact their own votes. Their evidence relates directly to the

manner in which Defendants’ alleged mode of implementation of the DRE voting

system deprives them or puts them at imminent risk of deprivation of their

fundamental right to cast an effective vote (i.e., a vote that is accurately counted).


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United States v. Classic, 313 U.S. 299, 315 (1941); Stewart, 444 F.3d at 868.

Plaintiffs’ evidence also goes to the concern that when they vote by DRE, their vote

is in jeopardy of being counted less accurately and thus given less weight than a

paper ballot.30 As the Supreme Court held in Bush v. Gore:

       The right to vote is protected in more than the initial allocation of the
       franchise. Equal protection applies as well to the manner of its
       exercise. Having once granted the right to vote on equal terms, the
       State may not, by later arbitrary and disparate treatment, value one
       person’s vote over that of another. . . . It must be remembered that
       “the right of suffrage can be denied by a debasement or dilution of the
       weight of a citizen’s vote just as effectively as by wholly prohibiting the
       free exercise of the franchise.”

531 U.S. 98, 104-05 (2000) (internal citations omitted).

       The Defendants rely on Wexler v. Anderson, 452 F.3d 1226 (11th Cir. 2006)

in maintaining that Plaintiffs cannot establish the viability of their Fourteenth

Amendment claims described above. But Wexler and this case are distinguishable.

The Eleventh Circuit noted that the Wexler plaintiffs “did not plead that voters in

touchscreen counties are less likely to cast effective votes due to the alleged lack of

a meaningful manual recount procedure in those counties,” and therefore their

“burden is the mere possibility that should they cast residual ballots, those ballots

will receive a different, and allegedly inferior, type of review in the event of a

manual recount.” Id. at 1226. Wexler distinguishes this situation from the one in


30 Plaintiffs allege other theories under these constitutional claims, including that their right to

cast a secret ballot is violated and that they must incur greater costs to cast an absentee ballot if
they choose to avoid voting by DRE. Plaintiffs may be less likely to prevail on these theories,
though the Court will not reach that conclusion now, especially given the incomplete status of the
evidentiary record.


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Stewart v. Blackwell, 444 F.3d at 868-72, where strict scrutiny was applied based

on the plaintiffs’ allegations of “vote dilution due to disparate use of certain voting

technologies.” 444 F.3d at 871. Thus, in contrast with Stewart, the Eleventh

Circuit in Wexler did not apply strict scrutiny and instead reviewed “Florida’s

manual recount procedures to determine if they are justified by the State’s

‘important regulatory interests.’” Wexler, 452 F.3d at 1233 (citing Burdick, 504

U.S. at 434)).

      Here, Plaintiffs appear to present facts that fall somewhere between Wexler

and Stewart. Unlike Wexler, Plaintiffs are alleging that they are less likely to be

able to cast accurate or effective ballots when voting by DRE. The evidence here is

not as well developed as that in Stewart, which was decided on a fully factually

developed summary judgment record. Still, Plaintiffs in this case have presented

sufficient evidence so far that their votes cast by DRE may be altered, diluted, or

effectively not counted on the same terms as someone using another voting method

– or that there is a serious risk of this under the circumstances.

      Turning to the second element for a preliminary injunction, the Court also

finds that Plaintiffs have demonstrated a real risk of suffering irreparable injury

without court intervention. This analysis to some extent parallels the “injury in

fact” standing analysis above. Absent an injunction, there is a threat that Plaintiffs’

votes in the upcoming elections will not be accurately counted. Given the absence

of an independent paper audit trail of the vote, the scope of this threat is difficult




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to quantify, though even a minor alteration of votes in close electoral races can

make a material difference in the outcome.

      Finally, the Court considers together the last two factors in evaluating

whether preliminary injunctive relief should be granted: whether the threatened

injury to the movant outweighs whatever damage the proposed injunction may

cause the opposing party; and, if issued, whether the injunction would not be

adverse to the public interest. The Court considers these factors in tandem, as the

real question posed in this context is how injunctive relief at this eleventh-hour

would impact the public interest in an orderly and fair election, with the fullest

voter participation possible and an accurate count of the ballots cast.

      This assessment involves a true catch-22.

      While Plaintiffs have shown the threat of real harms to their constitutional

interests, the eleventh-hour timing of their motions and an instant grant of the

paper ballot relief requested could just as readily jeopardize the upcoming

elections, voter turnout, and the orderly administration of the election.

Defendants introduced substantial evidence from Elections Directors from

counties with major populations (e.g., Fulton, Cobb, Gwinnett, Muscogee, and

Richmond Counties) regarding the fiscal, organizational, and practical

impediments and burdens associated with a court order that would require

immediate implementation of paper ballot and ballot scanning voting systems for

the 2018 election cycle.     (See Testimony of Richard Barron at Preliminary

Injunction Hearing; Doc. 265-3; Doc. 265-6.) Various representatives of the


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Secretary of State’s office provided testimony regarding similar organizational and

fiscal challenges.   Some of these concerns, such as authority for emergency

purchase orders of ballot paper or scanners, clearly are resolvable based on

emergency purchase provisions under state and local law. The Court’s greater

concern, in considering the evidence, is that the massive scrambling required to

implement such injunctive relief in roughly 2,600 precincts and 159 countries will

seriously test the organizational capacity of the personnel handling the election, to

the detriment of Georgia voters.

      Plaintiffs have submitted evidence from various jurisdictions in other states

of their ability to smoothly roll out a paper ballot/optical scanning system in an

expedited time frame as well an affidavit from the administrator overseeing

Maryland’s transition over an expedited, but still far longer, time frame. The

challenges presented in these jurisdictions are not comparable to managing a rapid

implementation of a balloting system, associated technology, and administrative

transition in less than seven weeks on a statewide basis in large population centers

as well as tiny ones simultaneously. Nor is it likely simple to roll out a paper ballot

system with proper, efficient scanning, when many polling station personnel

throughout the state have never handled this scope of a paper ballot exercise – or

used accompanying scanners on a massive basis.

      Further, early elections begin mid-October. This poses an even earlier

deadline for action and organization. Fulton County’s Elections Director testified

that the County would only be able to cope with the challenges of an immediate


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ballot requirement by limiting early voting to one central location, rather than

offering it at 20 locations spread throughout the county. This, of course, would

likely directly impact voter turnout and access to voting.

      Ultimately, any chaos or problems that arise in connection with a sudden

rollout of a paper ballot system with accompanying scanning equipment may

swamp the polls with work and voters – and result in voter frustration and

disaffection from the voting process. There is nothing like bureaucratic confusion

and long lines to sour a citizen. And that description does not even touch on

whether voters themselves, many of whom may never have cast a paper ballot

before, will have been provided reasonable materials to prepare them for properly

executing the paper ballots.

      The Court attempted to expedite this case at earlier times to no avail. The

Court understands some of the reasons why Plaintiffs may have been unable to file

a preliminary injunction motion before new counsel for the Coalition Plaintiffs

filed a Third Amended Complaint in June 2018. But the August filing of their

motion for preliminary injunction effectively put the squeeze on their proposed

remedial relief. Requiring injunctive relief on this broad of a scale, and on an

abrupt, time-limited basis, would likely undermine a paper ballot initiative with a

scanned audit trail that appears in reality to be critically needed.

      Meanwhile, the State Defendants have also stood by for far too long, given

the mounting tide of evidence of the inadequacy and security risks of Georgia’s

DRE voting system and software. The Court is gravely concerned about the State’s


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pace in responding to the serious vulnerabilities of its voting system – which were

raised as early as 2016 – while aging software arrangements, hardware, and other

deficiencies were evident still earlier. The Secretary of State’s Secure, Accessible,

& Fair Elections (SAFE) Commission has held just two meetings since its

establishment in April 2018, though it is tasked with making recommendations to

the legislature that convenes in January 2019.         The State and the County’s

arguments about the time and resource constraints at issue, in the event the Court

granted the requested injunctive relief, are compelling right now, with the

November election just weeks away. But these arguments only weaken the more

that time passes and if Defendants continue to move in slow motion or take

ineffective or no action. For upcoming elections after November 2018, Defendants

are forewarned that these same arguments would hold much less sway in the future

– as any timing issues then would appear to be exclusively of Defendants’ own

making at that point.

      Upon considering the totality of the evidence in connection with the four

factors that must guide the Court’s determination regarding the grant of

extraordinary relief as to Plaintiffs’ constitutional claims, the Court finds that the

Plaintiffs have not carried their burden of persuasion to establish these

prerequisites for such extraordinary injunctive relief in the immediate 2018

election time frame ahead.




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V.    Conclusion

      While Plaintiffs’ motions for preliminary injunction [Docs. 258, 260, 271]

are DENIED, the Court advises the Defendants that further delay is not tolerable

in their confronting and tackling the challenges before the State’s election balloting

system. The State’s posture in this litigation – and some of the testimony and

evidence presented – indicated that the Defendants and State election officials had

buried their heads in the sand. This is particularly so in their dealing with the

ramifications of the major data breach and vulnerability at the Center for Election

Services, which contracted with the Secretary of State’s Office, as well as the

erasure of the Center’s server database and a host of serious security vulnerabilities

permitted by their outdated software and system operations.

      A wound or reasonably threatened wound to the integrity of a state’s election

system carries grave consequences beyond the results in any specific election, as it

pierces citizens’ confidence in the electoral system and the value of voting.

      Advanced persistent threats in this data-driven world and ordinary hacking

are unfortunately here to stay. Defendants will fail to address that reality if they

demean as paranoia the research-based findings of national cybersecurity

engineers and experts in the field of elections.       Nor will surface-level audit

procedures address this reality when viruses and malware alter data results and

evade or suppress detection. The parties have strongly intimated that this case is

headed for immediate appeal. But if the case stays with or comes back to this

Court, the Court will insist on further proceedings moving on an expedited


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schedule. The 2020 elections are around the corner. If a new balloting system is

to be launched in Georgia in an effective manner, it should address democracy’s

critical need for transparent, fair, accurate, and verifiable election processes that

guarantee each citizen’s fundamental right to cast an accountable vote.

      IT IS SO ORDERED this 17th day of September, 2018.



                                       _____________________________
                                       Amy Totenberg
                                       United States District Judge




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, et al.,
                                                  CIVIL ACTION FILE
Plaintiffs,
                                                  NO. 1:17-CV-02989-AT
v.

BRIAN KEMP, et al.,

Defendants.


                            NOTICE OF APPEAL

      COME NOW Brian P. Kemp, in his official capacity as the Secretary of

State of the State of Georgia, and the members of the State Election Board

(David J. Worley, Rebecca N. Sullivan, Ralph F. Simpson, and Seth Harp) in

their official capacities and give notice of their appeal to the United States

Court of Appeals for the Eleventh Circuit from the Order dated September

17, 2018, (Doc. 309), which denied their Motion To Dismiss and subjects them

to suit and discovery despite their entitlement to immunity and asks that the

Court review any and all other threshold jurisdictional issues that, in its

discretion, the Court deems efficient and just.




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    This 18th day of September, 2018.

                                          BARNES LAW GROUP, LLC

                                          /s/John F. Salter
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                    CERTIFICATE OF COMPLIANCE

      I hereby certify that I have read the Court’s Standing Order in Cases

Proceedings Before the Honorable Amy Totenberg and that I will comply with

its provisions during the pendency of this litigation.

                                            /s/John F. Salter

      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local

Rule 5.1 of the Northern District of Georgia, using a font type of Century

Schoolbook and a point size of 13.

                                            /s/John F. Salter




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this date I have electronically filed the

foregoing NOTICE OF APPEAL with the Clerk of Court using the CM/ECF

system, which will send email notification of such filing to all attorneys of

record.

      This 18th day of September, 2018.

                                           BARNES LAW GROUP, LLC

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